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                                              Attorneys for Defendant RIVERSIDE COMMUNITY
                                          8   COLLEGE DISTRICT; MORENO VALLEY COLLEGE;
                                              ROBIN STEINBACK
                                          9
                                         10                              UNITED STATES DISTRICT COURT
                                         11                 CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
                                         12   ERIC THOMPSON,                               Case No.: 5:23-cv-00138-SSS-SHK
                                         13                           Plaintiff,           Complaint Filed: January 25, 2023
                                         14            v.                                  DEFENDANTS’ NOTICE OF MOTION
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                                                                                           AND MOTION TO DISMISS
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                                         15   RIVERSIDE COMMUNITY                          PLAINTIFF’S COMPLAINT
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                                              COLLEGE DISTRICT; MORENO
                                         16   VALLEY COLLEGE; ROBIN
                                              STEINBACK, Ph.D, in her official             Date: June 9, 2023
                                         17   capacity as President of Moreno              Time: 2:00 p.m.
                                              Valley College; SANDRA MAYO,                 Location: Department 2
                                         18   Ph.D, in her official capacity as
                                              President of Student Services at
                                         19   Moreno Valley College, and Does 1-
                                              50,
                                         20
                                                                      Defendant.
                                         21
                                         22            TO PLAINTIFF AND HIS ATTORNEY(S) OF RECORD:
                                         23            PLEASE TAKE NOTICE that on June 9, 2023, at 2:00 p.m., or as soon
                                         24   thereafter as the matter may be heard in Courtroom 2 of the above-entitled Court,
                                         25   located at 3470 Twelfth Street, Riverside, California, Defendants Riverside
                                         26   Community College District (“District”), Moreno Valley College (“MVC”), and
                                         27   Robin Steinback (“Steinback”)(Collectively, “Defendants”), will move pursuant to
                                         28   Federal Rule of Civil Procedure 12(b)(6) to dismiss each claim for relief in the
                                                                                        1
                                         30                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   Complaint (“Complaint”) filed by Plaintiff Eric Thompson (“Plaintiff”) on the
                                          2   basis that Plaintiff fails to state claims upon which relief can be granted.
                                          3   Defendant moves that the Court order as follows:
                                          4           1.         The first, second, third, fourth and fifth claims for relief lack merit
                                          5   because the Eleventh Amendment bars any relief claims against the District and
                                          6   MVC, as arms of the state, and bars the relief claims against the individual
                                          7   Defendants, who are sued in their “official capacity.” Will v. Mich. Dep’t of State
                                          8   Police, 491 U.S. 58, 71 (1989); Mitchell v. Los Angeles Community College Dist.,
                                          9   861 F.2d 198, 201 (9th Cir. 1988). See infra Section IV.A.2.
                                         10           2.         The first, second, third, fourth and fifth claims for relief are barred by
                                         11   the preclusive effect of his unsuccessful administrative appeal of his termination.
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                                         12   Univ. of Tenn. v. Elliott 478 U.S. 788, 799 (1986). In those administrative
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                                         13   proceedings, an independent hearing officer determined Thompson was, pursuant
                                         14   to the Education Code, unfit for service, among other things. The California Court
                                         15   of Appeal, in subsequent administrative mandate proceedings, determined that the
                                         16   hearing officer’s determinations meant that the District’s termination of Plaintiff
                                         17   was proper. The proceedings preclude Plaintiff’s current claims under section
                                         18   1983. (See Riverside Cmty. Coll. Dist. v. Biersmith, No. E073818, 2021 WL
                                         19   4810632 (Cal. Ct. App. Oct. 15, 2021), attached to the Request for Judicial Notice
                                         20   as Exhibit “A.”)
                                         21           3.         The first, second, third, fourth and fifth claims for relief are time-
                                         22   barred by the applicable statutes of limitations. Shalabi v. City of Fontana, 35 Cal.
                                         23   App. 5th 639, 642, 247 Cal. Rptr. 3d 268, 270 (2019), aff'd, 11 Cal. 5th 842, 489
                                         24   P.3d 714 (2021).
                                         25            This Motion is made following issuance of meet-and-confer correspondence
                                         26   dated May 3, 2023, in which Defendants’ counsel invited Plaintiff’s counsel to
                                         27   meet and confer further by telephone.
                                         28   //
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                                         30                DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1            This Motion is based on this Notice of Motion and Motion, the attached
                                          2   Memorandum of Points and Authorities, the attached Request for Judicial Notice,
                                          3   all of the pleadings and papers on file with the Court herein, on such matters of
                                          4   which this Court may take judicial notice, and any further evidence and argument
                                          5   that the Court may receive at or before the hearing on this Motion.
                                          6
                                          7
                                              Dated: May 11, 2023                             LIEBERT CASSIDY WHITMORE
                                          8
                                          9
                                         10
                                                                                       By:       /s/ Jack Begley
                                         11                                                       Mark H. Meyerhoff
                                                                                                  David A. Urban
6033 West Century Boulevard, 5th Floor




                                         12
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                                                                                                  Jack Begley
    A Professional Law Corporation

    Los Angeles, California 90045




                                                                                                  Attorneys for Defendant
                                         13                                                       RIVERSIDE COMMUNITY
                                                                                                  COLLEGE DISTRICT;
                                         14                                                       MORENO VALLEY COLLEGE;
                                                                                                  ROBIN STEINBACK
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                                          1                          MEMORANDUM OF POINTS AND AUTHORITIES
                                          2   I.       INTRODUCTION
                                          3            Plaintiff Eric Thompson contends that his first amendment rights were
                                          4   violated by employees of the Riverside County Community College District
                                          5   (“District”) when the District terminated Plaintiff’s employment as a Sociology
                                          6   professor.
                                          7            The Eleventh Amendment bars each of Plaintiff’s claims for relief against
                                          8   each Defendant.
                                          9            Additionally, all five of Plaintiff’s claims for relief against Defendants are
                                         10   barred by the doctrine of Res Judicata because of the preclusive effect of Plaintiff’s
                                         11   unsuccessful administrative appeal of his termination. Univ. of Tenn. v. Elliott 478
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                                         12   U.S. 788, 799 (1986). In those proceedings, an independent hearing officer
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                                         13   determined Thompson was, pursuant to the Education Code, unfit for service,
                                         14   among other things. As Plaintiff’s current claims assert the same primary right as
                                         15   his administrative appeal (right to continued employment) his claims are barred.
                                         16            Lastly, all five of Plaintiff’s claims for relief are time-barred by the
                                         17   applicable statutes of limitations. Shalabi v. City of Fontana, 35 Cal. App. 5th
                                         18   639, 642, 247 Cal. Rptr. 3d 268, 270 (2019), aff'd, 11 Cal. 5th 842, 489 P.3d 714
                                         19   (2021).
                                         20            As such, Plaintiff’s entire Complaint should be dismissed as a matter of law.
                                         21   II.      STATEMENT OF ALLEGATIONS
                                         22            Plaintiff alleges he was hired in 2005 by Moreno Valley College (“MVC”)
                                         23   as an Associate Professor of Sociology and became a tenured faculty member in
                                         24   2009. (Complaint, ¶ 17.) Plaintiff taught Introduction to Sociology, Marriage and
                                         25   Family and Contemporary Social Problems throughout his nearly 12-year tenure at
                                         26   MVC. (Id., ¶¶ 17, 18.) On June 28, 2017, the District issued charges against
                                         27
                                         28
                                                                                            4
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   Plaintiff that became the bases of his termination. (Id., ¶ 24.) 1
                                          2            With regards to the charges filed against him, Plaintiff alleges as follows: (1)
                                          3   Plaintiff singled out a student named Krista E. while the class discussed the U.S.
                                          4   Supreme Court arguments in Obergefell v. Hodges regarding same-sex marriage
                                          5   (Id.); (2) Plaintiff treated Krista E. differently than he treated other students by
                                          6   asking her a series of questions regarding legalizing same-sex marriage (Id.); (3)
                                          7   Krista E. felt attacked by the questions directed at her because the questions
                                          8   developed only the side of the same-sex marriage arguments that opposed
                                          9   legalizing it (Id.); (4) Krista E. was not treated as other students were treated by
                                         10   Plaintiff (Id.); and (5) Plaintiff repeatedly stated during class that women who have
                                         11   children should not be out of the home, knowing that many of his female students
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                                         12   in the class were mothers. (Id.)
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                                         13            On March 3, 2016, the District issued to Plaintiff a 90-Day Notice of
                                         14   Unprofessional Conduct and/or Unsatisfactory performance which gave Plaintiff
                                         15   specific directives on how to correct his conduct and performance. (Id.)
                                         16            On June 20, 2016, Derian H., a student at MVC, made verbal complaints
                                         17   against Plaintiff pertaining to Plaintiff’s treatment of her during class in spring
                                         18   2016. Derian H. alleged that once Plaintiff became aware of her sexual orientation,
                                         19   his conduct towards her changed. (Id.) Derian H. also alleged that she wrote two
                                         20   extra credit papers for Plaintiff, in which she identified herself as gay and
                                         21   disagreed with the conversion or reparative therapy video Plaintiff gave as extra
                                         22   credit. (Id.) Derian H. alleged that she did not receive a grade on these extra credit
                                         23   papers from Plaintiff, despite asking for the grade several times, while other
                                         24   students told her that they did receive grades. (Id.)
                                         25            On September 14, 2016, the District advised Plaintiff that it had retained an
                                         26   investigator to investigate the allegations made against him by Derian H. (Id.) The
                                         27   1
                                               The Complaint describes all of the District’s charges against Plaintiff in
                                         28   Paragraph 24 (pp. 11-19).
                                                                                       5
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   District specifically directed Plaintiff “to refrain from discussing this matter with
                                          2   other students, faculty or members of the community in a manner that could be
                                          3   reasonably construed as threatening, retaliatory or an attempt to influence others.”
                                          4   (Id.) The District further advised Plaintiff that “any attempt to take reprisals
                                          5   against, to intimidate, coerce or otherwise threaten any participant of this process
                                          6   constituted unacceptable and illegal conduct and will not be tolerated.” (Id.)
                                          7            The District’s charges further alleged that on September 24, 2016, Plaintiff
                                          8   emailed Derian H. about her complaint and attempted to coerce her to withdraw
                                          9   her complaint. (Id.)
                                         10            On April 19, 2017, Plaintiff appeared for a pre-disciplinary meeting
                                         11   (“Skelly”) with Interim President of MVC, Dr. Irving Hendrick, after receiving a
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                                         12   Notice of Intent to Recommend Dismissal. (Id.) Plaintiff was given the opportunity
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                                         13   to respond to the charges and the proposed discipline. (Id.) During the Skelly
                                         14   conference, Plaintiff told Dr. Hendrick that the District had “drawn a sword” by
                                         15   pursuing Plaintiff’s dismissal and that Plaintiff would also “draw a sword.” (Id.)
                                         16   The charges against Plaintiff further allege that Plaintiff acknowledged that his
                                         17   statement about drawing a “sword” was a threat and that Dr. Hendrick reported this
                                         18   threat to the authorities. (Id.)
                                         19            The District’s charges also refer to an audio recording provided by Plaintiff
                                         20   of a “typical day” in his class. According to the charge, the recording reflected
                                         21   Plaintiff’s offensive conduct on the basis of gender/sexual identity, sexual
                                         22   orientation and sexual expression. Plaintiff regularly made statements in class that
                                         23   denigrated women and gay or gender fluid students. Plaintiff also targeted students
                                         24   in class based on their protected status, including gender, gender expression,
                                         25   gender identity, and religion. The recording is consistent with the previous student
                                         26   complaints that Plaintiff denigrated and sometimes targeted people in class
                                         27   discussions based on gender/sex orientation/sexual expression/sexual identity or
                                         28   religion. Plaintiff also discouraged students from presenting different ideas, or
                                                                                         6
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   from discussing points of views that were different from his ideas, views and
                                          2   convictions.” (Id.)
                                          3            On October 17, 2017, the District’s Board of Trustees terminated Plaintiff
                                          4   based on the charges against him. (Id. at ¶ 25.) Plaintiff timely filed an objection to
                                          5   the dismissal, an Arbitration was scheduled and an Arbitration was conducted over
                                          6   the course of six days in May 2018. (Id. at ¶ 26.) During the Arbitration, the
                                          7   Arbitrator “heard evidence in the form of witnesses and received many documents
                                          8   as evidence as well.” (Id.)
                                          9            On October 12, 2018, the Arbitrator ordered that Plaintiff’s discipline should
                                         10   be reduced from a termination to a 90-day suspension. The Arbitrator sustained a
                                         11   number of the charges against Plaintiff and determined Plaintiff was “unfit” to
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                                         12   teach, pursuant to the Education Code. (Id. at ¶ 28; See Arbitrator’s Opinion &
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                                         13   Award Case No. C.S.M.C.S. No. 17-0158: In the Matter of Accusation Against
                                         14   Eric Thompson, attached to the Request for Judicial Notice as Exhibit “B.”)
                                         15            On November 26, 2018, the District appealed the Arbitrator’s decision by
                                         16   filing a Writ of Mandamus in the California Court of Appeals. (Id. at ¶ 29.) The
                                         17   trial court denied the District’s writ and upheld the suspension. (Id.) The District
                                         18   appealed that ruling and the California Court of Appeal overturned the trial court
                                         19   and held that the Arbitrator’s findings necessitated Plaintiff’s termination. (See
                                         20   Riverside Cmty. Coll. Dist. v. Biersmith, No. E073818, 2021 WL 4810632 (Cal. Ct.
                                         21   App. Oct. 15, 2021), attached to the Request for Judicial Notice as Exhibit “A.”)
                                         22   “Here, Thompson's conduct in the classroom, which significantly impacted his
                                         23   students, coupled with the evidence that he had no remorse or plans to change his
                                         24   behavior, renders the decision to impose just a 90-day suspension a manifest abuse
                                         25   of discretion in this case.” (Id. at *22).
                                         26
                                         27
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                                                                                           7
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   III.     THE STANDARD FOR A FEDERAL RULE OF CIVIL PROCEDURE
                                          2            12(B)(6) MOTION TO DISMISS
                                          3            Defendants in federal court can file motions to dismiss, pursuant to Federal
                                          4   Rule of Civil Procedure 12(b)(6), on the basis that a complaint fails to state a claim
                                          5   on which relief can be granted. To survive a motion to dismiss under Rule
                                          6   12(b)(6), the plaintiff must allege “enough facts to state a claim to relief that is
                                          7   plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell
                                          8   Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Allegations in the complaint
                                          9   need not be accepted as true if they are merely conclusory, unwarranted deductions
                                         10   of fact, or unreasonable inferences. Sprewell v. Golden State Warriors, 266 F.3d
                                         11   979, 988 (9th Cir. 2001). Likewise, Courts are not required to accept as true a
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                                         12   plaintiff’s legal conclusion “couched as a factual allegation.” Bell Atl. Corp v.
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                                         13   Twombly, 550 U.S. at 555.
                                         14   IV.      LEGAL ARGUMENT
                                         15            A.        THE ELEVENTH AMENDMENT BARS EACH CLAIM FOR
                                         16                      RELIEF AGAINST DEFENDANTS
                                         17            “The Eleventh Amendment prohibits federal courts from hearing suits
                                         18   brought against an unconsenting state.” Brooks v. Sulphur Springs Vall. Elec.
                                         19   Co-op., 951 F.2d 1050, 1053 (9th Cir. 1991) (citing Pennhurst State Sch. & Hosp.
                                         20   v. Halderman, 465 U.S. 89, 100 (1984)). This jurisdictional bar includes “suits
                                         21   naming state agencies and departments as defendants,” and it applies whether a
                                         22   plaintiff “seek[s] damages or injunctive relief.” Id.; Pennhurst State Sch. & Hosp.,
                                         23   465 U.S. at 102.
                                         24            As for section 1983 claims, “[A]n entity with Eleventh Amendment
                                         25   immunity is not a ‘person’ within the meaning of § 1983.” Howlett By & Through
                                         26   Howlett v. Rose, 496 U.S. 356, 365 (1990). Thus, “neither a State nor its officials
                                         27   acting in their official capacities are ‘persons’ under § 1983.” Will v. Mich. Dep’t
                                         28   of State Police, 491 U.S. 58, 71 (1989). The Ninth Circuit has held that community
                                                                                        8
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   college districts are dependent instrumentalities of the state and are therefore
                                          2   immune from suit under the Eleventh Amendment. Mitchell v. Los Angeles
                                          3   Community College Dist., 861 F.2d 198, 201 (9th Cir. 1988).
                                          4            Here, Defendants Steinback and Mayo are sued in their official capacities.
                                          5   (See, Complaint, ¶ 14 (“[Dr. Steinback] is sued in her official capacity.”); Id., ¶ 15
                                          6   (Dr. Mayo is sued in her “official capacity.”).) Defendants Steinback and Mayo
                                          7   were and are employed by a community college district, which is considered
                                          8   tantamount to the state for Eleventh Amendment purposes. Mitchell, 861 F.2d at
                                          9   201. Plaintiff sues the Defendants for compensatory and noneconomic damages.
                                         10   (Complaint, prayer for relief, ¶¶ E, F.) Accordingly, all claims for relief against
                                         11   Defendants in their official capacities for damages must be dismissed. Will, 491
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                                         12   U.S. at 71.
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                                         13            B.        THE ADMINISTRATIVE APPEAL AFFORDED PLAINTIFF
                                         14                      FOLLOWING HIS TERMINATION PRECLUDES THIS
                                         15                      ACTION
                                         16                      1.    The Utah Construction Standard
                                         17                      In Univ. of Tenn. v. Elliott, the U.S. Supreme Court held:
                                         18                            “[W]hen a state agency "acting in a judicial
                                                                       capacity . . . resolves disputed issues of fact
                                         19                            properly before it which the parties have had
                                                                       an adequate opportunity to litigate," Utah
                                         20                            Construction & Mining Co., supra, at 422,
                                                                       federal courts must give the agency's fact-
                                         21                            finding the same preclusive effect to which
                                                                       it would be entitled in the State's courts.
                                         22
                                         23   478 U.S. 788, 799 (1986); see also Olson v. Morris, 188 F.3d 1083, 1086 (9th Cir.
                                         24   1999).
                                         25            The Ninth Circuit has held, “the federal common law rules of preclusion
                                         26   described in Elliott extend to state administrative adjudications of legal as well as
                                         27   factual issues, even if unreviewed, so long as the state proceeding satisfies the
                                         28   requirements of fairness outlined in [United States v. Utah Construction & Mining
                                                                                        9
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   Co., 384 U.S. 394, 422… (1966)]." Miller v. Cnty. Of Santa Cruz, 39 F.3d 1030,
                                          2   1032-33 (9th Cir. 1994).2
                                          3            The threshold inquiry is the adequacy of the state administrative
                                          4   proceedings. Miller, 39 F.3d at 1033; Olson, 188 F.3d at 1086. “[T]he only
                                          5   question, in light of California's incorporation of the Utah Construction standard,
                                          6   was whether the administrative hearing met the requirements of California law
                                          7   such that a California court would have accorded the determination preclusive
                                          8   effect.” Miller, 39 F.3d at 1033 citing Eilrich v. Remas, 839 F.2d 630, 633 (9th
                                          9   Cir. 1988), cert. denied, 488 U.S. 819, 102 L. Ed. 2d 38, 109 S. Ct. 60 (1988).
                                         10   Below is the analysis as to why Plaintiff’s claims are barred by his unsuccessful
                                         11   administrative appeal.
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                                         12
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                                                                 2.   The Administrative Proceeding Was Sufficient to Warrant
                                         13                           Preclusive Effect in this Action
                                         14            The material issue is the adequacy of the administrative proceedings that
                                         15   were afforded. Miller, 39 F.3d at 1033 (“[W]hether a state administrative
                                         16   proceeding was conducted with sufficient safeguards…requires careful review of
                                         17   the administrative record…”); B&B Hardware, Inc. v. Hargis Indus., 135 S. Ct.
                                         18   1293, 1309 (2015) (In considering administrative preclusion, “[T]he correct
                                         19   inquiry is whether the procedures used in the first proceeding were fundamentally
                                         20   poor, cursory, or unfair.”).
                                         21            The California Supreme Court and the Ninth Circuit have set out a number
                                         22   of factors to consider in determining whether an administrative proceeding meets
                                         23   the fairness requirements (or requisite judicial character) entitling it to preclusive
                                         24   effect, including:
                                         25
                                         26   2
                                               “The fairness requirements of Utah Construction are: (1) that the administrative
                                         27   agency act in a judicial capacity, (2) that the agency resolve disputed issues of fact
                                              properly before it, and (3) that the parties have an adequate opportunity to litigate.”
                                         28   Miller, 39 F.3d at 1033.
                                                                                          10
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1            (1) the administrative hearing was conducted in a judicial-like
                                                       adversary proceeding; (2) the proceeding required [**20] witnesses
                                          2            to testify under oath; (3) the agency determination involved the
                                                       adjudicatory application of rules to a single set of facts; (4) the
                                          3            proceedings were conducted before an impartial hearing officer; (5)
                                                       the parties had the right to subpoena witnesses and present
                                          4            documentary evidence; and (6) the administrative agency maintained
                                                       a verbatim record of the proceedings….In addition, a court may
                                          5            consider "whether the hearing officer's decision was adjudicatory and
                                                       in writing with a statement of reasons," and whether the hearing
                                          6            officer's decision was adopted by the director of the agency "with the
                                                       potential for later judicial review."
                                          7
                                                       White v. City of Pasadena, 671 F.3d 918, 927-28 (9th Cir. 2012)
                                          8
                                                       Here, the administrative appeal was conducted in a judicial-like adversary
                                          9
                                              proceeding with witnesses who testified under oath. (Arbitrator’s Opinion &
                                         10
                                              Award, p. 5-25, attached to the Request for Judicial Notice as Exhibit “B”).
                                         11
                                              The proceeding was conducted before an impartial hearing officer, who the parties
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                                         12
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                                              selected by agreement. (Complaint at ¶ 26; Educ. Code Sec. 87675.) The parties
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                                         13
                                              had a right to request that the decisionmaker issue subpoenas for witnesses and
                                         14
                                              documents [Cal. Gov. Code §§ 37104-37106]. The parties introduced documentary
                                         15
                                              evidence, called witnesses, and cross-examined witnesses. (Arbitrator’s Opinion &
                                         16
                                              Award, p. 1-25). The parties made opening statements, arguments, and submitted
                                         17
                                              briefs, and Plaintiff was represented by the same law firm that is representing him
                                         18
                                              in this action. (Arbitrator’s Opinion & Award, p. 1; Riverside Cmty. Coll. Dist., at
                                         19
                                              16.) A court reporter kept a verbatim transcript of the proceeding. The hearing
                                         20
                                              officer’s decision was adjudicatory in nature and was expressed in writing with a
                                         21
                                              statement of reasons. (Arbitrator’s Opinion & Award.) The administrative
                                         22
                                              decision was subject to judicial review via petition for writ of mandate pursuant to
                                         23
                                              § 1094.5. Caloca, 102 Cal. App. 4th at 444. Accordingly, the administrative
                                         24
                                              decision is entitled to preclusive effect in this action.
                                         25
                                                       The preclusive effect applies not only to the District, but also to the
                                         26
                                              Individual Defendants who have been sued as District employees acting within the
                                         27
                                              course and scope of their employment for the very same conduct as the District.
                                         28
                                                                                           11
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   See Miller, 39 F.3d at 1038 (“Here, as in Takahashi, the individually named
                                          2   defendants were employees acting with in the course and scope of their
                                          3   employment in terminating Miller. Id. Because they have been sued solely because
                                          4   of their involvement in the termination process, the adverse finding before the
                                          5   Commission prevents Miller from asserting an inconsistent claim against those
                                          6   defendants here.”) citing Takahashi v. Bd. of Educ., 202 Cal. App. 3d 1464, 1477
                                          7   (1988), cert. denied, 490 U.S. 1011.
                                          8                      3.   The Preclusive Effect of the State Administrative Decision
                                          9                           Bars Plaintiffs’ § 1983 Claims Because both Actions
                                         10                           Concern the Same Primary Right.
                                         11            Res judicata bars this proceeding to the extent it is based on the
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                                         12   same primary right decided in the prior proceedings, including not only issues that
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    Los Angeles, California 90045




                                         13   were actually litigated but also issues that could have been litigated. Fed'n of
                                         14   Hillside, 126 Cal. App. 4th at 1202. “In other words, the doctrine of res judicata
                                         15   goes beyond the four corners of the operative pleading in the prior action: ‘If the
                                         16   matter was within the scope of the action, related to the subject-matter and relevant
                                         17   to the issues, so that it could have been raised, the judgment is conclusive on it
                                         18   despite the fact that it was not in fact expressly pleaded or otherwise urged.’”
                                         19   Franceschi v. Franchise Tax Bd., 1 Cal. App. 5th 247, 259 (2016). “Thus, in
                                         20   California, ‘if two actions involve the same injury to the plaintiff and the same
                                         21   wrong by the defendant then the same primary right is at stake even if in the
                                         22   second suit the plaintiff pleads different theories of recovery, seeks different forms
                                         23   of relief and/or adds new facts supporting recovery.’” Furnace v. Giurbino, 838
                                         24   F.3d 1019, 1024 (9th Cir. Cal. 2016) quoting Eichman v. Fotomat Corp., 147 Cal.
                                         25   App. 3d 1170, 1174 (1983).
                                         26            The primary right involved in Plaintiff’s administrative appeal was the right
                                         27   to continued employment. See Swartzendruber v. City of San Diego, 3 Cal.
                                         28
                                                                                           12
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   App. 4th 896, 901, 909 (1992)3 (Finding that primary right involved in
                                          2   administrative proceeding challenging termination was the right to continued
                                          3   employment); Takahashi v. Bd. of Trs., 783 F.2d 848, 849, 851 (9th Cir. Cal. 1986)
                                          4   (Ninth Circuit found right to employment was the primary right involved in
                                          5   teacher’s administrative appeal of proposed termination); cf. Miller, 39 F.3d at
                                          6   1034-35.
                                          7            Regardless of the label and theory (“First Amendment Retaliation [42 U.S.C.
                                          8   § 1983]”), Plaintiff’s claims in this action are based on his termination and,
                                          9   therefore, involve the same primary right to continued employment as his
                                         10   administrative appeal. Accordingly, Plaintiff’s’ claims in this action are barred,
                                         11   which is a conclusion dictated by the Ninth Circuit’s Miller decision. Similar to
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                                         12   Plaintiff, in Miller, a law enforcement officer lost the state administrative
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                                         13   proceedings he initiated to contest his termination, opted not to challenge the
                                         14   administrative decision via petition for writ of mandate, and then filed a federal
                                         15   lawsuit pursuant to § 1983, claiming constitutional violations in relation to his
                                         16   termination and termination-related proceedings. Miller, 39 F.3d at 1032 and 796
                                         17   F. Supp. 1316, 1319-1320. The Ninth Circuit held:
                                         18
                                                       Swartzendruber dictates the preclusive effect of the civil service
                                         19            commission in this case. Miller, in his complaint in district
                                                       court, restates his wrongful termination contentions in
                                         20            constitutional terms. Whether characterized as the "issue" of the
                                                       right to continued employment or as the "claim" of a civil rights
                                         21            violation, the unreviewed finding of the administrative tribunal
                                                       precludes further litigation of Miller's contentions.
                                         22
                                         23   Miller, 39 F.3d at 1034-35; see also Swartzendruber, 3 Cal. App. 4th at 908
                                         24   (“Inasmuch as the primary right at stake was her right to continued employment
                                         25   and the harm suffered was loss of that employment, her fifth cause of action does
                                         26   not present a separate injury from that litigated before the Commission.
                                         27   3
                                               Disapproved on other grounds in Johnson v. City of Loma Linda, 24 Cal.4th 61,
                                         28   72 (2000).
                                                                                    13
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1   Swartzendruber has merely restated her cause of action for wrongful termination in
                                          2   constitutional terms.”); Takahashi, 202 Cal. App. 3d at 1476 [“All of plaintiff's
                                          3   alleged causes of action in this consolidated action arise in conjunction with or as a
                                          4   result of the alleged wrongful termination of her employment. Indeed, plaintiff
                                          5   specifically alleges that each act complained of caused the dismissal (wrongful
                                          6   discharge, conspiracy, unconstitutional discharge, discharge in violation of state
                                          7   civil rights) or was a consequence of the termination (emotional distress, damages),
                                          8   part and parcel of the violation of the single primary right, the single harm
                                          9   suffered.”]; Takahashi, 783 F.2d at 851 (“While stating the primary right asserted
                                         10   in her first action in constitutional terms, Takahashi has failed to alleged a new
                                         11   injury….By invoking the Constitution and § 1983, Takahashi has merely presented
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                                         12   a new legal theory upon which she seeks recovery.”); Baker v. White, 2013 U.S.
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                                         13   Dist. LEXIS 35051, at *8 (S.D. Cal. 2013) (“The record further establishes that
                                         14   Baker is challenging his termination in both actions and, therefore, the same
                                         15   primary right is involved. For this reason alone, this lawsuit is barred under
                                         16   California res judicata law.”).
                                         17            The Ninth Circuit in unpublished opinions has affirmed federal trial court’s
                                         18   application of claim preclusion to bar 42 U.S.C. section 1983 claims by public
                                         19   employees asserting termination in violation of First Amendment rights, where the
                                         20   legitimacy of the terminations had already been adjudicated in administrative
                                         21   proceedings. See Garcia v. Bostic, 818 F. App'x 686, 689 (9th Cir. 2020);
                                         22   Freeman v. City of Port Hueneme, 800 F. App'x 562 (9th Cir. 2020); see also Fed.
                                         23   R. App. Proc. 32.1(a) (allowing citation of unpublished decisions from after
                                         24   January 1, 2007).
                                         25            Because the state administrative proceedings concerned the same primary
                                         26   right as Plaintiffs’ §1983 claims here, Plaintiffs’ §1983 claims are barred by res
                                         27   judicata.
                                         28
                                                                                         14
                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                          1                          4. Plaintiff’s Claims are Long Time-Barred
                                          2            “A federal civil rights cause of action is subject to the forum state's statute of
                                          3   limitations for personal injury claims. (Wallace v. Kato (2007) 549 U.S. 384, 387,
                                          4   127 S.Ct. 1091, 166 L.Ed.2d 973 (Wallace).) In California, the statute of
                                          5   limitations for a personal injury claim is two years. (Cal. Code Civ. Proc., §
                                          6   335.1.)” Shalabi v. City of Fontana, 35 Cal. App. 5th 639, 642, 247 Cal. Rptr. 3d
                                          7   268, 270 (2019), aff'd, 11 Cal. 5th 842, 489 P.3d 714 (2021).
                                          8            Here, all five of Plaintiff’s civil rights claims stem from events that most
                                          9   recently took place in 2017—over five years ago. This is well beyond the two year
                                         10   statute of limitations proscribed by Wallace and Cal. Code Civ. Proc., § 335.1.
                                         11   As such, all of Plaintiff’s claims are time-barred and subject to be dismissed.
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                                         12   V.       CONCLUSION
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                                         13            Because Plaintiff’s claims are barred by the Eleventh Amendment, subject to
                                         14   preclusive effect by the doctrine of res judicata, and also are time-barred, dismissal
                                         15   of Plaintiff’s claims for relief is appropriate.
                                         16
                                         17
                                              Dated: May 11, 2023                                LIEBERT CASSIDY WHITMORE
                                         18
                                         19
                                         20
                                                                                         By:        /s/ Jack Begley
                                         21                                                          Mark H. Meyerhoff
                                                                                                     David A. Urban
                                         22                                                          Jack Begley
                                                                                                     Attorneys for Defendant
                                         23                                                          RIVERSIDE COMMUNITY
                                                                                                     COLLEGE DISTRICT;
                                         24                                                          MORENO VALLEY COLLEGE;
                                                                                                     ROBIN STEINBACK
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                                         30               DEFENDANTS’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S COMPLAINT
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                                 EXHIBIT A
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                                              mmeyerhoff@lcwlegal.com
                                          2   David A. Urban, Bar No. 159633
                                              durban@lcwlegal.com
                                          3   Jack Begley, Bar No. 337092
                                              jbegley@lcwlegal.com
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                                          5   6033 West Century Boulevard, 5th Floor
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                                          6   Telephone: 310.981.2000
                                              Facsimile: 310.337.0837
                                          7
                                              Attorneys for Defendant RIVERSIDE COMMUNITY
                                          8   COLLEGE DISTRICT; MORENO VALLEY COLLEGE;
                                              ROBIN STEINBACK
                                          9
                                         10                             UNITED STATES DISTRICT COURT
                                         11                 CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
                                         12   ERIC THOMPSON,                           Case No.: 5:23-cv-00138-SSS-SHK
                                         13                          Plaintiff,        Complaint Filed: January 25, 2023
                                         14            v.                              REQUEST FOR JUDICIAL NOTICE
                                                                                       IN SUPPORT OF DEFENDANTS’
6033 West Century Boulevard, 5th Floor
  LIEBERT CASSIDY WHITMORE




                                         15   RIVERSIDE COMMUNITY                      MOTION TO DISMISS;
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                                              COLLEGE DISTRICT; MORENO                 DECLARATION OF DAVID A.
                                         16   VALLEY COLLEGE; ROBIN                    URBAN IN SUPPORT OF REQUEST
                                              STEINBACK, Ph.D, in her official         FOR JUDICIAL NOTICE
                                         17   capacity as President of Moreno
                                              Valley College; SANDRA MAYO,             Date: June 9, 2023
                                         18   Ph.D, in her official capacity as        Time: 2:00 p.m.
                                              President of Student Services at         Location: Department 2
                                         19   Moreno Valley College, and Does 1-
                                              50,
                                         20
                                                                     Defendant.
                                         21
                                         22            TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL
                                         23   PARTIES AND THEIR ATTORNEYS OF RECORD:
                                         24            PLEASE TAKE NOTICE that on June 9, 2023, at 2:00 p.m., or as soon
                                         25   thereafter as counsel may be heard in Courtroom 2, of the above-entitled Court,
                                         26   Defendants Riverside Community College District, Moreno Valley College, and
                                         27   Robin Steinback (“Defendants”) will request the Court take judicial notice of the
                                         28   following under Federal Rule of Evidence 201 and applicable law:
                                                                                      1
                                         30                                                         REQUEST FOR JUDICIAL NOTICE
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                                          1            1. The Arbitration Opinion & Award for Arbitration Case No. C.S.M.C.S.
                                          2                 No. 17-0158: In the Matter of Accusation Against Eric Thompson. A true
                                          3                 and correct copy of the Arbitration opinion is ached hereto as Exhibit
                                          4                 “A.”
                                          5            2. The California Court of Appeal’s opinion of Riverside Cmty. Coll. Dist. v.
                                          6                 Biersmith, No. E073818, 2021 WL 4810632 (Cal. Ct. App. Oct. 15,
                                          7                 2021). A true and correct copy of the Court’s opinion is attached hereto as
                                          8                 Exhibit “B.”
                                          9
                                              Dated: May 11, 2023                               LIEBERT CASSIDY WHITMORE
                                         10
                                         11
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                                                                                         By:     /s/ Jack Begley
                                         13                                                          Mark H. Meyerhoff
                                                                                                     David A. Urban
                                         14                                                          Jack Begley
                                                                                                     Attorneys for Defendant
                                         15                                                          RIVERSIDE COMMUNITY
                                                                                                     COLLEGE DISTRICT;
                                         16                                                          MORENO VALLEY COLLEGE;
                                                                                                     ROBIN STEINBACK
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                                          1                      MEMORANDUM OF POINTS AND AUTHORITIES
                                          2            A court may consider judicially noticed facts on a Federal Rule of Civil
                                          3   Procedure 12(b)(6) motion without converting the motion to a summary judgment
                                          4   motion. Mullis v. U.S. Bankruptcy Court, 828 F.2d 1385, 1388 (9th Cir.1987). A
                                          5   court shall take judicial notice of such a fact if requested by a party and supplied
                                          6   with the necessary information. Fed. R. Evid. 201(d).
                                          7            I.        Judicial Notice of the Arbitrator’s Opinion and Award is Proper
                                          8            “[A] court may consider a writing referenced in a complaint but not explicitly
                                          9   incorporated therein if the complaint relies on the document and its authenticity is
                                         10   unquestioned.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007).
                                         11   “[J]udicial notice may be taken of orders and decisions taken by other courts and
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                                         12   administrative agencies.” Papai v. Harbor Tug & Barge Co., 67 F.3d 203, 207 (9th
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                                         13   Cir. 1995), overruled on other grounds by Harbor Tug & Barge Co. v. Papai, 520
                                         14   U.S. 548 (1997); see also Kurtcu, 2008 WL 2445080, at *2 (taking judicial notice
                                         15   of an arbitration award).
                                         16            Here, judicial notice is proper, in part, because the Arbitrator’s Opinion and
                                         17   Award is referenced in the complaint, the complaint relies on this document, and
                                         18   Defendants do not anticipate that Plaintiff will question its authenticity.
                                         19   Furthermore, it is clear from the Papai and Kurtcu decisions that the Court may
                                         20   take judicial notice of an arbitration award. Thus, Defendants request that this Court
                                         21   do so.
                                         22            II.       Judicial Notice of the Appellate Court Ruling is Proper
                                         23            A federal court may “take notice of proceedings in other courts, both within
                                         24   and without the federal judicial system, if those proceedings have a direct relation
                                         25   to matters at issue.” United States ex rel. Robinson Rancheria Citizens Council v.
                                         26   Borneo, Inc., 971 F.2d 244, 248 (9th Cir. 1992); see also Manufactured Home
                                         27   Cmtys., Inc. v. City of San Jose, 420 F.3d 1022, 1037 (9th Cir. 2005) (noting that a
                                         28   federal court may “take judicial notice of a state court decision and the briefs filed
                                                                                         3
                                         30                                    REQUEST FOR JUDICIAL NOTICE
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                                          1   in that court to determine if an issue was raised and decided by the state court for
                                          2   res judicata purposes.”); Holder v. Holder, 305 F.3d 854, 866 (9th Cir. 2002)
                                          3   (taking judicial notice of a California Court of Appeal opinion “and the briefs filed
                                          4   in that proceeding and in the trial proceeding and in the trial court” for the purposes
                                          5   of analyzing issue preclusion). A court may also take judicial notice of matters of
                                          6   public record. See U.S. v. 14.02 Acres of Land, 530 F.3d 883, 894 (9th Cir. 2008).
                                          7   Likewise, judicial notice is appropriate when government entities make information
                                          8   publicly available and neither party disputes the information's authenticity or
                                          9   accuracy. See Daniels-Hall v. Nat'l Educ. Ass'n, 629 F.3d 992, 998 (9th Cir. 2010).
                                         10            Here, the California Court of Appeal’s decision in Riverside Cmty. Coll. Dist.
                                         11   v. Biersmith, No. E073818, 2021 WL 4810632 (Cal. Ct. App. Oct. 15, 2021) has a
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                                         12   direct relation to the matters at issue, as it involves the same parties and the same
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                                         13   claims. Additionally, pursuant to Manufactured Home Cmtys., Inc., Defendants
                                         14   request that this Court take judicial notice of the Court of Appeal’s decision to
                                         15   determine if these same issues were raised and decided by the state court for res
                                         16   judicata purposes, which Defendants assert that they were.
                                         17            Furthermore, pursuant to U.S. v. 14.02 Acres of Land, the related Court of
                                         18   Appeal opinion is a matter of public record, of which the Court may take judicial
                                         19   notice. Lastly, pursuant to Daniels-Hall, Defendants do not anticipate that Plaintiff
                                         20   will dispute the authenticity of the Court of Appeal’s decision.
                                         21            As such, Defendants respectfully request that this Court take Judicial Notice
                                         22   of the relevant Arbitrator’s Opinion & Award and Court of Appeal’s opinion.
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                                         30                                  REQUEST FOR JUDICIAL NOTICE
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                                          1    Dated: May 11, 2023                    LIEBERT CASSIDY WHITMORE
                                          2
                                          3
                                                                                      ____________________
                                          4                                    By:       /s/ Jack Begley
                                                                                          Mark H. Meyerhoff
                                          5                                               David A. Urban
                                                                                          Jack Begley
                                          6                                               Attorneys for Defendant
                                                                                          RIVERSIDE COMMUNITY
                                          7                                               COLLEGE DISTRICT;
                                                                                          MORENO VALLEY COLLEGE;
                                          8                                               ROBIN STEINBACK
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                                          1
                                          2    DECLARATION OF DAVID A URBAN IN SUPPORT OF DEFENDANTS’
                                          3                               REQUEST FOR JUDICIAL NOTICE
                                          4   I, David A. Urban, declare as follows:
                                          5            1.        I am an attorney at law duly licensed to practice in all Courts of the
                                          6   State of California and all United States District Courts. I am Senior Counsel with
                                          7   the law firm Liebert Cassidy Whitmore, attorneys of record for Defendants
                                          8   Riverside Community College District, Moreno Valley College, and Robin
                                          9   Steinback (Collectively, “Defendants”) in the above-captioned matter. I am familiar
                                         10   with the papers and files in this case, and I have personal knowledge of all facts set
                                         11   forth herein. If called upon to testify to the same, I could and would so testify. I am
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                                         12   making this declaration in support of Defendants’ Request for Judicial Notice.
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                                         13            2.        I was counsel of record for Defendants during the underlying
                                         14   arbitration Case No. C.S.M.C.S. No. 17-0158: In the Matter of Accusation Against
                                         15   Eric Thompson, before arbitrator Stephen M. Biersmith, decided on October 26,
                                         16   2018. Attached hereto as Exhibit “A” is a true and correct copy of the Arbitration
                                         17   Opinion & Award.
                                         18            3.        I was counsel of record for Defendants in the underlying appellate
                                         19   case: Court of Appeal, Fourth District, Division 2, California Case No E073818
                                         20   Riverside Community College District, v. Stephen Biersmith. Attached hereto as
                                         21   Exhibit “B” is a true and correct copy of the Court’s opinion from this matter.
                                         22            I declare under penalty of perjury under the laws of the State of California
                                         23   that the foregoing is true and correct.
                                         24            Executed this 11th day of May, 2023, at Los Angeles, California.
                                         25
                                         26                                                        /s/ David A. Urban
                                                                                                   David A. Urban
                                         27
                                         28
                                                                                               6
                                         30                                      REQUEST FOR JUDICIAL NOTICE
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                                 EXHIBIT A
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                              IN THE MATTER OF ARBITRATION


                                                    )
                                                    )
                                                    )
  IN THE MATTER OF ACCUSATION                       )       ARBITRATION OPINION
  AGAINST ERIC THOMPSON                             )            & AWARD
                                                    )
                                                    )       Case No. C.S.M.C.S. No. 17-0158
                                                    )
                                                    )

                                         APPEARANCES

     For the Petitioner:                                       For the Respondent:
     Ms. Pilar Morin, Esq. & Mr. David Urban                   Mr. Michael J. Peffer, Esq.
     Liberty, Cassidy Whitmore                                 Pacific Justice Institute
     6033 W. Century Blvd., 5th Floor                          P. O. Box 11630
     Los Angeles, CA. 90045                                    Santa Ana, CA. 92705

                                               ISSUES
     1. Did College establish cause to dismiss or penalize Thompson, by a preponderance of the
        evidence, any one of the causes for discipline listed below under the Education code.
        a. Whether Respondent engaged in immoral conduct under Section 87732, subdivision
            (a); or
        b. Whether Respondent was dishonest under Section 87732, subdivision (b); or
        c. Whether Respondent was evidently unfit for service under Section 87732, subdivision
            (d); or
        d. Whether Respondent persisted in the violation of, refusal to obey, the school laws of
            the state or reasonable regulations prescribed for the government of the community
            colleges by the board or governors or by the governing board of the community
            college employing him or her. (Ed. Code section 87675)
     2. If College established cause, the arbitrator shall determine whether Thompson will be
        dismissed, the precise penalty to be imposed, and whether the decision should be
        imposed immediately or postponed pursuant to Section 87672. (Ed. Code section 87675)

                                                1

                                         EXHIBIT A-1
Case 5:23-cv-00138-SSS-SHK Document 14 Filed 05/11/23 Page 25 of 118 Page ID #:99



                                               EXHIBITS

  For the Petitioner:
     1. Moreno Valley College Diversity Committee Operating Procedures (Joint)
     2. Syllabus - Sociology 1, Introduction to Sociology online class (Joint)
     3. Syllabus- Sociology 1, Introduction to Sociology
     4. Syllabus - Marriage and Family/Soc 12 (Joint)
     5. Syllabus - Sociology 1 (Joint)
     6. Syllabus - Sociology 1 - Introduction to Sociology online class (Joint)
     7. Integrated Course Outline of Record - Sociology, Introduction to Sociology (Joint)
     8. Integrated Course Outline of Record - Sociology 1, Introduction to Sociology (Joint)
     9. Integrated Course Outline of Record - Sociology 12, Marriage and Family Relations
         (Joint)
     10. Integrated Course Outline of Record - Sociology 12, Marriage and Family Relations
     11. Transcript of Thompson Interview (Deposition Exhibit 6) (Joint)
     12. Transcript of Thompson Lecture during Spring 2015 Sociology 1 class (Deposition
         Exhibit 4) and disk recording of Monday May 4,2015 class (Joint)
     13. Transcript of Thompson Interview (Deposition Exhibit 7) (Joint)
     14. List of Documents/Materials Requested from Investigator Lindoerfer to Thompson-
         Thompson's responses to questions 2 & 3 - Thompson's responses to questions 8 and
         copy Thompson's memo to Sandra Mayo dated May 11,2015 (Joint)
     15. Confidential Investigation Report Re Krista E. and others and Executive Summary by
         Investigator Sandra Lindoerfer (without attachments) (Joint)
     16. Transcript of Krista E. Interview (Joint)
     17. Transcript of Sergio M. Interview (Joint)
     18. Sergio M. class notes, Diagram from Sociology 12 provided to investigator
     19. Transcript of Ann Pfeifle Interview
     20. Transcript of Victor S. Interview (Joint)
     21. Transcript of Angela J. Interview
     22. Transcript of Robin Steinback Interview
     23. Transcript of Larisa Broyles Interview
     24. Transcript of Jeffrey Rhyne Interview

                                                     2

                                          EXHIBIT A-2
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     25. Withdrawn
     26. 90-day Notice (Deposition Exhibit 8) (Joint)
     27. Notes of Interview of Derian H. by Dean David Makil
     28. Notice of Investigation from Lorraine Jones to Thompson re Derian H. complaint to be
         investigated by Kristine Exton
     29. E-mail from Thompson to Derian H. (Deposition Exhibit 5)
     30. Report of Investigation of Complaint Re: Professor Eric Thompson prepared for the
         Riverside Community College District by Kristine J. Exton (Joint)
     31. Sociology Instructor Job Description/Announcement
     32. Peer Review Committee, Regular Faculty Evaluation (Joint)
     33. Notice of Intent to Recommend Dismissal signed by Dr. Hampton, with statement of
         charges dated March 22, 2017, and exhibit list (Deposition Exhibit 2) (Exhibits excluded)
         (Joint)
     34. Fax Cover and Letter to Dr. Hendricks, President, from Michael J. Peffer, Senior
         Counsel, Re Response to Objections and Objection to Shelly Hearing -Enclosing Eric
         Thompson's Initial Response to Statement of Charges, and Response to 90 Day Letter
         (Deposition Exhibit 9) (Joint)
      35. Amended Statement of Charges signed by Dr. Hendrick and Dr. Burke (Joint)
      36. Fax Cover and Letter from Michael J. Peffer to Dr. Hendrick, President, responding to
         amended statement of charges (Deposition Exhibit 10) (Joint)
      37. Statement of Charges signed by Dr. Steinback and Dr. Burke including list of
         attachments (but excluding attachments) (Joint)
      38. Decision Following Second Skelly Conference, Notice of October 17,2017 Board
         Meeting and Right to Have Complaints or Charges Heard in Open Session signed by
         Shawn Larry (without exhibits) (Joint)
      39. Riverside Community College District Board Policies - BP/AP 3050, Institution Code of
         Professional Ethics - BP/AP 3420, Prohibition of Harassment and Retaliation - BP/AP
         3410 Nondiscrimination - AP 3435, Handling Complaints of Unlawful Discrimination,
         Harassment or Retaliation - BP 7100, Commitment to Diversity (Joint)
      40. Governing Board Resolution of Dismissal (Joint)
      41. Statement of Decision to Dismiss signed by Dr. Burke, Chancellor (Joint)


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     42. Notice of Decision to Dismiss (Deposition Exhibit 3) (without exhibits) (Joint)
     43. Letter from Michael J. Peffer to Terri Hampton re Response and enclosed Notice of
         Objection to Statement of Decision to Dismiss signed by Eric Thompson (Joint)
     44. Accusation (Joint)
     45. Respondent's Notice of Defense (Joint)
     46. Riverside Community College District Administrative Procedure AP 5522 Student
         Grievance Process for Instruction and Grade Related Matters (Joint)
     47. Withdrawn
     48. RCCD Quick Look Facts page printout from Riverside CCD web page
         http://ww.rccd.edu/administration/chancellor/Documents7RCCD QuickFA CTS 2016.pdf
         (Judicial Notice)
     49. Board Policy 3420 - Equal Employment and EEO Plan
         httn:/www.rccd.edu/administration/board/New$20Board20Policies/3420BPAP.pdf.
     50. Moreno Valley College LGBT ALLY printout from http://www.mvc.edu/lgbt-allies/
      51. Moreno Valley College Welcome and Mission Statement
         http://www.mvc,edu/aboutus.cfn#mission (Judicial Notice)
      52. Moreno Valley College Diversity Committee webpage
     53. Riverside CCD Diversity
         tile://C.:LCW%20oflice/Thomson%20Termination/EX%2053%20MVC%20Diversitv%2
         0Initiative%20.pdf.
      54. Daniel C.F. Casella, MA, LMFT, CHT, Curriculum Vitae
      55. Accreditation Standards, Accrediting Commission for Community and Junior College,
         Wester Association of Schools and Colleges Accreditation Standards (Adopted June
         2014) https://accic.orij/wo-content/uploads/Accreditaiton-Standards Adopted-June
         2014.pdf. (Joint)
      56. Dear Colleague Letter Sexual Harassment of Student. U.S. Department of Education,
         Office of Civil Rights, https://www2ed.gov/about/oflices/list/ocr/letters/sexhar-2006.html
         (Judicial Notice)
      57. Dear Colleague Letter re Title IX Compliance. UJ.S. Department of Educations, Office of
         Civil Rights, https:www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf
         (Judicial Notice)


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      58. Questions and Answers on Title IX and Sexual Violence - U.S. Department of
          Educations, Office of Civil Rights (Judicial Notice)
      59. Dear Colleague Letter re Gender Identity - U.S. Department of Educations, Office of
          Civil Rights, https/www2.ed.gov/about/offices/lost/ocr/letters/colleague-201605-title-ix-
          transgender.pdf. (Judicial Notice)
      60. Dear Colleague Letter re withdraw of 5/13/16 Gender Identify DCL Guidance - U.S.
          Department of Educations, Office of Civil Rights-
          https://www.2.ed.gov/about/offices/list/ocr/letters/colleague-20117Q2-title-ix.pdf
      61. Q&A on Campus Sexual Misconduct- U.S. Department of Educations, Office of Civil
          Rights-file://C:/LCW%20office/Thompson%2QTermination/qa-title-ix-201709.pdf/

   For the Respondent:

      A. March 3,2016 Administrative Determination and Summary of Investigative Report-
          Complaint of Unlawful Discrimination singed by Dr. Mayo.
      B. Withdrawn
      C. Fall 2015 Faculty Evaluations including student evaluations
      D. Select pages from Audio Transcript of Recorded Interview November 15, 2016 (pages 1-
          4, 60-61,121-123, and 142-143 and the reporter's declaration)
      E. Riverside Community College District Policy


                                   TESTIMONY PRESENTED


   Derian H.

          Derian H. took Thompson's Sociology I course at Moreno Valley (hereinafter "College")

   during the Spring 2016 where for about 70% of the day Thompson would talk about his Christian

   religion. As Derian H. was a practicing Christian she was not put off by his discussion of her

   religion. Since Derian H. believed she might fail the class, she went to Thompson to see if she

   could improve her grade. Derian H. was told it was possible if she did the extra credit. The extra

   assignment was to watch a movie about gay individuals and the possibility of change, before

   writing how she felt about the video. When she did so, the video confused her emotionally and as

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   to how others would look at it. About two weeks before the semester ended, Derian H.

   submitted the extra assignment disagreeing with what was presented in the film. In it she both

   disclosed her sexual orientation and wrote one could not fix being gay. Afterwards she would

   only participate somewhat in the class. His responses to her became shorter and there was less

   eye contact.

          Derian H. submitted another review where she agreed with that video's point that one

   could be bom gay. He never returned the extra credit although others had already got theirs back.

   She asked him about it on four different occasions. He told her that he would bring it in the next

   time. When the semester ended she still expected it on her grade. Later Derian H. received an

   email from Thompson. She did not read it until about two months later since it had gone to her

   student email account. When she did read the email, it made her feel terrible, especially the last

   paragraph where he mentioned his wife was due any day. She did not know he was being

   investigated until after an investigator called. The investigator called several times and wanted to

   speak to her, but Derian H. told her "no." She just wanted to move on, wish him the best, and not

   lose his job She was never told about the results of the investigation.

   Dr. Robin Steinback

          Steinback, president of the College since July 1,2017, testified, the goals of the College

   included preparing students for careers and transfers to a university. The institution had various

   policies which prohibited harassment due to one's age, sexual orientation, etc. with a mission

   that promoted diversity and inclusion while providing a safe learning environment. Prior to this

   disciplinary matter, she had a cordial working relationship with Thompson. She served as the

   Shelly officer in his second such meeting where six different charges were alleged. Originally,

   they included: unfitness for service, dishonesty, conduct in the classroom, targeting students, and



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   interfering with the investigation by contacting a witness. The second Shelly included an

   additional charge relating to a threat made by Thompson against Dr. Hendricks when he used the

   word "sword" during his first Shelly, Hendrick had taken the threat seriously given Thompson's

   agitated demeanor at the time.

          As to the various charges, Steinback felt the email Thompson sent to Derian H. interfered

   with the investigative process. If one is found to be untruthful during an investigation, it meant to

   her the employee was dishonest and untrustworthy. In reviewing the tape and the transcript of

   that class meeting, Steinback believed Thompson targeted and mocked Krista E. on the basis of

   her involvement with the LGBT community. From her training Steinback thought she could

   pick-up on the anguish Krista E. felt as she left the room. Steinback was also concerned about

   other statements by Thomson how they could alienate persons in such positions. They included

   the sexist comment that mothers with small children should remain at home. In the same audio

   one could hear Thompson make the statement women are "caddy" and other comments about the

   preference for strong men. It sounded as if he was trying to get his students to agree with him in

   this regard. Steinback believed such targeting was contrary to College policy, caused a chilling

   effect, and made the campus less welcoming. He made it seem as if women were less powerful.

          Steinback was aware that Thompson was given a written directive not to contact any

   witnesses during the investigation, but he failed to follow that instruction. His also made a false

   statement when Thompson said he did not know of the status of the investigation. After

   reviewing the audio tape and his Shelly response, she made the determination to discharge him.

   Her decision was subsequently voted on and supported by the Board.

          Steinback confirmed course outlines were developed by the faculty and that evaluations

   were done every three years by several faculty peers and an administrator. Part of the process



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   included an observation component where the instructor was aware of the dates when it would

   occur. She defined academic freedom as a free exchange of ideas. She agreed it was important to

   challenge students and that there were a variety of ways to teach Sociology, including using the

   Socratic method. It was her belief "targeting" could lead a student to either stop participating or

   drop a class.

          Steinback recalled an incident during a party at Mayo's home when Thompson told her

   she must be a feminist because she was working. At that time, she was V.P. of Academic Affairs.

   When she asked him why it was a problem for her to work, Thompson told her it was because

   she was married with children. Steinback replied it was odd for him to suggest she was a bad

   mother when he was sitting and drinking at a party while his wife was home expecting a new

   bom child.

   Daniel Casella

          Casella is employed with the College and serves it students in crisis intervention. He

   noted when one seeks services for harassment, it cannot be reported unless either the student

   signed a release or there was a potential threat to themselves or others. It was his opinion non-

   physical harassment based on gender could cause students to experience depression, low self-

   esteem, and trouble with studying. Even students, who are not targeted, but are aware of such

   incidents, could feel the same. It was also Casella's opinion that students look up to the faculty.

   They want to be in their good graces and may worry about their grade if they say something. He

   considers it illegal for one to engage in conversion therapy which is not approved by the

   American Psychological Association.

   Angela J,




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          Angela J. attended the College back in 1993 and returned in the Fall of 2013. She was

   involved in the Student Association as both a student senator then as vice-president. She also

   served on several clubs including the Diversity Committee which promoted inclusion in the

   College regardless of race, sexual orientation, religion, age, or income. While talcing

   Thompson's class she was concerned whether her fellow students would be graded differently if

   they expressed view-points other than his. Angela J. did not feel as if she could write a paper

   which honestly expressed her opinions given his staunch viewpoints. She did not believe there

   was an opportunity for rebuttal with students afraid to speak out. When Angela J. read a paper

   written by Victor S. she thought it was bold since it was contrary to what Thompson believed. It

   made her sad that Victor S. thought he was going to receive a lower grade because of it. She does

   not know all of the reasons why or even if, he got a lower grade.

          Thompson would constantly present his Christian viewpoints with a passion and in

   absolute terms. They included such positions as women should be at home, work before they

   have children, and be subservient to their man. He would denigrate women during discussions

   about their role in the family. He would discuss religion at least once a week and state how a

   patriarchal was better than matriarchal family structure, with former being the way he ran his

   family. As a single mother, who had gone back to school for the betterment of her children, she

   found his comments offensive and degrading. Thompson knew she had children at home. His

   comments he made her feel guilty as if she was stealing time from them to go to school.

          Although Angela J. personally loved the movie "Fireproof she was concerned about it

   being shown to others since it was told from a Christian point of view. She told the investigator

   Thompson would have been better suited teaching at a Christina school. She could not recall him

   discussing other faiths or if he expressed his religious views on-line. A syllabus was given out,



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   but the movie he showed was not on it. Thompson said the document was fluid and that they

   may not get through it all in class.

          Thompson showed a conversion video which presented being gay as a cognitive

   distortion. After the course ended, Thompson sent it out via a "MVC all email", which went to

   student leaders and employees of the College. Angela J. discussed it with the Diversity

   Committee before she took the matter to the Student Senate. About ten people approached her

   about it, most of whom were angry. They included a gay student, Charles C., who was emotional

   and on the verge of tears. Thompson had asked the class if anyone had these symptoms. By

   having them raise their hands he would "out them." Her heart went out to those who she believed

   were gay. She emailed the President about it, but never received a response or was made aware

   of how they reacted to it.

          Angela J. agreed everyone should be able to express their own ideas as long as they are

   respectful and did not hurt others. In Thompson's class there was a free flow of ideas. She

   characterized his demeanor as friendly, concrete, and passionate. He would call on students and

   have a lot of discussions. There were some who did not feel comfortable about participating and

   for others it was not their style. She also had other teachers she disagreed with.

   Dr. Irving Hendrick:

          Hendrick returned as Interim President of College in 2016. He was a strong believer in its

   academic freedom policy, which to him meant a free exchange and exploring of multiple points

   of view in an atmosphere where scholars on both sides felt safe and were able to explore their

   ideas. He presided over the first Skelly, where both Thompson and his counsel made a

   presentation. Without reaching for anything Thompson told him since they had raised their

   sword against him, he was going to raise his own believing his family was being harmed. At the



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   time their eyes were joined leading Hendrick to believe Thompson meant business. Hendrick did

   not take it to mean it as a threat to his job since he was only on an interim assignment. Thompson

   acknowledged it was a threat. His attorney said usage of the word "sword" was only meant as a

   metaphor. After this comment was made Hendrick believed the meeting changed from

   discussing the charges and possible corrections to a threat of retribution and violence.

          After thinking more about it, the next morning Hendricks called the College's police

   department, who in turn would not let Thompson back on campus. Hendrick has been worried

   about his security since the event first happened. He believed in the integrity of the investigative

   process and thought the charges presented fitted well.

   Krista E.

          Krista E. graduated from the College in 2017 during which time she served as treasurer

   for the LGBTSA. Krista E. believed Thomson knew she was part of that group in that she would

   wear the club's shirt and wear an "Ally" button to class every day. Thompson would make

   comments that denigrated women probably once a week. When Thompson made such

   statements as equating one woman, who tried to help others out of prostitution to Harriet

   Tubman, he was flippant and highly offensive. During one class, he repeated a question from a

   student who had asked "Why are dykes so ugly." Krista E. was offended because she has a

   daughter who identified with the community. On another occasion, he showed a video of a

   married couple where a church was able to convince an individual he was no longer gay.

   Thompson called it "normal." There were plenty of times when she wanted to get up and leave

   because of such comments.

          At times Krista E. felt Thompson could be an effective teacher, but did not feel he really

   cared about her reaction. She did receive a final grade of "A" in the class. She was concerned



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   about younger students being influenced when Thompson promoted his values and did not

  present a diversity of ideas. He only put forth arguments in opposition to same sex marriage.

  During one class she started to walk out after someone mentioned about how tax breaks related

  to such a relationship and after Thompson cited an example where a father and daughter wanted

  to be married. When he asked her about it and Krista E. responded, it was like comparing "apples

   to oranges." As she was walking out one of the students asked why one person in a lesbian

   relationship was half ugly and looked like a boy. These comments made her sick to her stomach

   and she started to cry.

   Kristine Exton, Esq.

          Exton owns a firm which investigate allegations of employee misconduct. In this case she

   was given a number of questions to answer. As part of her investigation, she talked to 5 or 6

   other students in the class before Thompson. Exton tried to contact Derian H., but she told her

   that she wanted to move on and did not want to meet. In Thompson's email to Derian H., he told

   her that she was causing him a lot of trouble and costing money. Krista E. believed this

   transmittal violated two paragraphs of the memo he had previously been sent informing him

   about the investigation. She was shocked and characterized his action as egregious in that, as a

   professor, he was an authority figure. It looked to her as if he tried to coerce and influence this

   witness. She believed Thompson knew that was the case since he had been involved in an earlier

   investigation at the same level.

          During their interview meeting, Thompson told Exton he did not know the status of the

   Derian H.'s complaint and believed the Administration did not followed its own policies to

   resolve the dispute. Exton thought Thompson would have been personally contacted about the

   investigation and told not to discuss it with witnesses. She acknowledged one may not know the



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   status of an investigation at every step, but was unable to imagine how someone in his position

   would not have known. She also agreed it was possible Thompson did not know about the status,

   but noted his email was within 10 days of receiving the letter regarding the investigation. She

   confirmed the conclusions reach in her report including that the charge of discrimination was

   "unfounded" and there was no animus associated with Derian H. having been received a low

   grade in Thompson's course.

   Larisa Broyles

          Broyles is a professor of anthropology and currently is chair of the Humanities, Arts and

   Social Sciences Department. Her relationship with Thompson was cordial and superficial. She

   noted that MYALL was a way to send out announcements about upcoming events and other

   matters to faculty, administration, and staff throughout the campus. Sometimes it would be used

   for non-business purposes. She was unaware of any written rules on how to use it. In 2014 an

   electronic message was sent out with a video. Broyles never saw it, but understood it to favored

   aversion therapy. Even though it did not go out to students, some of them did have access, which

   Broyles believe gave it validity. The comments she heard about it were pretty heated. Some

   faculty members were upset and called it garbage with no scientific validity. Some cited

   opposite studies and were concerned that people could be hurt by it.

          In 2015 Broyles chaired the Diversity Committee, which was a forum to discuss and

   solve problems including those which had been raised about Thompson. "Viewpoint diversity"

   was raised when they were speaking of Thompson and his viewpoints. There was some

   discussion how unfair it would be if his opinions were embedded in students without the benefit

   of hearing different viewpoints. In 2014 and after the Committee came up with some

   recommendations, Broyles, two other faculty members, and some students met with Dr. Mayo to



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   discuss Thompson. Mayo told them the video would not be shown anymore. Broyles and others

   were unhappy with such a response. It seemed as if Mayo was telling them to "shut it down."

          Broyles did not feel Thompson was sensitive to the diversity and felt others were affected

   as well. When Charlie C. first came to the College he was afraid because he had been out of

   school so long and was different. Over time he became very confident and started branching out,

   having fun, including going to off campus events. One day in 2015 he was sitting outside and

   seemed very despondent about an incident which had occurred in his Sociology class. Charlie C.

   did not believe he was fitting in and felt deviant after he had raised his hand in class. Broyles was

   concerned about his well-being and felt it could have been prevented since they had discussed it

   with Mayo the previous Fall. Some of the faculty also felt they were targeted because they were

   homosexual. They did not want to work with Thompson.

          Angela J. did not come directly to Broyles, but she heard elsewhere about this student's

   discussion with Thompson after she was absent from class because of a family matter.

   Thompson told Angela J. she should be home taking care of her family. Broyles felt this

   comment was inappropriate and made her feel uncomfortable in that they were not there to judge

   if someone should be at home or at college. Danny C., a student going through a gender identity,

   expressed a frustration with Thomson talking about sexual issues in class and was concerned he

   was being targeted as a model of what one was not supposed to be. Danny C. felt he could hold

   his own, but was worried about others.

          As to "diversity," Broyles agreed it was important for an instructor to listen to both sides

   of controversial issues and give students the tools to evaluate different ideas. She agreed

   sometimes it could be uncomfortable to present students with certain information. With difficult

   topics instructors needed to let students know they had their support to learn about them.



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   Charles C.

          Charles C. attended the College from 2011- 2015 and was a student in Thompson's class

   in 2014. On a weekly basis, he would hear Thompson make statements that denigrated women,

   including that a women's place was doing domestic duties. There was an occasion when he

   watched the film about how one could be changed so as not be a homosexual. It called

   homosexuality an illness. He did not leave the class so as to show respect. After viewing the

   film, things changed Charles C. did not believe he could not be himself. He felt threatened,

   scared and targeted in that he thought Thompson had talked about him. On occasion Thompson

   would walk up and be only about 2 feet away. Charles C. became much quieter and wondered if

   he needed to be careful about how he dressed or what he said for fear Thompson could fail him.

          After the film was shown, there was some discussion in class about it including a

   question whether the College knew about the film. Thompson said he had tenure and could do

   want he wanted in his classroom and that what the film showed was an option that could work.

   Later Charles C. went to talk Broyles and Dr. Bunk about how he felt. He was surprised when he

   got a "C" in the course since he had received "A" and "B's on his papers and had some tutoring.

   If Charles C. had known such things about Thompson, he would have taken the class with

   someone else. Charles C. thought Thompson was respectful, but he did not feel he could

   challenge him.

   Lorraine Jones

          Jones currently served as the Compliance Officer in Human Resources for the College

   responsible for responding to harassment and discrimination complaints. She provided services

   to student, applicants, or third parties. The College's non-discrimination policies and procedures

   were located on line, in annual notices, in the student handbook, and were posted at different



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   locations. All faculty members acknowledge receipt of the policies and are responsible

   employees for reporting purposes. If a student reports a complaint to an employee, that person is

   responsible for either forwarding it to one of the coordinators, the website, or by directly

   contacting her. All of them are investigated and there are protections for anyone involved in the

   process and against those who try to influence an investigation.

          Jones confirmed a letter was sent to Thompson which put him on notice Derian H. had

   filed a complaint against him. Subsequently Thompson sent Derian H. an email despite what

   was written in the opening sentence of the letter he had received. Jones then asked the matter be

   investigated. As to why his complaint was not processed under the College's grade policy, Jones

   believed such protected classification complaints must be processed differently. Retaliation was

   an additional offense, which still needed to be investigated, whether the other allegation was

   sustained or not in that Title IX and the laws of California prohibited such action.

          Jones was aware Derian H. did not cooperate in the investigation, but unless one

   withdrew her complaint in writing, the process continued. She confirmed there should be an

   informal effort to resolve such charges, but the College still has an obligation to maintain

   compliance, so it still may need to go forward. There was no such get together in this case. If the

   College was found not to be compliant, it could be sued and/or lose use financial aid funding.

   Jeff Rhyne

          Rhyne. a Professor of English and Chair of Department of Communications, had an

   office opposite of Thompson, during which time they had a cordial relationship. In 2014 there

   was a brief quote on the MYALL List Serve from a scholar and a link to video regarding

   conversion therapy. There was quite a bit of online response about it. Most of the postings were

   against, while some wanted more explanation as to why Thompson sent the video.



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          Rhyne watched the video and then sent responses supporting the LGB community. The

   film made it appear as if homosexuality was some sort of choice. He found the video to be both

   dangerous and non-academic because it promoted a tool that made people feel some aspect of

   themselves was not okay and could put in a vulnerable position. It was non-academic because it

   was one-sided and ran counter to American Psychological Association's position against such

   treatment, a matter he believed was now well-settled. Ryne was on the Diversity Committee and

   part of the group that met with President Mayo whose main focus was that the Committee come

   up with a written response to use in controversial issues should there be such a post in the future.

   It was posted for a couple of semesters.

          Rhyne reviewed an audio and transcript of the class submitted into evidence. His first

   thought was that Thompson targeted a particular student. His judgement as to the value of such

   an interaction depended on what Thompson knew about the student and maybe, if he called

   people random. He noted even academic freedom should protect students from being harassed

   because of who they are. He agreed it could include different viewpoints and that some students

   might be uncomfortable with them, but that could be part of the learning process. There was a

   difference between presenting challenging ideas and targeting students.

   Sergio M.

          Sergio M., a student until Spring 2015, was a member of the Student Senate and the

   Diversity Committee. He took two courses from Thompson and told the investigator he was not

   offended by statements made in his class. He was not one to challenge faculty back then. He was

   originally close minded, but eventually grew to become more culturally aware with a more

   inclusive mindset. In December of 2014 Sergio M. was one of students from the Diversity

   Committee who went to Mayo after he heard about some issues regarding Thompson. He went to



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   report what he had heard from other students and to make a complaint for himself, in that now he

   had different beliefs as to those issues. During the meeting with Mayo they talked about different

   ways to investigate or address their concerns. He did not know what action was decided on.

          When a God-Man-Women diagram was shown during a class discussion about polygamy

   and maternalism there was some laughter while other students rolled back in disgust. In regards

   to religion and the family, he could only recall him talking about Christianity. He believed

   Thompson would carefully choose his words. He was approachable to other students, respectful

   and charismatic.

   Ann Louise Pfeifle

          Pfeifle has been a professor of history at the college since 2001. She did not have a great

   deal of interaction with Thompson. Krista E. came to her on three different occasions about him.

   The first was when she was upset about what he had said in class. Pfeifle suggested she say

   something in class or talk to Thompson afterwards. She came to her again after Thompson made

   some comments about gays or gay marriage. Pfeifle told her if she did not feel comfortable with

   talking to him, she could make a complaint. Krista E. did not want to do so and get a bad grade.

          When Krista E. came to Pfeifle a third time, she was frantic and shaking. Thompson

   called her out, inquired about her opinion on gay marriage, and then asked her to defend it. She

   believes Thompson did so because he knew how she felt about the issue as a member of the

   student LGBT club. Krista E. was upset and left the class after Thompson made some

   comparisons and after a student used the word "dyke. Another student asked if someone dressed

   like a man, why she did not marry one. Krista E. was upset Thompson did not intervene. As an

   educator, Pfeifle was troubled because of the effect this incident had on Krista E,

   Faith N.



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          With the exception of about one or two sessions, Thompson would make some offensive

   comments based on race, gender, religion, and sexual orientation during his Sociology 1 class.

   There were some African Americans in the class, when on five or six occasions, he said blacks

   had a victim mentality and would refer to them as "those people." He complained about one

   professor, who thought he was better than anyone else and was trying to get everyone to speak

   Ebonics.

          There were several occasions when he characterized gays as being deviates and that they

   had no business being around children. It was a common theme in this class. He would often

   make comments regarding gender including that women belong in the home and should be

   subjected to their husbands. He also said there should be an increase in paternalism, and how

   feminists, including some faculty members, were tearing apart the moral fabric of society. There

   were a couple of times he said it was the Protestants who made the nation great and would talk

   about Catholics and the horrors he said they had inflicted.

          When she tried to comment about women in the Bible, he would cut her off and say that

   text did not lie. Faith N. was irritated and put down by such comments. She learned very quickly

   not to question him. For the first couple of weeks there were students who had dissenting

   opinions, but then everyone just shut up and would not ask him about anything outside of his

   personal beliefs. Towards the end of the semester he offered an extra credit assignment regarding

   homosexuality. She felt bad for those who were trying to bring their grade up. Faith N. had not

   viewed the extra credit film, but by that time she had seen other videos that were not academic in

   nature and were hateful with a specific agenda. There was no true presenting of philosophy or

   fact. Thompson said he had previously got into trouble for not being politically correct enough.




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          Although he did not necessarily speak directly to them, she saw students who were

   dejected or irritated. You could tell they wanted to say something but they would not. Some of

   them were high school students. Faith N. felt very cheated, in that she wanted to get information

   but about 50% of the class was not from the book but propaganda. She did not complain because

   it was her first semester and she did not know who to go to. It was his understanding Thompson

   was the head of the Department. Since Faith N. was unsure about her future course of study, she

   was afraid of ending up in another of his classes where he could retaliate. Faith N. received an

   "A" in the class. She characterized Thompson as a very nice gentleman. Although he never

   yelled or screamed, it was obvious which students he did not care for. He would not call on

   them, cut them off, or look directly at the one who fit a certain category with an unfriendly facial

   expression.

   Victor S.

          Victor S. participated in a number of campus activities including serving as a student

   senator and on the Diversity Committee. During a meeting in the latter "viewpoint diversity" was

   discussed in the context that someone should not take offense at something that is different, have

   empathy, and take into consideration the feelings of others. As a senator, students would bring

   issues about Thompson to his attention. He took both Sociology I and a course on marriage and

   family from Thompson. He completed an evaluation where he noted the Thompson would be a

   great instructor at a private, but not a public institution. He told the investigator Thomson had an

   amazing desire to instruct and to engage in dialogue.

          Thompson knew what religion Victor S. practiced and that he was taking classes at a

   Christian college. Thompson had said professional women did not make good housewives. For

   about six (6) class meetings, he presented women as being there to serve men, by cleaning, meal



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   prep, and so forth. On two or three occasions Victor S. had to clear his thoughts before going

   back into Thompson's class. Those comments bothered Victor S. both spiritually and

   emotionally. When he voiced his concern, it literally became a scripture battle. It was as if

   Thompson was trying to change his mind based on his interpretation. Even though Victor S. did

   not wish to participate, Thompson would walk up, stand about foot and a half away and say "I

   really want to know what you think." He would then chuckle, walk off, and be unwilling to

   entertain Victor S.'s comments. He believed Thompson targeted him based on his religious

   belief, his speaking up in class, and because he was a student senator.

          Thompson would say how being gay was an abominable sin and that they were going to

   hell. Victor S. would walk out on those occasions when the subject of conversion therapy was

   discussed. The only alternative view Thompson presented was that of prayer. This was a tender

   issue for Victor S. in that his Aunt was transitional. It was his belief that for about 75% of the

   time there was some sort of tension in class with gays, transgenders, or women because of such

   topics. On one occasion, after he asked about his grade, Thompson reconsidered and changed it.

   Eric Thompson

          Thompson was a tenured professor at the College and has both a B.A. and Masters in

   Sociology. In March 2016 and even though an investigation found he did not violate any Board

   or College policy, Mayo sent him a 90-day notice for unprofessional conduct claiming he treated

   students differently. He sent Mayo a certified letter response, but he received a reply.

   Afterwards, he changed his behavior. Even though he did not do the things Mayo alleged, he felt

   she was trying to appease the Diversity Committee and faculty. He understood academic

   freedom as supporting the independence for instructors to teach and student to learn, even if it is




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   uncomfortable for others. It was his belief the mission of higher education was the search for

  knowledge and truth which could not be limited if academic freedom was curtailed.

          As to the allegations involving Krista E. the subject in class that day was the legalization

  of gay marriage and the risk factors of divorce. He asked questions of about 25 students. After he

  asked Krista E. the first question, there were several others and some back and forth. She did not

  appear offended and he believed she was fairly treated. He had asked the class about a question

   posed by Judge Alioto and a report where a man had married his own daughter. At one point in

  the discussion another student asked him why in a lesbian relationship, one of them always

  dressed as a man. At that point Krista E. stood up and with her voice shaking said something like

  that was a stereotype. Thompson wanted to ameliorate the situation, but it happened too fast. He

  then suggested one should not stereotype and told the student who asked the question if she

   could delicately ask her friends if she knew such individuals.

          The statement Thompson made in class suggesting women remain at home was not a

  view he held. He did so just to encourage discussion and keep things interesting. He had

   assigned a Forbes' article, "Don't Marry a Career A. Women," as an example how data is used in

   sociological research, and to show conclusions on such research could be misunderstood. He also

   assigned a rebuttal article, "Don't Marry a Lazy Man." The comment about a woman wanting a

   strong man was made in a playful tone. It was not his personal belief, but one based on research

   which showed women preferred a man who was strong took risks. He used the term "caddy" in

   the context of polygamy as reflected in research where a man, who has more than one wife, has

   problems with such an arrangement. He referenced an article, generally accepted in his field,

   which said "women are hard wired" in that regard. He added that anything which has to do with

   human beings in society and was peer reviewed was acceptable within the behavioral sciences.



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          Thompson stated he was never given any guidelines as to how use the MVA11 List Serve

   before he posted the video titled "Understanding Same Sex Attraction." Mayo wanted him to

   agree to stop using it so she could get back to those who brought the complaint. Thompson told

   her that he would do so for the next semester, but was unwilling to shelve it forever. As to the

   video "Fireproof," it was about a couple who were having problems with communication.

   divorce, career, work, pornography, religion, and other categories. All of those topics were in

   the textbook and discussed in his class. There was a chapter in the marriage class about religion

   where he would use the Bible to understand current society. The course outline defined the

   objectives of the class, methods of instruction, and textbook. As an instructor he had to adhere to

   those guidelines. He did not modify the text.

          In response to testimony that 70% of the time he talked about his religion, his students

   may have implied that was what he was saying. As to how sociologist view society in general, it

   depends on the framework from where they are coming. He characterized himself as more of a

   structural functionalist. Thompson admitted to sending the video to Derian H. asking her not to

   go forward with the complaint. In doing so he copied all of the leaders of the college, which

   showed he did not try to bribe her. He was approachable and offered her a higher grade if she

   deserved it. He would make such adjustments a couple of times a year. When asked about

   "status" by the investigator he was referring to Derian H.'s sexual orientation and not the

   investigation. He had no idea about Derian H. sexual identity. He raised this same point in his

   Skelly response.

          Thompson argued the letter to Derian H. could not have been about the investigation in

   that by that time, the grades had already been submitted. He did not believe posting of the video

   was part of the investigation. He also did not know why the list of people he emailed was not



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   included. They were "bcc." He acknowledged he had all of the grades and could have done the

   calculation without contacting or sending her an email. He did tell Derian H. if she reviewed the

   video, it could help her grade. As to the class and the Supreme Court arguments, he never told

   another student not to use stereotypes when referring to gay couples.

          The "sword" comment he made during his Shelly was in defense of the Administration

   trying to illegally push him out for exercising his academic freedom. As his lawyer mentioned

   during the meeting, it was just a metaphor in that he was responding to them for having drawn

   their sword against his family. He had nine dependents and they were trying to take away his

   income. It was not meant to be a violent comment, but rather a reference to a legal remedy and

   that he intended to file a lawsuit due to their abuse. Thompson told Hendrick during the same

   meeting he always liked him.

          Every three years tenured faculty were assessed to see if there were deficiencies which

   needed to be remedied. The process would include student feedback and had one done in Spring

   of 2015. As to the student evaluation piece, he was not aware of any complaints about how he

   was teaching. The responses he received were very favorable. He would give students the

   opportunity to present their points as he liked classroom discussions. Thompson confirmed that

   during his deposition, he never admitted to having done anything wrong while at the College. He

   remembered going to a post commencement get together at Mayo's house, but did not recall

   telling Steinback she was feminist or that women belonged in the home.

          The extra credit was available to all students. All required was a quick write up with

   some personal comments. He did not read them. Thompson did not believe he can teach

   Sociology without hurting someone's feelings in that if you are going to think, talk, and evaluate,




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   someone is going to get offended. The concept of academic freedom contemplates some students

   may get offended.

                                  DISCUSSION OF THE ALLEGATIONS

      1. Whether Thompson improperly targeted Krista E. in class because of her affiliation

          with the LGBT community and perceived sexual orientation

          The College alleged Thompson had directed a series of harsh and embarrassing questions

   towards Krista E. which caused her to become upset and leave his classroom (Ex J p. 13:21-

   18:23). She reported he confronted her with his one-sided views against legalizing gay marriage.

   In addition, there had been a number of other occasions during the semester when she wanted to

   get up and leave because of statements made in his class (TR 282:8-21, Ex. 12 p.18:2-23). It

   was the College's position his actions violated various internal policies which prohibited

   harassment and/or discrimination.

          An investigation into the matter found the allegation "sustained in part" as to such

   comments being made in class, but did not sustain Krista E.'s assertion his conduct was

   motivated by her association with or support of the homosexuality (Ex. A p. 5). Thompson

   admitted knowing Krista E. was an advocate for the gay community and did not deny she left the

   classroom during a discussion about gay marriage. She would wear a shirt with a LGBT logo and

   an ^ZX7button to his class (Ex. 13 p. 101:6-21). Thompson put forth several defenses against

   this and several of the other allegations including, but not limited to: 1) the events did not occur

   as alleged and as reflected on the recording taken during the class; 2) the subjects discussed in

   class did not exceed the bounds of his academic freedom; and 3) the comments from a few

   students were inconsistent with his 2015 evaluations (Ex. 32 p.l 1). After a review of the

   documents introduced and testimony presented, what Thompson said and allowed to be said by



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   others could well have caused Krista E. to become upset, but did not violate any of the College's

   policies or procedure and/or rise to the level of unprofessional conduct.

          Thompson did not dispute the College's contention he was aware of the various State

   laws, policies and procedures and other internal safeguards in place to in place to protect students

   from harassment and discrimination (Exs. 39, 49, 56 - 62). They included a Prohibition of

   Harassment and Retaliation which applied to the classroom as well as and grades (Ex. 39 p.4).

   Inappropriate conduct could include making verbal "ridiculing statements that convey derogatory

   attitudes" to one in a protected class (Ex. 39 p. 8). Jones testified the sociology instructor job

   posting required one to have "evidence of sensitivity to and understanding of the diverse

   academic, social, economic, cultural, disability, and ethnic backgrounds of community college

   students" (TR 447:22-451:25). The "Schools Diversity Initiative" recommend there be a

   committee of students and faculty to advise the College President on diversity and equity. (Ex.

   52 & 53). During the hearing several student and faculty witnesses testified they participated in

   the same. Finally, there was the 90-day notice Thompson received from Mayo on March 3,2016

   which reaffirmed that students are protected against discrimination and harassment on the basis

   of gender, sexual orientation and sexual identity (Ex. 26).

          It was important to note the College's own investigator did not find he directed questions

   that day to Krista E. because of her support of the LGBT community (Ex. A p. 5 &15:37).

   Thompson was correct that the recording taken in the class that day did not corroborate Krista

   E.'s version of the events in several respects as to whom and what was said (Ex. 12). The

   College pointed to the fact that during her investigation Lindoerfer did not have access to the

   tape since in that it was not produced until the Shelly hearing. It was difficult to see how the




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   investigator would have changed her findings even though not all of what Thompson or Krista E.

   said occurred was verified by the recording.

          As an example, it did not appear as if Krista E. was singled out as she claimed.

  Thompson could be heard calling several other students by name at the exact same time (Ex. 2

   p.13:21-23). Even Ryhme, one of those who disagreed with Thompson's opinions, recognized

  that any value in evaluating such an interaction depended on what he knew about the student and

   if he called people random. Such appeared to have been the case in this instance. Although three

   others were also called on by name at that exact time, only Krista E. responded. As to why she

   did so, Krista E. said it was because of the tone of Thompson's voice, his physical location at the

   time, and the delay after the question was asked. His physical location of course could not be

   verified by the tape however, his tone and amount of delay could be evaluated. His tenor did not

   seem argumentative or much different what one can hear for the rest of the lecture that day.

   There was also no real pause on the tape between his question to the four students and Krista E.'s

   lone response. Her representation that she did not want to be called may well have been true, but

   the rest of the interaction seemed inconsistent with her preference not to respond. She continued

   with the discussion for some period of time, including after another student had already entered

   the conversation and/or when no question was pending (Ex. 12 p. 16 - 17).

          It was also noteworthy, that it was another student who posed what Krista E. considered

   was an offending question as to why one of the partners in a lesbian relationship would dress like

   a man. The question, which seemed a little off topic, was asked by this other student without any

   prodding by Thompson. In addition, both in the transcript and the recording, it was clear this was

   not the question that triggered her to leave. She was already leaving by that point. Even then she

   continued to engage in the discussion as she left the class. There was no doubt she was upset by



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   the conversation. Thompson apparently saw that was the case when he asked and tried to get her

   to stay (Ex. 12 p. 18:2-13). He can also be heard telling the other student he did not have an

   answer to her question while several of the students continued to debate among themselves. In

   part, this confirmed his representation he tried to ameliorate the situation, but was unable to do

   so because she left the room so fast.

          On the tape, it did not sound as if other students were upset with the presentation or

   discussion beyond several being actively engaged. During the investigation one of the student's

   instead characterized Krista E.'s leaving as immature (Ex. 15 p. 29 - 30). One perhaps could

   argue Thompson should have been more emphatic in shutting that particular topic down quicker,

   but at most, his failure to do so was more of an instance of poor judgment and not an intentional

   violation of policy.

          Some interaction between students and their instructor was to be expected. The course

   syllabus made it clear class participation was a grading consideration (Ex. 3 p.2). As to the

   subject matter, the course outline noted topics for the semester would include "social interaction

   and the process of socialization; groups, organizations, and deviance; economic social inequality

   based upon class, race, sex and age; social institutions (marriage) and dimension of social

   change" (Ex 7 p. 1.8-1). There was no assertion the lecture material he presented that day

   regarding family and gay marriage was inappropriate for his sociology course. Krista E. testified

   Thompson told the class he did not agree with some of the subject matter, there was no evidence

   he did went beyond those documented parameters (TR 264:10-265:8). Thompson testified he

   taught within the syllabus.

          Part of the discussion that day focused on Supreme Court Judge Alito's comments

   regarding a pending case on same sex marriage. It was clearly a current event at the time, the



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   subject of national debate, and relevant to the course topic involving "marriage and family" (Ex.

   5 p. 1). Prior to Krista E. leaving Thompson could be heard setting the stage for the discussion

   when he noted "so my point is this, is that culturally we are moving away from the strict

   definition as we've been taught initially of family, which is - all of you have said it, the book

   definition - people who are related, by blood, marriage, or adoption" (Ex. 12 p. 4 :21-24). The

   conversation about the family structure then began to expand, including when one student

   mentioned his understanding that four men had married (Ex.12 p. 13:1-3). Even Krista E. spoke

   up about polygamy and its historical practice in Mormon church (Ex 12 p.l3:9-25). Although

   Krista E. was upset with the direction the lecture drifted, there was no evidence Thompson's

   participation antagonized Krista E. with the points he made or the questions he asked during the

   discussion of these topics. She went on to receive an "A" in the course (Ex. 19 p. 10:63-69).

          Even if one concluded Krista E. had been targeted, Thompson argued the manner in

   which he conducted himself both that day and when the other allegations were said to have

   occurred were protected by his right to free speech and the latitude afforded with academic

   freedom. The College's academic Freedom policy noted that "Academic professionals need the

   freedom to explore ideas that may be strange or unpopular, endeavors proper to higher education,

   while also maintaining the responsibility of related subject matter to the classroom". In addition,

   "nothing in these policies and procedures shall be interpreted to prohibit bona fide academic

   requirements for a Specific District program course or activity." There must be a balance

   between a "faculty's right to teach and the student's right to learn." (Ex. 39 p. 9). The College

   did not disagree that faculty members, at some level, were afforded such protection as to their .

   method of discussion. Hendrick testified he was a strong believer in academic freedom, which he




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   summarized as a free exchange of ideas and exploring multiple points of view in an atmosphere

   where scholars on both sides are safe and able to explore their ideas.

          Both parties agreed such instructional latitude was not unlimited. In regards to this and

   several of the allegations, it was College's position his comments did not serve a pedagogical

   purpose while Thompson argued the law was clear in that the College may only limit speech on

   matters of public concern if it was detrimental to the objective of the college in educating its

   students. Both referenced the Pickering case and its balancing test (Ex. 39 p. 9). It consisted of

   two parts, the employee's need to show the speech was a matter of public concern and that the

   employee's interest in commenting on such matters outweighed the employer's interest in

   promoting the efficiency of the public services it performed through its employee (Pickering v.

   Board of Education, 391 U.S. 563 (1968). There was no doubt that commenting on a pending

   Supreme Court case, which also was the subject of nationwide debate, was a matter of public

   concern.

          There was a difference between presenting challenging ideas and targeting students to

   such a level as to harass, threaten, ridicule, or impose his one's views on students. The College's

   policy on the "Prohibition of Harassment and Retaliation" recognized that academic freedom

   does not permit unlawful discrimination or harassment (Ex 39 p. 8). The College's policy on

   "Handling Complaints of Unlawful Discrimination or Retaliation" included similar language (Ex

   39-19). The College's Administrative Procedure AP 3430 also recognized academic freedom but

   still did not permit unlawful discrimination or harassment (Ex. 39, p.8). At some level one

   cannot claim First Amendment protection by targeting a student (Demers v. Austin, 9th Cir. 2014,

   729 F.3 at 1020). As Steinbeck noted, targeting students was not an acceptable method of

   teaching Sociology (TR 71:3-22).



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           Reaching a determination as to what is acceptable academic speech can well be subtle

   and "difficult" (Demers, supra, 746 F.3d at 413). The various topics offered in Thompson's

   sociology courses made an evaluation in this case particularly difficult. Steinback recognized the

   difficulty associated with making such determinations noting, "that's the knife edge we walk on

   in Sociology" (TR 22:19:17).

          Thompson was in large part correct that the College should not be able to prohibit an

   instructor's expression of an idea simply because society finds it offensive or disagreeable.

   Broyles agreed sometimes it could be uncomfortable to present certain information to students.

   Pfeifle acknowledged Thompson had academic freedom to present anything he believed as an

   expert in his field (Ex. 19 18:60-63). As to the same, she also noted "that's fine as long as it

   doesn't cross the line, but you never know where the line is" (Ex. 19 p. 20). As noted, "it is

   recognized that the essential function of education is probing of opinions and an exploration of

   information and ideas may cause some students discomfort and there is a need to balance the

   "faculty's right to teach and the student's right to learn." (Ex. 39 p. 9). In addition, "vigorous

   debate and even disagreement on issues of public concern are valued elements of the learning

   process."

          During Ryne's testimony he agreed academic freedom contemplated different viewpoints

   and that some students might be uncomfortable, but that could be part of the learning process. It

   is quite possible then for there to be a presentation of ideas that are challenging at some personal

   level for a student without there being any intent to harass and target one for his or her views,

   including those in a protected class. Broyles also agreed during her testimony that sometimes it

   could be uncomfortable to present certain information to students.




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          It was difficult to understand, if students had concerns about targeting one for harassment

   or discrimination and/or the manner, bias, and/or inappropriate comments why historically they

   were not reported on his various evaluations. Thompson's testified to the importance of student

   evaluations in the tenured instructor evaluation process. They were apparently not taken lightly

   in that Hendrick stated the improvement instruction committee or panel both read all the student

   evaluations and did their own. Subsequently, a report is written with a recommendation which is

   read by VP academic Affairs and then passed along (Ex 22 p. 3:55-58). Steinback would read the

   student evaluations and develop of plan of plan of remediation to improve instruction (Ex. 4 p.

   50-53 & 22 p. 4:32-36). The only explanation as to why there were not more complaints were

   that students just "tuned" him out or because the class was easy (TR 272:11-24 & TR 537:14-

   538:3). Victor S. said he wrote a negative comment, but there was no such reference in any of

   those evaluations reviewed by Thompson's faculty peers (TR 628:2-23).

          As opposed to their not being any such negative surveys, there were several which

   indicated his performance was, at a minimum, acceptable to both faculty and students.

   Thompson reported he had twice had won a "Faculty of the Year Award" which was an honor

   voted on by students. He testified and the College did not dispute, there were both student class

   surveys every year and a review by his pears every third year, including classroom visits as

   recently as 2015. There were positive evaluations written by David Vakil, (Dean of Instruction),

   Gregory Elder, (Faculty Chair), and Travis Gibbs (Faculty Member) (Ex. C-3). Elder wrote, "on

   many previous occasions I have seen him in the classroom and his work is always of the finest

   quality. His students find him interesting and challenging and have many good things to say

   about him" (Ex. C p. 6). In what appeared to be a rebuttal to the allegations of Thompson being

   "unprofessional" Elder also wrote, "I commend him for his professionalism and dedication to the



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   College and the craft of teaching." There was no indication of what alleged to have been

   concerns or issues as alleged elsewhere by other faculty or students.

          His written student evaluations, which were a mandatory part of the "Peer Review

   Committee's report, also appeared to be in stark contrast to what was asserted by the College

   (Ex. C p.2): As to his class discussions, it was reported there was "more than a modicum of

   student input and questions" and that he would challenge "students in a non-threatening manner"

   (Ex. C p. 7). Although he may have had notice in advance of such a faculty visit, these positive

   comments were consistent with other peer and student reviews.

          In evaluating two of his classes, Gibbs characterized him as being "very considerate of

   his students." He also noted "Thompson must be doing something right and that 84% and 91% of

   his students would recommend those respective classes" (Ex. C p. 9). In his multi-class

   evaluation Vakil wrote there were not any student comments regarding a shortcoming that

   needed to be addressed and that "both courses had very similar and positive student comments"

   (Ex. C p. 11). In his student evaluations he "typically received all of nearly all marks in the

   "Outstanding" or the "Above Average categories." As to any "weakness in class' there was only

   one negative comment with dealt with his untimely response to emails, which was relatively

   minor and not in any way related to any of the present allegations (Ex. C p. 16). In all 13

   students 15 students, who responded, had good things to say about his class. Finally, it should

   also be noted these comments and the evaluation from the Peer Review Committee were in the

   Spring of 2015, after students had come forward and presented with Mayo their concerns over

   the showing of the video and/or to other faculty regarding other concerns (App. D p. 60:10-23).




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           What occurred in the classroom that night might have been handled a little differently,

   but there was no evidence Thompson crossed the line when he attempted to get Krista E. or

   others to engage in such a relevant and important topic that particular day.

      2. Whether Thompson made statements that women with children should stay at home

          and not go to college

          Thompson did not contest the fact there were mothers in his class who may have had

   children at home. There were also a number of witnesses who testified in support of the

   College's position that Thompson made such comments about women both in and outside of

   class. Charles C. and Angela J. both stated he made what they considered were biased and

   derogatory statements. Krista E. testified Thompson would do so about once a week (TR 268:2-

   6). In addition to what she believed were anti-gay comments, Faith N. testified that during her

   class in the Spring of 2016 Thompson said women belonged in the home and should be

   subservient to men (TR 566:5-567:22 & TR 567:5-9). Sergio M. confirmed much the same

   when he referenced a drawing from Thompson's class which illustrated the view a woman

   should serve a man and a man should in turn serve God (Ex. 18).

          Thompson did not deny making such statements. He represented they were not his

   personal views and were only made to encourage debate (TR 662:6-666,3). He referenced an

   article in Forbes titled "Don't Marry a Career A. Women" to try and support that his claims were

   supported and a legitimate instructional position. As opposed to other alleged classroom

   statements by Thompson, which may have been within the bounds of academic expression, in

   this instance there was additional evidence which showed such one-sided statements about

   women, represented his true mindset, both inside and outside the classroom.




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          Although Thompson could not recall making such a comment, Steinback testified that

   during a social function at Mayo's house he called her a "feminist" and a "bad wife and mother"

   for working while she had children at home (TR 845:12-848:20). Such sentiments mirrored what

   his students reported were made in the classroom as to how he felt about working women

   making it more likely than not, his comments were intentional and indicative of his personal

   prejudices. Unlike his interactions with Krista E. as noted above, there was no need to consider

   the "balancing" of academic freedom in this instance. The interjection of such personal views

   about a mother's place in society in such a repetitious, direct, and definitive way, did not serve a

   material pedological purpose.

          Such comments about women had a negative effect on his students and were contrary to

   established College policies which prohibited discrimination and harassment (Ex. 39). Angela J.

   testified Thompson's statements made her feel guilty in that by choosing to go back to school

   somehow, she was not being a good mother. As Mayo correctly stated in Thompson's 90-Day

   Notice, degrading the educational experience of female students could deter them from pursuing

   an education (Ex. 26 p. 3). It was clear from the documents and testimony presented the College

   has a proud tradition of promoting an environment which offered such students an entree back

   into the academic world. The College was an institution that provide individuals in the

   community with an opportunity to improve the lot of both their children and themselves. Having

   a faculty member actively discourage such participation under the guise of instruction, was

   prejudicial and contrary to the mission of the College. An academic institution should not have

   to tolerate such behavior at the expense of its students.

      3. Whether Thompson failed to adhere to the requirements presented in the 90-day

          Letter of Unprofessional Conduct



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          Prior to moving towards a possible discharge, the College was required to provide a

   written notice "with specific instances of behavior and with such particularity as to furnish the

   employee and opportunity to correct his faults and overcome the grounds for such discharge"

   (CM. Ed. Code 87734). Thompson received such a 90-day notice in March 2016 from President

   Mayo for having treated students differently in the classroom and on the basis of gender (Ex. 26).

   This letter put Thompson on notice there could be disciplinary action if he again 1) treated

   students differently or provided them with different standards based on the perception they were

   gay or associated with the LGBT community, and/or 2) if he made discriminatory statements on

   the basis of gender. It also reserved the right to proceed to dismissal if he again engaged in

   unsatisfactory or unprofessional conduct.

          Thompson attacked the basis of the notice given the administrative determination "that no

   violation of District Policy of Administrative Procedure occurred" (Ex. A. p. 6). Such a

   summation was somewhat misleading in that with the exception of a part of Allegation 6, the

   findings of the other five allegations were noted as "sustained." They were not seen as violative

   of policy, but as Mayo noted, did constitute unprofessional conduct (Ex. C p. 6). The College's

   argument that Mayo's determination would have been even more severe had she been given the

   benefit of some of the testimony presented in this case should not be a consideration. For

   whatever reason, neither party chose to call Mayo and as such, it would only be speculation at

   this point to believe she would have changed her determination from that outlined in her letter.

          With this baseline finding, the determinative factor as to this allegation was whether

   Thompson's subsequent actions were in conflict with the admonitions in this letter. It was

   alleged there were several different occasions when he failed to abide by the directives in his 90-

   day notice. The first was the charge he discriminated and/or retaliated against Derian H. based on



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   her sexual orientation. The second was the assertion he disregarded the written instruction not to

   contact or otherwise interfere in the subsequent investigation related to the same. A third was the

  false statement that he was unaware of the status of that same investigation. Finally, it was also

   alleged he physically threatened Hendricks during his first Shelly. As noted, elsewhere in this

   decision, the College was able to carry its burden of proof on just two of these charges.

          Mayo's letter was a reaffirmation of the law and College's various policies prohibiting

   such conduct. A mitigating point, but one still insufficient to prevent not sustaining this charge,

   was the 90-day notice also indicated the College would provide him with assistance in modifying

   his behavior. Beyond the notice itself and the distribution of a policy document, there did not

   appear to have been any such assistance. During his deposition Thompson said he did not get

   any help from the administrators (Thompson Depo p. 122:17-19). In addition, Thompson

   represented he also sent an email to Mayo on May 11th which requested he be able to engage in

   discussions with members of the LGBT community. He said Mayo told him to contact her

   assistant. Thompson stated he did so, but no meeting was ever arranged. Regardless, the weight

   of the evidence clearly established, he engaged in additional unprofessional conduct after

   receiving the notice with the letter sent to Derian H. and his false statement to the investigator.

      4. Thompson's failure to give Derian H. credit for an extra credit assignment.

   Derian H. claimed she submitted two extra credit papers while taking Thompson's class. One

   was a review of a film about conversion therapy as a way of "fixing being gay." Derian H.

   alleged she never received credit for this extra assignment even after her repeated requests for its

   return. Others in her class had received such credit. (TR 32:9-34:8). Derian H. also claimed she

   should have received a higher course grade based on her final exam score (TR 34:9-35:6). She

   believed Thompson's failure to make any grade adjustment was motivated by his awareness of



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   her sexual orientation after she had self-identified in the extra credit submittal. If true, such

   conduct would have been a violation of several College policies including one which specifically

   prohibited harassment and retaliation in grading students (Ex. 39 p.4). In his response Thompson

   denied any knowledge of her sexual orientation and/or using grades as a way to "target" her. His

   position was more persuasive.

          There was insufficient evidence to show there was an inappropriate cause and effect

   between Derian H. either not receiving the benefit of the extra credit and/or a higher grade for

   the course. With the exception of her testimony, there was little additional information as to what

   final grade she should have received been beyond Exton's report. Exton's investigation was

   hampered somewhat by Derian H.'s refusal to be interviewed (Ex. 30). As such there was no

   confirmation as to of some of its factual findings, including whether she actually missed an

   examination as the review indicated. It that was the case, obviously it would have had a negative

   effect on her final grade. This conclusion was consistent with Derian H.'s testimony she was

   failing the class when she went to Thompson to see how she could improve her grade (Ex. 24

   pages 13-15).

           Although neither a copy of her extra credit submittal or her recorded grades were

   introduced into evidence, Exton's report also included an explanation of the methodology

   Thompson used in calculating grades and extra credit. Exton found this explanation to be

   satisfactory and went on to conclude "the preponderance of the evidence shows that it is

   UNFOUNDED there was discriminatory animus on the basis of sexual orientation by Professor

   Thompson in assigning a grade for Derian H. (Ex. 30 p.6). "Unfounded" in this context meant

   the investigation clearly established her allegation was not true (Ex. 30: 6-7). Exton affirmed

   this earlier conclusion later during her testimony (TR 331:16-2).



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          Also found as "not sustained/inconclusive" was Derian H.'s claim that Thompson's

   conduct towards her changed after she disclosed her sexual orientation and for that reason, he did

   not give her the extra credit (Ex. 39 p. 52). Exton's report indicated the grading record showed

   Derian H. received credit for two extra assignments, which were all this student reported she

   submitted. The investigator found even if Thompson failed to credit Derian H. for completing

   another extra credit assignment, it would not have had an effect on her final course grade (Ex. 30

   page 6 & 8).

          Beyond the documentary review by Exton, there was also no persuasive evidence that

   others were likewise mistreated. Grading in his classes was not anonymous (TR 111 290:6-19).

   Charles C. felt his final grade was unfair, but beyond his testimony there was no review of his

   grade record to substantiate his claim (TR 415:20-416:7). On the other hand, there were several

   other students, who even though they too actively commented on or complained about

   Thompson's views, did not have any grade complaints. Faith N. testified she did not do the extra

   credit assignment because she did not need it (TR 574:1-6). Victor S. challenged Thompson

   about his grade before he agreed to change it to an "A." which was what he also received in his

   other sociology class (Ex. 20 3:31-33 & 5:30 -34). Angela J. also went on to get an "A" in her

   Sociology course (Ex. 21 6:58-60 & TR 263:9-11).

          Thompson argued the College did not attempt to resolve Derian H.'s complaints as

   required by Administrative Procedure 3425 (Ex. 39-19). According to Compliance Officer

   Lorraine, it was not necessary in this case in that the allegations were so serious the College had

   to act to ensure a safe learning environment for its students.


      5. Whether Thompson failed to adhere to the directives in Exton's letter of September

          14,2016.


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          The letter Exton sent to Thompson on September 14,2016 regarding Derian H.'s

   complaint required that he "refrain from discussing this matter with other students, faculty, or

   members of the community in a manner that could be reasonably construed as threatening,

   retaliatory or an attempt to influence others" (Ex. 28). He was put on notice that any "attempt to

  take reprisals against, to intimidate, coerce, or otherwise threaten any participant of this process

   constituted unacceptable and illegal conduct and will not be tolerated." He was to "refrain from

  all such activities." It was the College's position that Thompson subsequently violated these

   directives (Ex 30 p. 62 & TR 335:16-336:19). Such a finding was supported by the record.

          There was no claim of any other written or verbal communication by Thompson

   regarding this notice beyond the email he sent to Derian H. on September 24, 2016 (Ex. 29). It

   was the College's position the purpose of this latter transmittal was to try and threaten or coerce

   Derian H. into dropping her complaint by offering to change her grade. He admitted in his

   deposition the purpose of sending the email was to get her to drop the complaint (Thomson

   Depo. at 88:24-90:11). Even though the evidence was insufficient to prove he had discriminated

   or retaliated against Derian H. in grading, his denial that he was not trying to threaten or coerce

   her when wrote his letter was unpersuasive (Ex 36 p.18).

          As Thompson asserted, Exton's letter did not expressly prohibit him from contacting

   Derian H. If for instance, Thompson had seen Derian H. on campus and just said "hello," there

   would not have been a violation of any directive in the letter. However, when Thompson wrote

   and mentioned such things as his wife was expecting, how the matter would take away from his

   obligation to his students, and cost to the taxpayer if it went on, he was clearly trying to make her

   feel somehow contributory if she did not drop the matter.




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          Thompson was correct in his assertion the letter did not impede the investigation. Derian

   H. did not read it until several months later and after she had already refused to participate in the

   investigation. She testified it had gone to her old college email account and by that time she no

   longer attended the institution. During the hearing Derian H. also made the point she just wanted

   to move one, wish Thompson well, and did want him lose his job (TR 42:6-45:2 and 47:20-

   48.17). The problem with his reliance on such a time line was the fact that to prove this violation,

   there was no prerequisite he actually had to succeed in influencing the process. The notice was

   clear that just an "attempt" was sufficient. Exton rightfully concluded even this type of behavior

   could have interfered with the investigation and pressured Derian H. to change her testimony

   (TR 319:17-320:16). If Derian H. had read the letter sooner, it was reasonable to conclude it

   could have had such an effect. Derian H. testified that when she finally did read the note, it made

   her fell "terrible" (TR 43:14-23).

          Thompson's explanation he was not trying to influence her from continuing with the

   complaint process, but rather address her grade concern had little credibility (Ex D p. 142:7-9).

   During his deposition he made the point "..if she feels it's unfair, let's look at the grade book

   and if it's if it's not marked correctly, I'd be more than happy to change it." He added a grading

   error could have been made if he did not count a homework or some other assignment (Ex. D-

   123:11-22). The fallacy with such an argument, was even if true, there was no real need for such

   a letter once Thompson was notified of her concern. He admitted to already having in his

   possession all of the information necessary to check to see if he had made an input mistake. If

   Thompson's real concern was responding to her grade concern, he could have simply sent a letter

   clarifying his grading methodology and whether his grading record matched hers. Such an

   inquiry would not have been prohibited by the notice.



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           As to the point he did not try "bribe" her in that he also sent copies of the transmittal to

   leaders in the College, there was no indication that was the case beyond his own testimony.

   There was no "bcc" noted in the transmittal and no one, who supposedly received one, testified

   to the same during the hearing. Derian H. was the only addressee on the document (Ex. 29).

      6.   Whether Thompson made a false statement when he told Exton he was unaware of

           the status of Derian H. H.'s complaint.

           The College accused Thompson of making a false statement when he told Exton he was

   "unaware of the status" of the complaint prior to sending his September 24, 2016 email to Derian

   H. With Thompson having denied making such a representation a determination as to the merits

   of this allegation was fairly straight forward and required a simple timeline review. The letter he

   received from Jones prior to his own transmittal clearly put him on notice that with the retention

   of Kristine Exton, an outside investigator, an inquiry was already underway (Ex. 28). Exton

   testified it was possible, but unlikely, Thompson did not know about the investigation given his

   email was sent within 10 days of receiving this letter (TR 329:22 - 330:5). In addition,

   Thompson's letter to Derian H. clearly indicated he knew the investigative process had begun

   when he told her "it was with disappointment that I received a letter from the District about your

   complaint" (Ex. 29).

           Thompson contended when he heard the word "status," he took it to mean Derian H.'s

   sexual preference and not as to whether she had filed a complaint (Ex. 34 p.15 & TR 725:19-

   726:11). Such an excuse was inconsistent with a plain reading of his email where he specifically

   referenced her complaint and that he had been contacted by the College regarding the same.

   Even if there was some indication of misunderstanding on his part, in an administrative or




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   disciplinary forum there was no need for the College to prove this or any of the allegations with

   absolute certainty. In this instance, what was presented was sufficient to sustain the allegation.

      7. Whether Thompson Made a Threat to Hendrick during a Shelly Meeting

          It was the College's assertion Thompson made a physical threat against Hendrick during

   his first Shelly meeting. Hendrick's testified when Thompson said he had "drawn a sword" by

   trying to discharge him, he looked him directly in the eye (TR 227:3-228:23 & 230:3-7). After

   further reflection, Hendrick became so concerned about his safety he reported what had occurred

   to campus security the next day. Hendrick also stated he personally took this comment to be a

   different kind of threat than what Thompson was facing with the loss of his position. Hendrick's

   had come out of retirement and accepted his latest assignment only on a temporary basis (TR

   pages 227:9-18,228:4-12).

          Thompson acknowledged he made the threatening statement, but denied it was meant to

   be taken as a physical one. As his counsel noted during the same meeting, the phrase was simply

   a metaphor. Thompson testified the use of these words was his way of letting Hendrick know

   since the College had "drawn a sword" and threatened his family's financial welfare with a

   discharge, he would fight back by seeking a legal remedy (Ex. 36 p. 5).

          It should be noted this statement was made in the compound. Thompson said it was the

   College which first raised the "sword" against him. Hendrick confirmed this to have been the

   case when he testified "he stated that I had raised my sword against him and the threatening part

   was that he would raise his sword against me" (TR 227:9-11). Clearly, such a physical threat

   then was not meant or possible by either side. There was no indication Thompson ever had any

   such weapon. There was also no contemporaneous movement at that time indicating such a

   possibility. In addition, Hendrick testimony that prior to this meeting they had a good



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   relationship coincided with Thompson's comment during the meeting he had he always liked

   him as well.

           Thompson's statement was more likely than not just an unfortunate use of words which

   were somewhat understandable given the strain and pressure he was under in facing termination.

   Any feeling of apprehension on Hendrick's part most likely could have well been mitigated

   further or negated had Thompson not waited until later to clarify his remark. Still, his

   explanation as to what he wanted to get across that day to the Shelly officer was reasonable and

   was not meant to be a physical threat.

           8. Whether the audio tape of an exchange between Thompson and Krista E. was

   evidence of gender-based bias

           It was the College's position the tape was reflective of Thompson's persistent offensive

   conduct in targeting students based on their protected status (Ex. 12). It was also as an example

   of how he would discourage students from presenting or discussing views different from his

   own. Although the arguments as to whether he exhibited such harassing and/or discriminating

   conduct that particular day with Krista E. were already addressed above, in bringing forth this

   allegation the College attempted to show there were other statements which indicated Thompson

   had a gender-based bias. The evidence was sufficiently supportive in that regard.

           In the recording and confirming transcript, Thompson described women as being

   "jealous" and "already prone to being catty" (Ex. p.12 24 - p. 13-25.3). He also said "there's a

   part of every one of you ladies, that kind of-kind of likes that a little bit, that.. a strong,

   handsome man would ride into the village and pick and take you" (Ex. 12 p. 36:8-22). As to the

   first comment, it was made while the class was discussing what he characterized as the

   "downsides" of polygamous marriage. It was not Thompson, but a student in the class who first



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   used the term while discussing multi-spouse marriage. This student said "they'll (the multiple

   wives) start to get jealous" before adding they would "fight for you (the male)" (Ex. 12 24:13 -

   25). Although Thompson was not the one who first used this phrase, he did go on to agree that in

   such a relationship, jealously could arise.

          In support of using such adjectives to describe women, Thompson argued there existed

   some foundation for this opinion in the research community. As such, his comment remained

   within the bounds of free expression and academic freedom. He noted there were many papers

   on evolutionary psychology which supported the view that a significant proportion of women

   reported having feelings of extreme jealousy in their romantic relationships and that they

   preferred strong and risk-taking men (Ex. 36 p.12 -13).

          The problem for Thompson is that he went too far and with his follow-up comment that

   "women are already prone to being catty, aren't they? Aren't they? No? They are (12-25-1-3).

   His argument that it too was taken out of context was not convincing. There was no apparent

   value, academic debate, or support for making what was clearly a derogatory statement. In light

   of his other comments about working mothers and their place in the home, his prejudices were

   real and quite evident. Such improper characterizations and/or name calling was unacceptable.

          9. Whether Thompson discouraged students from presenting in his class points of

   view that were different from his ideas, views, and convictions.

          There were several students who reported feeling either intimidated or otherwise

   discouraged by Thompson from presenting their different points of view. Several were

   concerned about the power he had as a faculty member and that by raising such viewpoints their

   grade could be negatively affected. Faith N. believed Thompson did not want to hear different

   opinions to such an extent that after a while, "everyone would shut up." It appeared to her as if



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  these other students wanted to say something but did not feel safe in doing so (TR 575:4-

  576:60). Victor S. said Thompson would walk away when he would make a comment as if his

  views were of no value. He did tell investigators Thompson "was amazing in engaging in class

  dialogue," but added some students felt uneasy to even challenge his ideas (TR 603:12-15) &

  613:22-614:18). Charles C. reported being shocked, threatened, and scared in his class. He did

  not believe he could challenge Thompson (TR 414:7-13). Broyles testified about a Danny C., a

  student who was going through gender transition. This student had expressed a frustration with

  Thomson talking about sexual issues and was concerned he was being targeted as a model of

  what one was not supposed to be like. He felt he could handle it, but was worried about others.

          In contrast to the impressions of these students, there was a fair amount of evidence

  which showed Thompson would encourage students to participate in class. Thompson testified

  he would use the "Socratic" method during class time. Steinback agreed such a teaching style,

  which emphasized classroom questions and answers, was appropriate for the classes he offered.

  When one listens to the class tape, this appears to have been the case. Some of those same

  students who raised concerns about Thompson also saw positives in the way he taught.

          Angela J. agreed everyone should be able to have their own ideas and voice, as long as

  they were respectful and did not hurt others. She characterized Thompson's classroom demeanor

  as friendly, concrete, and passionate and that he would call on students and have a lot of

  discussions. She confirmed there was a free flow of ideas, even though some people did not feel

  comfortable about participating and for others it was not their style. Angela J. considered him to

   have been "very positive" although she also thought he should not have pursued his religious

   viewpoints (Ex. 21 3:59-60).




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         Historically, Thompson also received good reviews in this area, several of which were at

  the other evaluative extreme of tolerance for different views and discussion. Student comments

  as to some of Thompson's "Strengths" included that he created an "open environment to discuss

  topics," allowed "class discussions with multiple viewpoints," had "no bias towards material,"

  and "made students want to engage the class" (Ex. C p. 14). Others specifically noted he would

  allow "differing points of view" and was courteous and impartial in his relationship with students

  (Ex. C p. 19). Although there may have indeed been instances, as was the case with Victor S.,

  when Thompson cut him off in class, with such a mix of student reviews the College was unable

  to persuasively show he discouraged class discussions because they differed from his views.

         10. Whether Thompson targeted students in his class based on their protects status,

  including based on gender, gender expression, gender identity, and religions and affected

  students with his bias and discriminatory conduct


         During the hearing, the College made a motion to amend its earlier accusations pursuant

  to Government Code section 11507 including this more general charge. Beyond the specific

  examples noted earlier, it was their position there was additional testimony which showed

  Thompson acted inappropriately as to such protected classes. As an example, Faith N. testified

  Thompson said gay people were deviants and should not raise a family. She also said he made

  statements critical of Catholics and that such comments made it difficult for her to be in his class

  (TR 567:11-14 & 570:14-572:3). Her assertions he was anti-Catholic seemed inconsistent with

  another student's comment during the investigation who had the impression Thompson practiced

  that religion. In addition, Angela J. could not recall him discussing other faiths. Victor S. stated

  he held different views on Christianity and that Thompson would chuckle when he did respond

  in class. He also stated Thompson's statements about how gay people were an abomination and


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  would cause him to walk out (TR 606:21-612:22). Charles C. testified certain comments

   bothered him such that he felt the need to be careful in such manners as dress, believing

  Thompson would treat him differently.

          There was a fair amount of discussion about the various videos shown both in class or for

  extra credit which several individuals considered as biased and/or discriminatory. Thompson did

  not dispute the fact there were a number of faculty members and students who were disturbed by

  them either in class or when posted campus wide on-line. Although Thompson disagreed, during

  his testimony Rhyne cited the CA. Business and Education Code and the American

  Psychological Association's position on conversion therapy as indicative of the generally

  accepted position that such attempts at resolution should be avoided. He believed giving

  individuals such therapy and exposing them to anti-gay behavior could instead be harmful and

  lead to depression, anxiety, and others conditions. He and others discussed their concerns in both

  the Diversity Committee and Student Senate before it was presented to Mayo.

          The concerns about the video were went back several years and were already thoroughly

  investigated. Although Mayo's determination that Thompson's actions represented

  unprofessional conduct, she also wrote they did not violate any of the school's policies and

  procedures. Neither side of the issue appeared satisfied with this outcome. Thompson

  considered the verbal agreement he reached with Mayo as attempt by her to appease those who

  had complained. She apparently was not successful in that regard in that Broyles and others, who

  had taken the matter to her, were disappointed and/or upset with what they considered to have

  been a "low-key" resolution to their concerns. Still as the school's president, there was no

  indication she did not have the discretion and authority to reach her conclusions as outlined in

  the 90-day letter.



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          Steinback acknowledged during her interview she might have sanctioned presenting

   Thompson's video clip had there been a showing of other perspectives (Ex. 22:14:71-74).

   Such appears to have been the case. In addition to Thompson's representation he presented a

  different view in another video, Derian H. testified she watched and wrote papers on both (Ex

   13:10-18). As to the subject itself, after some hesitation Steinback appeared to concede human

  sexuality was a proper topic for even an introductory sociology course (TR 22: p.13:10-18).

          These charges of bias and discrimination were also in conflict with his historical teaching

   record of student and teacher evaluations. Once again, the 90-day letter apparently included the

   2015 evaluation as an attachment, which despite the reported concern of some students and

  faculty members, had no such negative references. Steinback reported she would review them

  and if necessary, put together an action plan. There were no such "need improvement"

   indications on his evaluations (Ex C p. 1). There is little doubt Thompson had strong opinions in

  certain areas, however, with the exception of the clearly inappropriate comments he made about

   women attending college or working, there was insufficient evidence he actually "targeted"

  individuals based on gender, religion, or another protected class.

  The Appropriateness of the Discipline

          In addition to not all of the allegations being sustained, a problem with discharging

   Thompson was that several of the incidents cited by the College occurred prior to the issuance of

   the March 3,2016 Administrative Determination and accompanying 90-day Notice (Ex. 26).

  Those shortcomings and corresponding corrective action were already addressed in that

   transmittal. At that time Mayo reviewed the record and opted not to discharge or assess any other

   disciplinary action and instead effectively issued a 'notice to correct." The same transmittal did

   put Thompson on notice his performance would be monitored and that there could be additional



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   disciplinary action up to termination if he violated such policies again. It was his latter conduct,

   which although still only sustained in part, warranted some type of severe discipline.

           The College argued several of these latter actions constituted immoral conduct. They

   included what it alleged was his continued harassment which impaired the ability of students to

   pursue their educational goals, interference with the investigation, and the threat made to

   Hendrick, all of which it represented harmed the institution. Although not each of them was

   supported by the evidence, the College was correct in arguing Thompson again demonstrated

   lack of fitness, immoral conduct, and a refusal to obey rules when he made the false statement as

   to the status of Derian H.'s claim, attempted to contact her for the purpose of influencing the

   investigation, and when he continued to make comments about female students with children.

          The College pointed to several false statements he made even though they were not

   specifically included the letters of accusation. They included Thompson's denial as to having the

   conversation with Steinback during the party at Mayo's home, telling students in his class not to

   let anyone know about the film, and, as already discussed, when he told Exton he unaware of the

   complaint's status. Thompson did not deny, but said he was unable to recall the first. As to the

   second, there was no dispute the films were shown, but as noted, there was a legitimate question

   as to why such a statement would have been made in such an open forum.

          Each of the Morrison factors applied to some extent in this case and supported

   disciplinary action. They included 1) the likelihood his conduct adversely affected students or

   fellow teachers; 2) the proximity or remoteness in time of the conduct; 3) the type of teaching

   certificate he held; 4) the presence of extenuating or aggravating circumstances; 5) the likelihood

   of reoccurrence of the conduct; 6) and whether there would be a chilling effect on Thompson's

   constitutional rights as a teacher.



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          Thompson's actions negatively affected both students and fellow faculty members in that

   dishonesty can lead to a breakdown in trust. Trustworthy associations are essential in any

   workplace, especially in an academic environment. There were no timeliness concerns in that all

   of the sustained allegations occurred in the last couple of years. Even though he was a tenured

   professor, some type of impressionable discipline was still appropriate for such wrongdoing.

           As to aggravating circumstances, there appeared to be a lack of remorse or acceptance of

   responsibility on Thompson's part. He exhibited a certain amount of arrogance when he told his

   students that tenure gave him the right to do what he wanted. He did not deny making any such

   statement when students asked about whether the College knew about the videos (TR 409:8-

   410:22). Even though the 90-day letter clearly put Thompson on notice certain conduct would

   not be tolerated, he still chose to ignore the directive.

           In mitigation, there were the multiple evaluations from faculty and students, which were

   reviewed by the Administration. They were relatively positive and lacked a notice of any

   concerns raised in the various allegations as recently as the Spring of 2015. As to whether any

   such discipline would have a chilling effect on his constitutional rights as a teacher, to the extent

   there was such a concern, it was addressed as a defense in those allegations where it was

   relevant. His falsification and writing to Derian H. did not involve and such expressions.

           The College's mission in serving the varied interest of a diverse student body is to be

   commended. It should be proud of those individuals who appeared in this matter as to their

   dedication and the sacrifices they have and continue to make in the furtherance of their

   education. The students who testified, appeared to have done so honestly. There was little if any

   doubt what they perceived as to how Thompson taught and/or treated them during their

   respective semesters was real to them. Thompson owes it to his future students to be more



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  credible going forward and to a present a wider and/or more balanced approach in his course

  presentations, educating his students while at the same time allowing them to formulate for their

  own questions and answers as to the various sociological issues of the day.

         If cause is established the arbitrator shall determine whether the decision should be

  imposed immediately or postponed pursuant to Section 87672 (Education Code section

  87675).

         There was sufficient cause for disciplinary action. The suspension should be imposed

  immediately and used as a credit in the determination of back-pay from the effective date of his

  discharge.

                                       FINDINGS OF FACT

     1. Thompson was hired as a professor at Morena Valley City College on August 25,2005.

         He was granted tenure on March 17, 2009.

     2. Thompson was given a 90-Day Notice of Unsatisfactory Performance/Unprofessional

         Conduct for making discriminatory statements on the basis of gender and treating

         students differently based on being gay or associated with the LGBT community.

     3. On March 22, 2017 Thompson was issued a "Notice of Intent to Recommend Dismissal."

         After his first Shelly additional charges were added and a second Shelly was held.

         Thompson had an opportunity to respond to the disciplinary action and did so in writing.

     4. On October 17,2017 and at Dr. Steinback's recommendation, the Board of Trustees of

         the College decided to discharge Thompson. A written notice confirming the same was

         sent to him on October 19,2017.

     5. The District issued an "Accusation" of the charges on January 28,2018 and later

         amended it to add additional allegations.



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     6. The Parties agreed to the Stipulation of Issues, Facts, and Exhibits on May 14, 2018.

     7. Thompson was aware of the College's policies and procedures which prohibited

        harassment and/or discrimination based on one's protected status as defined by State and

        Federal law.

     8. Thompson did not cause Krista E. to be humiliated based on her affiliation with the

        LGBT community and/or her perceived sexual orientation.

     9. Thompson made statements derogatory towards women, including that those with

        children should stay at home and not go to college. He continued to make such statements

        as late as the Spring of 2016.

     10. Thompson failed to adhere to the requirements of his 90-day notice of unprofessional

        conduct when he made discriminatory statements on the basis of gender.

     11. Thompson did not fail to give Derian H. credit for any extra credit assignment. There was

        no discriminatory animus by Thompson on the basis of Derian H.'s sexual orientation

        when he calculated her final grade.

     12. Thompson failed to adhere to the directive in Exton's letter of September 14, 2016 when

        1) he interfered with an investigation by improperly contacting Derian H. in an attempt to

        get her to drop her complaint, and 2) when he made a false statement to Exton regarding

        whether or not he aware of the status of Derian H.'s complaint.

     13. Thompson did not make a physical threat to Dr. Hendrick during a Shelly meeting.

     14. The audio tape of exchange between Thompson and Krista E. was not evidence of

        gender-based bias.

     15. Thompson did not discourage students from presenting in his class points of view that

        were different from his ideas, views, and convictions.



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      16. With the exception of those comments made about women with children attending

          college, Thompson did not target students in his class based on gender, gender

          expression, gender identity, and/or religion.

      17. The District established sufficient cause to suspend Thompson by a preponderance of the

          evidence in that he 1) engaged in immoral conduct under Section 87732 subdivision (a);

          2) was dishonest under Section 87732, subdivision (b); 3) was evidently unfit for service

          under section 87732 subdivision (d); and 4) refused to obey the school laws of the state

          and reasonable regulations prescribed by the government of the community college by

          the governing board of the District.

      18. The application of each of the seven Morrison factors supported Thompson's disciplinary

          action due to his unfitness to teach.

      19. Given not all of the allegations were sustained and because of the presence of mitigating

          circumstances, the discharge was not appropriate.

      20. The record was sufficient to immediately impose a suspension.


                                              AWARD


          1. The allegations are sustained in part and denied in part as explained in Discussion and

              Findings of Fact of this Opinion.


   The discharge is to be converted to a ninety (90) calendar day suspension without pay effective
   from the original termination date.


                                                              S;
                                                               tephei        iefsmith, Arbitrator


   Issued at Ventura County, California on this 26th date of October, 2018



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                          DECLARATION OF SERVICE BY MAIL




           I am employed in the County of Ventura, State of California, I am a citizen of the United
   States, over the age of 18 years and not a party to nor have an interest in the within action. My
   business address is 5462 Rincon Beach Park, Ventura, California 93001.


          On October 26,2018 I served the within document described as:


                   ARBITRATOR OPINION AND AWARD AND OPINION


     X   By placing the true copies in a sealed envelope(s) addressed as follows:


          Mr. Michael J. Peffer, Esq                    Ms. Pilar Morin, Esq.
          Pacific Justice Institute                     Mr. David A. Urban, Esq.
          P.O. Box 11630                                Liebert Cassidy Whitmore
          Santa Ana, CA. 92705                          60033 West Century Blvd. 5th Fir.
                                                        Los Angeles, CA. 90045

     X (BY MAIL) I am readily familiar with the normal business practice of my employer for the
   collection and processing of correspondence and other materials for mailing with the United
   States Postal Service. In the ordinary course of business, any material designated for mailing
   with the United States Postal Service and place by me in a designated "OUT" box in the office of
   my employer is deposited the same day with the United States Postal Service.

           I declare under penalty of perjury under the laws of the State of California that the above
   is true and correct.


          Executed on October 26, 2018 at Ventura, California




                                                                "S^phen MfBiersmith, Esq.




                                           EXHIBIT A-55
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                                  EXHIBIT B
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                                                   MILLER J.
              2021 WL 4810632
          Not Officially Published                  *1 See dissenting and concurring opinion.
         (Cal. Rules of Court, Rules
         8.1105 and 8.1110, 8.1115)                Pacific Justice Institute, Kevin T. Snider and
          Only the Westlaw citation                Michael J. Peffer for Real Party in Interest and
            is currently available.                Respondent.
   California Rules of Court, rule 8.1115,
                                                   Real Party in Interest and respondent Eric
      restricts citation of unpublished
                                                   Thompson was a tenured Sociology professor
        opinions in California courts.
                                                   at Moreno Valley College (College), which
          Court of Appeal, Fourth                  is part of plaintiff and appellant Riverside
       District, Division 2, California.           Community College District (District).
                                                   Students complained to the College that
  RIVERSIDE COMMUNITY COLLEGE                      Thompson made inappropriate comments in
    DISTRICT, Plaintiff and Appellant,             class about women and made those who
                      v.                           identified with the Lesbian, Gay, Bisexual
     Stephen BIERSMITH, Defendant;                 and Transgender (LGBT)1 community feel
        Eric Thompson, Real Party                  uncomfortable. Further, he sent a video
        in Interest and Respondent.                about conversion therapy called Understanding
                                                   Same-Sex Attraction (video) to all staff at the
                   E073818
                                                   College with the subject line “The Research
                       |
                                                   Continues,” and showed it in his classes in the
               Filed 10/15/2021
                                                   Spring 2014 semester.2 In 2015, the District
APPEAL from the Superior Court of Riverside        started an investigation into Thompson, which
County. Chad W. Firetag, Judge. Reversed.          resulted in a 90-day notice of Unprofessional
(Super.Ct.No. RIC1825186)                          Conduct and/or Unsatisfactory Performance
                                                   under Education Code section 87734 (90-Day
Attorneys and Law Firms                            Notice).

Liebert Cassidy Whitmore, Pilar Morin, David       After the 90-Day Notice, students reported
A. Urban and Meredith Karasch for Plaintiff        that Thompson continued to make disparaging
and Appellant.                                     remarks in the classroom regarding women.
                                                   Further, a student complained that her low
No appearance for Defendant.
                                                   grade in Thompson's class was based on
                                                   her sexual orientation. After she made the
                                                   complaint, and an investigation had begun,
OPINION                                            Thompson sent her an email asking her to drop
                                                   her complaint. The District opened another


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investigation, and ultimately, the District
determined in October 2017 to discharge                 A.    FIRST      INVESTIGATIONS         OF
Thompson. Thompson requested arbitration.               THOMPSON                     REGARDING
After a lengthy hearing during which several            STATEMENTS          TO     A    FACULTY
of the College's students testified, and                MEMBER           AND        CONVERSION
Thompson testified, the arbitrator determined           THERAPY VIDEO
that Thompson engaged in immoral conduct,             *2 Thompson was a Sociology professor
was dishonest, was evidently unfit for service       employed by the College, who, by 2014, had
and refused to obey the school laws within           been teaching for over 14 years. He had been
the meaning of Education Code section 87732.         hired by the College in 2005 as a full-time
However, the arbitrator found mitigating             professor and had tenure. Thompson had a
circumstances, and imposed the penalty of            Master's Degree in Sociology. He was married
a 90-day suspension without pay rather than          and had seven children. According to his
terminating Thompson's employment.                   syllabus, which he handed out to students for
                                                     the classes he taught in 2014 and 2015, grades
The District filed a petition for writ of mandate    in his classes were based on exams, written
arguing that since Thompson was found unfit          assignments and participation. The accredited
to teach, he should be dismissed (petition). The     College consisted of over 8,500 students with
trial court denied the petition without issuing      55 percent of the student body being female.
a statement of decision. The District filed this     The College had an ALLY program that
appeal from the denial of the petition.              supported the LGBT community on campus.
                                                     The College had a “Diversity Committee” that
On appeal, the District claims (1) the trial court   was dedicated to fostering an inclusive and
committed reversible error by refusing to issue      accessible student experience.
a statement of decision; (2) the trial court and
arbitrator erred by finding that some of the         In 2014, a male professor filed a formal
charges were not supported by the evidence;          complaint of harassment against Thompson
(3) the trial court and arbitrator abused their      with the College administration. The male
discretion by finding that Thompson should           professor, who was homosexual, was told by
only be suspended for 90 days when he should         Thompson that the only way he would find true
have been dismissed; and (4) the court and the       happiness would be to divorce his husband and
arbitrator erred by finding that allegations prior   beg the Lord for forgiveness. Thompson also
to the issuance of the 90-Day Notice could not       told the male professor he taught his students
form the basis of the discipline. We reverse.        about conversion therapy. Thompson sent out a
                                                     link to the video on an all-faculty email service.

                                                     In 2015, an attorney, Sandra Lindoerfer, was
FACTUAL            AND         PROCEDURAL            hired to investigate the complaint. Thompson
HISTORY3                                             was interviewed on March 10, 2015. He was
                                                     teaching three in-person classes, and other
                                                     online classes. Thompson was asked about a

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complaint that had been made about him and          One of Thompson's students, Krista E., who
was asked what he believed the complaint            was in Thompson's class in Spring 2015, made
to be about. Thompson replied that he had           a complaint against Thompson. In June 2015,
emailed the video around September 2014.4           Krista was interviewed by Lindoerfer. Krista
He explained that the video “in a rather            was the treasurer of the LGBT Straight Alliance
neutral way” showed the “other side” of the         (LGBTSA) Club on campus. Her daughter,
debate considering a person's sexual identity.      who was gay, also attended the College. Krista
He wanted to present the opposing view. He          had been told of some “issues” that Thompson
sent the link to the video in an email to the       may have with the gay community prior to her
entire College staff and employees; it did not      taking his class.
go to students. He felt that conversion therapy
had been “demonized” by the American                Thompson showed a video to the class about a
Psychological Association and the American          Mormon man who was gay but married. After
Sociological Association because it did not         it was over, he told the class that he showed it
fit their “political interests.” He wanted to       to the class to show that it was possible to have
get the information out. He did not want to         these types of feelings but overcome them and
hurt feelings. Thompson believed that a person      have a straight, “normal lifestyle.” Thompson
who was homosexual could, according to the          also mentioned in class that his wife was not
research, change. Thompson also showed the          educated and he liked it like that so she would
video in class.                                     not go anywhere. Krista insisted that someone
                                                    used the word “dyke” in the classroom and that
Thompson felt pressure from the president           Thompson repeated the word.
of the College to stop showing the video.
Thompson thought it was appropriate to show          *3 Krista told Lindoerfer that there was a
the video in class as it was an appropriate         time in class when he called on her when
subject to discuss in a college class. Thompson     they were talking about same-sex marriage. She
felt he was persecuted by “radicals” on campus.     insisted he did not normally call on people in
Thompson agreed with the president of the           class. During the discussion, Thompson talked
College to not show the video in class just that    about a biological father marrying his daughter
semester.                                           after years apart. Krista was offended that he
                                                    compared homosexual relations with a case
As a result of the complaints, Lindoerfer           involving a biological father and daughter.
submitted a report; the report is not part of the   When students in the class started talking
record. Based on the report submitted on April      about lesbian women dressing like men, she
1, 2015, Thompson was required to complete          left the classroom. She felt Thompson was
sensitivity training, which he completed.           encouraging the stereotype. She was upset that
                                                    Thompson continued to question her about
                                                    same-sex marriage and no one else. In July
  B. SECOND INVESTIGATION AND 90-                   2015, Lindoerfer interviewed several other
  DAY NOTICE                                        students and faculty members.


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                                                    over the video shown by Thompson in Fall
Several students confirmed Krista left              2014. Erick had confided in Thompson and felt
Thompson's class the day same-sex marriage          that Thompson had betrayed him. Thompson
was discussed. Some students did not think that     used the terms “symptoms” of homosexuality.
Thompson was singling out Krista. Greg A.           Pfeifle recommended Erick talk to Thompson.
reported that someone in the classroom used         Erick spoke with Thompson about students
the work “dyke” but Thompson never used the         leaving the classroom during the video.
word; one student stated Thompson said not to       Thompson responded that they should have
use that word.                                      stayed to discuss it and they were cowards.

Sergio M. was interviewed on June 8, 2015. He       Victor S. was interviewed on July 28, 2015. He
had been a student at the College. He took two      had been at the College since 2012. He served
Sociology courses with Thompson. Thompson           on the Diversity Committee. Victor thought that
always started his classes discussing that he       Thompson was great in encouraging students
was the breadwinner and that his wife stayed        to participate in class but needed to keep his
at home, homeschooling his children. Sergio         personal views out of class. Thompson said in
interpreted his statement to mean he thought        class that the man came before women in all
that is how a family should be. Sergio felt that    respects. Thompson oftentimes compared gay
Thompson did not allow students to express          marriage to pedophiles and polygamists.
their opposing views. Sergio provided that
Thompson had made a diagram of the family           Angela J. was interviewed on July 28, 2015.
in class which was god, man and then woman.         Angela had been at the College for two years
Sergio really liked Thompson and thought that       and was part of the Diversity Committee. She
no one complained about him because he had a        had taken two classes with Thompson. She
charming personality and his classes were easy.     felt he pushed his fundamentalist Christian
                                                    ideals on the class. He quoted Bible scripture
Ann Pfeifle was interviewed on June 23, 2015.       in class. Angela believed that when students
She was a history professor at the College. She     wrote papers, he would give lower grades to the
was the advisor for the LGBTSA on campus.           students who expressed viewpoints different
She had served on the “Diversity Committee”         than his. Thompson made it clear one day in
at the College. Pfeifle had complained to           class that women who have children should not
the Diversity Committee about Thompson.             be out of the home. Angela watched the video
She confirmed that Krista told her Thompson         and it was very upsetting to her. One student,
discussed liking his wife to be uneducated          Charles, who was in class with Angela, was
so she would not leave him. Pfeifle had             crying after the video and asked if something
viewed the video and could not watch all            was wrong with him.
of it because it was very upsetting. She
considered it anti-gay propaganda. It was not        *4 Dr. Robin Steinbeck was interviewed
a neutral presentation of the issue. Another        on July 21, 2015. She was an administrator
student named Erick had come to her crying          at the College. One time Thompson had


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called her a feminist because she worked             structure was the female staying at home and
and had children at home. He told her it             the male being the bread winner. He may
made her a bad mother. Dr. Steinbeck was             have discussed this family structure but only in
told by other faculty they were offended             discussing cultural ideas.
by the video. On July 8, 2015, Dr. Larisa
Broyles was interviewed. She was teacher at          Thompson gave Krista an “A” in his class. He
the College. She was actively involved in the        knew she had children and a husband. He had
Diversity Committee. She got the video from          noticed that she wore a T-shirt with LGBT on it
a school-wide email sent by Thompson. In             to class. He assumed that she was sympathetic
the email, Thompson stated that conversion           towards that “cause” or may be homosexual.
therapy was scientifically valid. After that, at a   He recalled she had left class abruptly during a
Diversity Committee meeting, several students,       discussion of families and same-sex marriage.
including Victor and Angela, complained about        He insisted he started calling on students by
Thompson. Dr. Steinbeck confirmed a student          name in class to encourage more participation.
named Charles had expressed that Thompson            He thought it was “immature” of her to leave
asked the class if anyone had the symptoms in        class when they discussed stereotypes about
the video. Charles felt forced to answer. Charles    lesbians including why some lesbians dress like
had “ambiguous” sexuality. Students stayed in        men. Thompson thought that college students
Thompson's class because they felt they had to       believed they had a right not to be offended.
get the credit to graduate.
                                                     On May 11, 2015, Thompson emailed the
Thompson was interviewed again by                    president of the College detailing what had
Lindoerfer on September 3, 2015. Thompson            occurred in the classroom when Krista walked
acknowledged he showed a video in his classes        out. Thompson referenced that the LGBT
about a Mormon man who had homosexual                community on campus was targeting him.
attractions but was married. Thompson showed         He ended the email by stating, “At the very
the video in one of his classes, and Charles         least, the LGBT community needs to STOP
mentioned that he had all of the “symptoms”          WHINING, to GROW UP, and to realize that
in the video. Thompson denied that he used the       this is COLLEGE.”
word symptoms. Thompson described Charles
as being older and wearing colorful clothes.         Thompson denied ever using the work “dyke”
Thompson stopped showing the video after the         in class as it was offensive. He did not recall
Fall 2014 semester because he felt pressured to      anyone else using the term in class.
stop. He did not want to make the commitment
to stop showing it indefinitely.                     Lindoerfer filed a report on November 9, 2015.
                                                     The report addressed the impact of the video on
Thompson denied he ever told a female student        faculty and students; how the email sending the
that if she had children she should not be           video impacted faculty and students; whether
going to college. He also denied ever telling        Thompson made a comment in class that the
his students that he thought the ideal family        ideal family structure was the husband as


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a bread winner and the wife staying home;           including that women who have children
whether he told a student who had children she      should stay at home.
should stay home rather than go to college; and
the impact on Krista as to comments made in         As for the complaints by Krista, Lindoerfer
class.                                              found that Thompson did direct questions
                                                    regarding same-sex marriage to her. The
As for the video's impact on students,              evidence showed that Thompson attacked
Lindoerfer was advised by students that             Krista, who was a visible LGBT supporter,
Thompson had told his students prior to             by continuing to ask questions about same-sex
showing the video to watch for the symptoms in      marriage. He was unable to argue both sides of
the video, and if they had them, they probably      an issue.
had a disorder. After the video, he asked
the class if anyone had symptoms. Thompson          The District sent Thompson notice of the
denied this statement. Another student stated       administration determination and a summary
that Thompson only asked generally how the          of Lindoerfer's investigative report. It stated,
students felt about the video. Lindoerfer was       “Based on the foregoing as summarized ... it
unable to interview Charles. Lindoerfer found       is the District's conclusion that no violation
that there was not sufficient evidence of the       of District Policy or Administrative Procedure
statement by Thompson.                              occurred. However, it is imperative that you
                                                    understand the fact pattern of the investigation
 *5 Lindoerfer concluded that showing the           showed that your conduct was unprofessional.
video caused several students in his classes and    Therefore, the matter has been referred to ...
faculty members to be emotionally upset. It had     Human Resources and Employee Relations
such a significant impact as it was discussed       for consideration of an appropriate course of
by several student organizations. Thompson          action.”
showed the video based on his own religious
beliefs. Further, based on Thompson sending         On March 3, 2016, Thompson was sent
the video to the homosexual male professor,         the 90-Day Notice. It listed the facts that
and other interactions, the professor was caused    supported the notice and what areas Thompson
anxiety and started having panic attacks. He        was to correct. Thompson was advised he
had to take medication.                             was not to single out students or treat
                                                    them differently because of their sexual
As for statements made by Thompson                  orientation. Further, Thompson was advised
regarding a man being the breadwinner and           not to make discriminatory statements on the
women staying home, students stated that            basis of gender. Such statements degraded
Thompson had expressed that he followed this        the educational experience of the females in
patriarchal model in his own home. Lindoerfer       his class and may deter them from pursuing
relied on the reports from Krista, Victor,          education. Thompson was directed to correct
and Angela to conclude that Thompson had            the deficiencies immediately. He was not
made comments derogatory toward women,              to engage in conduct that violated laws


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prohibiting discrimination based on protected        complaint against him. He was unaware of
status, including gender and sexual orientation.     her sexual orientation until he received the
His performance would be monitored and the           complaint. He wrote, “So I'm asking you to
administration at the College would help him.        kindly reconsider going forward with this. It
It he continued to demonstrate these types of        is a hassle for me and takes away from my
behavior, he would be subject to disciplinary        obligations to my current students and family
action, including dismissal.                         (my wife is due any day now).” He further
                                                     stated it would cost the taxpayers money. He
                                                     then stated she had every right to proceed with
   C. COMPLAINTS ABOUT THOMPSON                      the complaint. He said that he cared for all of
   AFTER THE 90-DAY NOTICE                           his students and he cared for her.
In June 2016, a complaint was made by Derian
H. to the dean of instruction at the College         Exton interviewed Thompson on November
that Thompson had them complete extra credit         15, 2016. Thompson had tried to exercise
assignments in his Sociology course about            his academic freedom but a minority of
“fixing being gay.” She was concerned because        the students complained about his exploring
she had written in her extra credit paper about      alternative ideas of sexual identity. He felt
the video that she was gay. After Thompson           bullied and harassed by members of the LGBT
received the paper, Derian clamed he did not         community and some of the administration.
make eye contact with her and he had not given
her a grade on the written assignment. She was       He acknowledged that he was using the video
worried about her grade.                             as extra credit in 2016. He did so because he did
                                                     not want to give up his academic freedom. He
In September 2016, Thompson was notified             insisted it was necessary for the class to show
about the complaint from Derian. He was              social constructionist perspective on sexuality.
advised that an investigator, Kristine J. Exton,     He insisted he provided another video for
had been hired to investigate. In the letter,        extra credit that showed biological reasons for
Thompson was advised: “You are advised               homosexuality. Extra credit assignments were
that any attempt to take reprisals against,          turned in but only given credit if the student was
to intimidate, coerce or otherwise threaten          close to a higher grade. He sometimes handed
any participant of this process constitutes          them back but not usually.
unacceptable and illegal conduct and will not
be tolerated. As such, you are directed to refrain   He recalled Derian was an average student. She
from all such activities.”                           emailed him about her grade and he responded
                                                     with her scores on everything. She had a 63
 *6 After receiving notice of the complaint,         percent in the class so she did not receive the
Thompson sent an email to Derian. He stated          points for extra credit. His email to her about
that his email was not an attempt to coerce          the complaint was to show he cared about her
or intimidate her in any way, mirroring the          and her grade was not based on her sexual
language of the letter. He expressed that he         orientation. He mentioned input errors in the
was disappointed that she had made a formal

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grade book so that she could tell him if she        class that “whiny feminists” were ruining the
made any mistakes in entering her grades. He        world. She did not file a complaint because
never read her extra credit assignment where        she was worried he would find out. David
she stated she was gay. He did not treat her        W., Vanessa S., and Michelle M. watched the
differently after it was turned in.                 video, which was extra credit, and did not
                                                    know Thompson's views on homosexuality.
Exton filed her report detailing her                Thompson encouraged discussions in class
investigation into Derian's complaint on            and listened to other viewpoints. Jessica F.
February 4, 2017. The question for the              stated Thompson would oftentimes connect his
investigation was whether Thompson awarded          lecture to the Bible but it did not bother her. She
Derian's grade in Sociology based on her sexual     knew nothing about the video. Iris I. reported
orientation. Derian refused to be interviewed.      that no one in Thompson's class was offended
Exton reported that Derian had performed            by anything he said or did. He did not talk about
poorly on some of the examinations in the class.    his personal views of homosexuality.
Any extra credit would not have improved
her grade. Thompson insisted he did not              *7 Exton stated that Thompson told her he
read Derian's extra credit assignment and was       talked about his family in class to personalize
unaware she was gay until he was advised            himself. He discussed his personal religious
of her complaint. Exton concluded, “The             views as a way to discuss different ideologies.
preponderance of the evidence shows that it         He believed homosexuality was caused by
is UNFOUNDED there was discriminatory               environmental factors and not biological but
animus on the basis of sexual orientation by        never told his students what he believed. He
Professor Thompson in assigning” Derian's           never said homosexuality was deviant. He
grade. As for whether he changed his attitude       admitted showing the video in his classes.
toward her in class, several students stated that   Thompson felt harassed by the administration
they did not observe any change and Thompson        and students for trying to exercise his academic
stated he was unaware that Derian was gay until     freedom. Thompson believed the video was
the complaint. The allegation was unfounded.        important to his curriculum. He claimed that
                                                    Dr. Steinbeck told him that it was okay to show
Exton addressed comments made by                    the video as extra credit. He also added another
Thompson in class regarding his family and          video regarding the biological explanation
religion. Faith N. was interviewed and recalled     of homosexuality. Thompson denied calling
Thompson discussing that men were superior          someone “whiny feminists” but did mention the
to women, and a man should be the head of           term in class for discussion. He only emailed
the household. She recalled the video was an        Derian to let her know he cared about her. Exton
extra credit assignment. Thompson encouraged        had reviewed the proceedings leading up to the
the class to view the video because it contained    90-Day Notice.
the truth. He said homosexuality was deviant.
His classes were filled with his philosophies       Exton found that Derian's complaint that
and not book material. Thompson said in             Thompson spoke in class about his religious


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beliefs and family was true. Exton also found      argument about what if four people wanted to
that the email sent to Derian inferred that he     get married. One of the students brought up a
would change her grade if she dropped the          situation in another country where three men
complaint.                                         had gotten married. Thompson stated, “Wow.
                                                   Other thoughts? Raymond? Martin? Krista,
                                                   what do you think? Does Alito have a point here
   D.      DISTRICT      DECISION        TO        or is he all washed up.”
   TERMINATE THOMPSON
On March 22, 2017, the District sent a             Krista responded that she thought marriage
letter to Thompson informing him that it was       was by definition only between two people.
recommending to the Board of Trustees that         Thompson brought up a situation in which a
he be terminated. A predisciplinary Skelly5        woman had never met her biological father. She
review process would occur prior to the            searched him out when she was older, they liked
recommendation of termination.                     each other and got married. Thompson stated,
                                                   “Now, these are consenting adults. They're also
The District's recommendation for dismissal        —they also meet the people's requirement of,
was based on the following violations of           oh, it should just be two people. What do you
Education Code section 87732: (a) Immoral          think about that, Krista? You have—by your
or Unprofessional Conduct; (b) Dishonesty;         definition, it should be just two people, you
(d) Evident Unfitness for Service; and (f)         said.” Krista responded that it was morally
Persistent violation of or refusal to obey the     wrong. Thompson asked, “Are you judging,
school laws of the state or the reasonable         Krista?” She responded, “[A]bsolutely.”
regulations prescribed for the government
of the community colleges. Attached was a          Krista then discussed that a person who was not
Statement of Charges, which discussed the          married to their significant other would have no
investigations involving Krista, the 90-Day        rights if that person was sick. A female student
Notice and the investigation involving Derian.6    asked, “Well, it's not—okay. I'll—lesbians—
The District noted that Thompson had been          well, girls, lesbians like a girl right, so she
advised of its policy regarding discrimination     decides ‘I don't want a guy because I like a girl.’
and retaliation. Thompson filed an objection       ” Thompson responded, “Okay.” The female
and intent to be present at the Skelly hearing.    student continued, “Okay. If she likes a girl,
                                                   why does—have you noticed every time there's
At the Skelly hearing, Thompson presented an       a lesbian couple, two girls, why does one dress
audiotape of the class session where Krista        like a guy if she likes—and she likes girls, why
left during a discussion of the United States      doesn't she dress—” Krista interrupted, “That is
Supreme Court's hearing a same-sex marriage        so—I'm gonna—I'm sorry.” The female student
case. In the audiotape, Thompson discussed the     finished, “Why doesn't she dress like a girl?
fact that the United States Supreme Court was      Why does she dress like a [boy].” Thompson
discussing same-sex marriage and that Justice      then stated, “Maybe Krista will stay, because—
Alito had brought up a question during oral        ” and Krista responded, “No, I'm not staying.”


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Thompson then stated, “I'm going to say that         After the Skelly hearing, an amended statement
that doesn't always happen, but you bring            of charges was filed in June 2017. It alleged
up a good point and it's worth considering.”         the same four Education Code section 87732
Krista stated that it was completely false and a     violations. The amended statement of charges
generalization. Thompson stated, “My thing is        were as follows:
I don't know why,” and “Does anyone have a
guess? I don't know.”                                1. In May 2015, Thompson singled out
                                                     Krista in class causing her to be humiliated.
*8 Other students discussed the possible             This was during the discussion of same-sex
reasons.7 Thompson suggested that the students       marriage. Krista was a visible supporter of the
ask their lesbian friends. Thompson then             LGBT community. Thompson admitted to an
discussed polygamy. He stated, “But my point         investigator he believed Krista was gay. She
is, if I had another wife, however, I could take     was treated differently in class.
one out on a date and the one would be home
with the kids.” A student brought up that the        2. Thompson repeatedly stated in class that
two wives would become jealous. Thompson             women who have children should not be out of
agreed. He stated, “They get jealous. To such        the home despite having mothers in his class,
a degree that the whole atmosphere at times in       including Angela.
the house might be characterized by this cloud
—thick cloud of resentment between the two           3. As a result of the above conduct, Thompson
because one woman thinks that the husband            was given a 90-Day Notice. Thompson was on
loves her—the other woman more and the—              notice that such behavior was unprofessional.
women are already prone to being catty, aren't       He was given directives to correct his conduct.
they? Aren't they? No? They are. Okay. Corrina
agrees. She's smiling.”                              4. Derian made a verbal complaint in June
                                                     2016 stating that the grade she received in
Thompson discussed the differences between           Thompson's Sociology course was based on
marrying someone in your same culture or             her sexual orientation. Derian also alleged
race and going outside such culture to marry         that once Thompson became aware of her
someone. He told the class about a man who           sexual orientation, he treated her differently. An
rode into a village and just grabbed the girl        investigation ensued.
he wanted. Thompson asked, “Now, you got
to admit, ladies, there's a part of every one of     5. Thompson had been advised of the
you, ladies, that kind of—kind of likes that         investigation. He was to refrain from discussing
a little bit, that a strong man would ride a—        the matter with other students, faculty and
a strong, handsome man would ride into the           members of the community. He was not to
village and pick you and take you. ‘I want you       make any attempts at reprisals, to intimidate,
for my (Inaudible).’ That doesn't ring as kind of    coerce or threaten any participant in the
interesting at all?”                                 complaint process. Thompson sent the email
                                                     to Derian discussing the complaint and asking


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her to consider withdrawing it. After the email,     of students he and the District serve.” The
Derian would not return Exton's calls.               District sought Thompson's dismissal.

6. In an interview with Exton, Thompson said         Thompson responded to the amended statement
when he sent the email to Derian he was              of charges again claiming academic freedom
“unaware of the status” of Derian's complaint        and the free exchange of ideas in the classroom.
but it was clear he had received the letter about    Further, Thompson's mention of drawing his
the pending investigation.                           sword was a metaphor for the fact he was going
                                                     to seek a legal remedy if the claims against him
7. On April 19, 2017, Thompson appeared              were continued. It was not a threat. Further,
at the Skelly hearing. During the hearing,           the audiotape provided showed that he had not
Thompson stated the District threatened the          discriminated against Krista. He justified his
security of his family. He also stated to Interim    statement that women are catty and that they
President of the College, Dr. Irving Hendrick,       wanted a strong man to pick them, by citing
that the District had “drawn a sword” and that       other research papers calling women catty.
he would also “draw a sword.” Dr. Hendrick
felt threatened by the statement. Dr. Hendrick       Another Skelly hearing occurred on September
reported the threat to authorities.                  8, 2017. The District, after considering the
                                                     two Skelly hearings, decided to recommend
8. Thompson and his counsel produced at the          to the Board of Trustees that Thompson be
Skelly hearing an audiotape of the lecture,          terminated. The hearing would be conducted on
which included the exchange between Krista           October 17, 2017. The Board of Trustees voted
and Thompson. In the audio, Thompson made            to terminate Thompson on October 17, 2017.
a statement about polygamous marriage that           A statement of decision was filed. Thompson
women were prone to be “catty” and be jealous.       objected to the decision. The matter was sent to
Further, that every woman wanted a strong            arbitration.
handsome man to ride into her village and pick
her up. This audiotape showed Thompson's
offensive conduct on the basis of gender/sexual         E. ARBITRATION HEARING
identity in the classroom.                           The District filed an accusation against
                                                     Thompson. It again stated the four sections
 *9 The District noted that a minimum                under Evidence Code section 87732 for which
qualification of faculty members at the College      they sought Thompson's dismissal: immoral
included sensitivity to and understanding of the     conduct, dishonesty, evident unfitness for
diverse academic, socioeconomic and ethnic           service, and persistent refusal to obey school
backgrounds of community college students.           laws. The District also cited the statement of
The District alleged, “Thompson has not shown        charges as stated in the amended statement
any regret, understanding or appreciation of the     of charges filed with the Board of Trustees.
harm his conduct has on the diverse community        The District alleged that Thompson's conduct
                                                     had compromised his students' rights to learn.
                                                     The College and District were committed

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to diversity and his actions did not support         He did admit he may have shared the pros and
diversity. Thompson had not shown any regret         cons of a women working outside the home.
or understanding of the harm of his conduct.         He became aware of Derian's complaint when
Thompson filed a response.                           he got a letter from the College. He sent the
                                                     email to Derian to show he cared and that he
The parties stipulated that the arbitrator was to    did not base her grade on her sexual orientation.
determine whether (1) the District established       Thompson reached out to Derian because he
cause for dismissal pursuant to Evidence Code        did not want “another fake investigation carried
section 87732, subdivisions (a), (b), (d) or (f);    out” like the one Lindoerfer did.
and (2) if the District established cause, the
arbitrator shall determine the proper penalty.       Thompson denied he threatened Hendrick at
Further, the evidence was restricted to anything     the Skelly hearing. Thompson acknowledged
occurring after March 2013.                          that in the audiotape, while discussing
                                                     polygamy, he agreed a woman may get jealous
                                                     in this type of marriage. He said that one student
                                                     smiled when he called women catty, and did not
1. DISTRICT EVIDENCE
                                                     remember any other reactions. He said some of
At the hearing, which commenced on May               his statements were a “gimmick” to make the
1, 2018, the District introduced excerpts of         concept stick. His claims were supported by the
Thompson's deposition taken on April 12,             research.
2018. Thompson acknowledged that same-
sex marriage was not specifically part of the        He admitted he received the 90-Day Notice.
curriculum for Sociology in May 2015, but he         When asked if he changed his conduct, he said,
felt it was important to discuss because of the      “There was nothing to change, so no.”
United States Supreme Court considering the
issue. He insisted he was unsure of Krista's         Derian testified at the arbitration hearing. She
sexual orientation. He was aware that Krista         transferred out of the College after Spring
was upset when she left his classroom during         2016 to another college to have a different
the discussion of same-sex marriage. He felt the     experience. It was not because of Thompson.
audio supported his position in that he followed     She confirmed that she made a complaint
the academic freedom policy, which allows for        about Thompson. Thompson told her if she did
asking questions that may cause discomfort.          the extra credit and got a certain test score,
He insisted his “tone of voice” in questioning       he would pass her. She described the extra
Krista showed he did not intend to be hostile        credit as watching a film about “fixing being
                                                     gay.” She had newly been out as gay and
toward her.8 Krista left the class before he
                                                     it affected her emotionally. She disclosed in
had time to discuss the statement made by the
                                                     the writing she did for the assignment that
student about lesbians dressing like men.
                                                     she was gay. Thompson did provide another
                                                     video about being born gay. She felt Thompson
 *10 Thompson could not recall stating in class
                                                     stopped making eye contact with her after the
that women with children should stay at home.


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assignment. She never got a grade on the extra       Daniel Casella was a marriage and family
credit nor did she get the papers back.              therapist employed by the District to provide
                                                     crisis therapy to students at the College. He had
Derian felt “terrible” after she got Thompson's      not treated any of the students involved in the
letter although she did not read it until several    case. He was designated an expert in mental
months after he sent it. After the investigator      health. In his experience, a student subjected
called her, she no longer wanted to pursue the       to derogatory or degrading comments based
complaint. She knew Thompson was having              on their gender could cause the individual
another baby and she felt terrible.                  to experience anxiety, depression, difficulty
                                                     concentrating and poor self-esteem. Even
Dr. Steinbeck testified she had been appointed       a student who was not targeted with the
the president of the College on July 1, 2017.        comments would be concerned he or she would
She indicated the College was committed to           become a target. If the person making the
diversity and inclusion in a safe learning           comments was a faculty member, the student
environment. She served as the presiding             may be concerned about his or her grade. He
officer at the second Skelly hearing involving       stated that subjecting a minor to conversion
Thompson. Steinbeck had reviewed both                therapy in California was illegal. The American
Skelly hearings, the Lindoerfer investigation,       Psychological Association had a policy that a
the audiotape from class, and the Exton              psychotherapist was not to attempt to coerce a
investigation. She determined after the second       person to change their gender identity.
Skelly hearing that Thompson should be
discharged. Dr. Steinbeck concluded that              *11 Angela also testified at the hearing.
Thompson had “mocked” Krista in class based          She was currently attending Loma Linda
on the tone of his voice and the transcript. This    University. While Angela attended the College,
was not appropriate teaching. Dr. Steinbeck          she had children at home. She took two of
did not think it was appropriate to teach that       Thompson's classes. She was concerned in his
women should stay home with their children. It       classes that he would grade her differently
was a sexist comment. Further, calling women         if she expressed viewpoints different than
“catty” and jealous, and trying to get students      those held by him. She confirmed he told
to agree with him, was not appropriate in a          the class that women should be at home
Sociology class. His statement about women           with their children. She was offended by
wanting to be kidnapped by a strong man was          the comment. She felt guilty and degraded.
also sexist. These comments could alienate           Thompson expressed his views in a persuasive
students and went against the policy of the          manner. Angela was aware that Victor had
College to be inclusive. Students had expressed      submitted a paper to Thompson that opposed
that they were not participating in Thompson's       Thompson's view and he got a lower grade
class if they had a different view. She found        than she had in agreeing with Thompson.
the email to Derian to be egregious because it       Thompson stated that a patriarchal family was
interfered with the complaint process.               better than a single mother family. Angela and
                                                     others discussed the video during a Diversity


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Committee meeting. She observed students             discussion of the California Supreme Court
visibly upset after viewing the video.               case, he never discussed the pro same-sex
                                                     arguments. She absolutely felt he targeted her
Hendrick was the interim President of the            during the discussion. She walked out because
College between 2016 and 2017. Hendrick              she was disgusted by Thompson's statements
was the presiding officer for Thompson's first       comparing same-sex marriage to an incestuous
Skelly hearing. Thompson threatened Hendrick         relationship. She cried for over 30 minutes after
by looking directly in his eyes and telling him      she left class.
that he had raised his sword against him and
that if he and his family were harmed, he would      Thompson made derogatory comments about
raise his sword against Hendrick. Even if it         women at least once each week. In all of her
was a metaphor, it was a threat of violence          other college classes she had taken, she never
in Hendrick's opinion. Hendrick reported the         had a professor make derogatory comments
exchange to the on-campus police who assured         about women. She did not drop the course
him that Thompson could not come on campus.          because she needed the grade in the class.
Hendrick believed that Thompson should be            Krista was upset that Thompson never reached
discharged based on the charges. Hendrick did        out to her after she walked out of his class.
not see the statement by Thompson as a threat
of legal action.                                     Exton also testified. She tried to meet with
                                                     Derian but Derian initially did not respond to
Krista was also called as a witness. She             her. When she finally spoke with Derian, which
graduated from the College with an associate's       was prior to the email being sent by Thompson,
degree. She confirmed that she received an A in      she told Exton she had moved on and did not
Thompson's class. Thompson said in class that        want to talk about the complaint. After the
his wife was not educated and stayed at home         email, she tried to contact Derian again but
and he liked it that way. He also stated that if     received no response. Exton thought the email
he only had two children, a boy and a girl, he       to Derian was particularly egregious because it
would send the boy to college because it was         was a professor to a student. Exton felt the letter
more “normal” for the girl to stay home and          to Derian was clearly an attempt to influence
take care of the children. She heard him call        and coerce Derian into dropping her complaint.
women “catty” and gold-diggers.
                                                     Larisa Broyles was a professor at the College.
She was present in class when someone asked          She explained that MV-ALL LISTSERV was
why “dykes” are so ugly and he pondered the          an email system that sent messages to the
question, and repeated it. She found it offensive    entire faculty at the College. It was mainly
that he used the word. She oftentimes wanted to      for announcements of upcoming events and
leave class because of Thompson's statements.        not a discussion section. The video sent by
Thompson never showed gay families in a              Thompson in 2014 stated in the subject line
positive light. Thompson was not sensitive           “The Research Continues.” There was a heated
to the diversity in the classroom. During the        debate on the email. Thompson defended


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himself stating that he had a right to send it out   After the video, a student asked Thompson if
and that people should look at it.                   the College was aware he was showing the
                                                     video. Thompson responded that he had tenure
 *12 In 2015, Broyles encountered Charles on         and could do whatever he felt like in class. This
campus. He was sitting outside with his head         scared Charles because he wore earrings and
down and seemed upset. He explained that             scarfs to class. Thompson stated to the class if
Thompson had been discussing homosexuality           a person felt like they had these “symptoms”
in class and he asked any of them if they felt bad   of homosexuality that it was an option to cure
about themselves or feeling deviant. Charles         the “illness.” Charles did not speak up in class
felt forced to raise his hand. Charles felt like     after that day because he was afraid Thompson
a deviant after the discussion. Charles asked        would fail him. He received a C in Thompson's
Broyles if there was something wrong with            class. He was surprised because he got As
him. Charles wanted to drop the class but felt       and Bs in most of his classes. He also had
he had to finish.                                    received As and Bs on all his papers he turned
                                                     in to Thompson. He did not speak with an
Broyles also spoke with Angela during a              investigator in 2015 because he wanted to just
Diversity Committee meeting. Angela told her         move on and forget about it.
she had gone to Thompson and said she
had to be absent because of a family matter.         Lorraine Jones was the compliance officer
Thompson responded that “ ‘This is why               for the District. She was responsible for
women shouldn't be in the classroom’ ” and “         managing the District's responses to unlawful
‘should be at home taking care of their family.’     discrimination or harassment claims. Jones
”                                                    explained that the District would be subjected
                                                     to penalties if it did not comply with Title IX,
Charles appeared at the arbitration hearing.         which is a federal law that no person on the
He had graduated high school in 1972 and             basis of their sex can be denied admission or
came back to the College in 2011. He took            benefit in any program that receives federal
Thompson's Sociology class in 2014. He was           assistance. The District could be sued for
part of the LGBT community. He heard                 violating Title IX. The District also each
Thompson make derogatory comments toward             year advised faculty of their nondiscrimination
women in class at least once each week,              policy. All gender discrimination complaints
stating that a woman's place was in the home         were taken seriously.
doing domestic chores. He was in class when
Thompson showed the video. Several students          Jones received notice of a complaint against
left the class. Charles was very offended by         Thompson by Derian; Thompson was sent a
the movie and felt it changed his relationship       letter advising him that the complaint was being
with Thompson. The movie described being             investigated. Jones tried contacting Derian on
homosexual as an illness that could be cured.        two occasions but she was unable to talk to her.
                                                     Jones reviewed the email sent by Thompson to




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Derian. She interpreted the email to be a request    feminists in a derogatory manner. He said
for Derian to withdraw her complaint.                the world starting falling apart when women
                                                     got birth control. It destroyed morality. Even
Jeff Rhyne was a professor who taught English        though Thompson claimed his statements were
at the College. He watched the video. He sent        based on studies, she tried to look up the studies
a message to all faculty that he disapproved         and could not find support for his statements.
of the video. He thought the video was               He also said that “the gays” were ruining the
dangerous because it made homosexual people          moral fabric of society. He called them deviant
feel inadequate or inappropriate.                    and that they should not be raising children.

Sergio provided testimony at the arbitration         Thompson offered extra credit to watch the
hearing. He had transferred to a four-year           video. He told the class not to tell anyone
college and was studying psychology. He had          he was offering the video as extra credit.
been at the College between 2011 and 2015.           Every day Faith was subjected to an offensive
When Sergio first started college, he was very       comment by Thompson. She felt she could not
close-minded. He had become more inclusive           drop the class. She needed the credits. She also
while at college. He confirmed a diagram that        feared retaliation. She got an A in the class. She
Thompson had presented to the class which put        felt he treated those in his class who appeared
god first, then man and then women. Sergio           to be homosexual different.
indicated that students did not complain about
Thompson because he was an easy grader.              Victor testified he was upset that Thompson
                                                     said that professional women were not good
 *13 Pfeifle testified at the arbitration            mothers; housewives were better. Women were
hearing that Krista came to her three times          supposed to stay home and take care of their
with complaints about Thompson. Pfeifle              children and husband. Victor walked out of
recommended that she speak up in class but           class when Thompson said that homosexuality
Krista was afraid it would lower her grade. The      was an abominable sin. He walked out during a
third time she came to Pfeifle she was shaking       discussion on conversion therapy. Thompson's
and crying. She said that during a discussion of     comments on homosexuality and women were
gay marriage, Thompson called her out in class       constant in the class.
because she was part of the LGBTSA. When a
student used the word “dyke” he did not stop
her.
                                                     2. THOMPSON'S EVIDENCE
Faith testified in front of the arbitrator. She      Thompson testified that in regards to Krista,
took Sociology from Thompson in Spring               they were talking about marriage and family
2016. Thompson oftentimes made offensive             in general including same-sex marriage and
statements about gender and sexual orientation       polygamy. They were typical topics in a
in class. He stated that women belong at home        Sociology class. He asked several students
and should be subject to men. He spoke about         questions in the recorded class. He only asked


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Krista four questions. Krista mentioned that         video and denied that half of his class walked
marriage was between two people so he                out when he showed it.
followed up with questions about four people
getting married, or a father and an estranged        The letter sent to Thompson about the
daughter. Thompson believed that Krista left         investigation into Derian's complaint contained
class because of the students comment about          directives that he was not to retaliate,
one of the persons in a lesbian relationship         intimidate the complainant and not to persuade
dressing like a man. He felt he tried to             other students or faculty involved in the
ameliorate the situation but Krista left. He         investigation. It did not state he could not
denied he treated Krista differently in class. He    contact Derian. He just wanted to reach out
called on several students in class that day. He     to Derian to explain he had not discriminated
admitted he never told the students to not use       against her. He was not trying to bribe her
stereotypes in referring to gay couples.             to dismiss the complaint. When he used the
                                                     word “status” in speaking with Exton, he meant
He did not believe that women who had                Derian's sexual orientation. He thought he may
children should stay at home. He did assign          have not returned Derian's extra credit paper
an article about not marrying a career woman.        because she was often missing from class.
He insisted it was based on data and was not
his bias. He assigned another article about not      Thompson denied that he threatened Hendrick.
marrying a lazy man. Thompson liked to use           The use of the word “sword” was a metaphor
provocative material to get the attention of his     for a legal remedy. When talking about women
students. He admitted that stating a woman           wanting a strong man, he was talking about the
should stay in the home would be sexist.             Hmong culture and was only using a “playful
                                                     tone” when asking the women in the class if
He received the 90-Day Notice in March 2016.         they would like that. He also used the word
He received the notice despite the complaints        “catty” in a playful tone. He insisted that
by Krista, Angela, Victor and Sergio all being       “catty” was used in research.
found to not violate District policy. Thompson
felt he was being punished for his views. There      Thompson was evaluated by faculty and
were no specifics in the 90-Day Notice as to         students every three years. His last evaluation
what he was supposed to do to correct his            was Spring 2015. His last reviews were very
behavior. Thompson believed that academic            favorable. Thompson admitted that he was
freedom meant that students would sometimes          notified when a faculty member would be in
by offended.                                         his class evaluating him. Thompson felt it was
                                                     impossible to teach Sociology without hurting
 *14 Thompson showed the video in all his            the feelings of any student. Academic freedom
classes in Fall 2014. He agreed not to show          contemplated students being offended.
it for one semester. He kept it as extra credit
because he did not agree to never show it. He        The parties both submitted briefs after the
claimed he never saw anyone cry about the            arbitration hearing. Thompson argued that


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his right to academic freedom and First              put on his student evaluations. A majority of
Amendment rights were being infringed. The           the student evaluations were positive. Further,
District argued that Thompson should be              he had very positive faculty reviews.
dismissed because he targeted, harassed and
discriminated against students based on their         *15 As for Thompson's comments about
gender, sexual expression and orientation. He        women staying home with their children,
targeted students who were gay, and women,           the arbitrator found it was supported by the
especially mothers.                                  testimony of several students and Thompson
                                                     admitted he presented studies on working
                                                     women and marriage. He also made comments
   F. ARBITRATION RULING                             to Dr. Steinbeck. The arbitrator found, “Such
The arbitrator issued a written ruling. The          comments about women had a negative
arbitrator listed the exhibits that had been         effect on his students and were contrary to
introduced. The arbitrator then summarized           established College policies which prohibited
the evidence that included the testimony and         discrimination and harassment.” The arbitrator
investigations from Derian, Dr. Steinbeck,           further stated, “Having a faculty member
Dr. Casella, Angela, Hendrick, Krista, Exton,        actively discourage such participation under
Broyles, Charles, Jones, Rhyne, Sergio, Pfeifle,     the guise of instruction, was prejudicial and
Faith, Victor, and Thompson.                         contrary to the mission of the College. An
                                                     academic institution should not have to tolerate
As for the first allegation the arbitrator           such behavior at the expense of its students.”
concluded, “After a review of the documents
introduced and testimony presented, what             As for the 90-Day Notice, Thompson was
Thompson said and allowed to be said by              given no assistance by the District to change
others could well have caused Krista E. to           his behavior. Nonetheless, “the weight of
become upset, but did not violate any of the         the evidence clearly established, he engaged
College's policies or procedure and/or rise to       in additional unprofessional conduct after
the level of unprofessional conduct.” The audio      receiving the notice with the letter sent to
did not corroborate Krista's testimony. She was      Derian H. and his false statement to the
not singled out as she claimed. The offending        investigator.”
statement about lesbians was made by another
student. Thompson could not ameliorate the           The arbitrator concluded there was no evidence
situation because she left. The discussion           that Derian's grade or the failure to return
about same-sex marriage was appropriate in           her extra credit papers was due to her
a Sociology class. The arbitrator noted it was       sexual orientation. The arbitrator did find that
difficult to balance academic freedom against        Thompson violated the directive of the letter
discrimination and harassment. The arbitrator        sent to him regarding the investigation into
expressed it was difficult to understand that,       Derian's complaint. As such, the arbitrator
if Thompson was targeting students for               found, “Even though the evidence was
harassment and discrimination, and making            insufficient to prove he had discriminated or
inappropriate comments, that none of this was

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retaliated against Derian H. in grading, his         prior to the notice. The arbitrator concluded,
denial that he was not trying to threaten            “It was his latter conduct, which although still
or coerce her when he wrote his letter was           only sustained in part, warranted some type
unpersuasive.” An attempt to influence was           of severe discipline.” The arbitrator also found
enough. The arbitrator felt the evidence was         as an aggravating factor that there was a lack
sufficient that he lied to Exton when he said he     of remorse or acceptance of responsibility by
did not know the “status” of Derian's complaint.     Thompson. The arbitrator noted “He exhibited
The arbitrator found that Thompson did not           a certain amount of arrogance when he told
threaten Hendrick.                                   his students that tenure gave him the right
                                                     to do what he wanted.” The arbitrator also
The arbitrator found that Thompson's                 noted, “Even though the 90-day letter clearly
comments on the audiotape about being “catty”        put Thompson on notice certain conduct would
were inappropriate and a derogatory statement.       not be tolerated, he still chose to ignore the
Such improper characterizations and name             directive.”
calling was unacceptable. These statements
on the audiotape showed Thompson was                 The arbitrator then issued his finding of facts,
gender biased. The arbitrator concluded, “The        which, pertinent here, included (1) Thompson
evidence was sufficiently supportive in that         did not cause Krista to be humiliated based
regard.”                                             on her affiliation with the LGBT community;
                                                     (2) Thompson made derogatory statements
The arbitrator found there was not sufficient        toward women and continued through Spring
evidence that students were discouraged from         2016; (3) Thompson failed to adhere to the
presenting different viewpoints.                     requirements of his 90-Day Notice when he
                                                     made discriminatory statements on the basis
As for evidence that Thompson targeted               of gender; (4) he did not discriminate against
students, the arbitrator concluded, “There is        Derian; (5) Thompson failed to adhere to the
little doubt Thompson had strong opinions            directives in Exton's letter of September 14,
in certain areas, however, with the exception        2016, when he interfered with an investigation
of the clearly inappropriate comments he             by improperly contacting Derian in attempt to
made about women attending college or                get her to drop her complaint, and made a
working, there was insufficient evidence he          false statement; (6) Thompson did not threaten
actually ‘targeted’ individuals based on gender,     Hendrick; (7) the audiotape of his class did
religion, or another protected class.”               not show gender bias;9 (8) Thompson did not
                                                     discourage students from presenting different
The     arbitrator   then    addressed    the        points of view in class; (9) Thompson did not
appropriateness of dismissal. The arbitrator         target students based on gender, gender identity
noted that several events occurred prior to          or religion; (10) there was sufficient cause
the issuance of the 90-Day Notice but the            to suspend Thompson by a preponderance
president chose not to discharge or take any         of the evidence because of immoral conduct,
other disciplinary action based on the events        dishonesty, unfit for service and refusal to


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obey school laws; (11) the Morrison10 factors        would be further victimized. The District
of unfitness to teach were shown; and (12)           insisted that Morrison mandated dismissal.
given that not all of the allegations were           The District contended the arbitrator abused
sustained and because of the presence of             its discretion by discrediting the accounts
mitigating circumstances, the discharge was          of multiple students regarding discrimination
not appropriate. The arbitrator imposed a 90-        based on being part of the LGBT community.
day suspension without pay but not discharge.        However, the District did not argue which of
                                                     the statement of charges should have been
                                                     found true. Further, the arbitrator improperly
   G. PETITION FOR WRIT OF MANDATE                   credited student evaluations, which were
 *16 The District filed a petition for writ          hearsay as Thompson did not call these
of mandate pursuant to Code of Civil                 students to testify. The District concluded that a
Procedure section 1094.5 (petition). The             community college district could not under any
District contended that the arbitrator's decision    circumstances be required to retain a faculty
to suspend Thompson and reinstate him was not        member who was found unfit to teach.
supported by the weight of the evidence and
constituted a prejudicial abuse of discretion.       Thompson filed a responding brief. Thompson
The finding was inconsistent with the factual        argued that the trial court had to afford a strong
findings. The District alleged some of the           presumption of correctness to the arbitrator's
factual findings by the arbitrator were incorrect,   findings. Further, it was the arbitrator's decision
but did not specifically argue the factual           as to the appropriate penalty to be imposed.
findings. The District sought dismissal of the       Although the arbitrator found there was
arbitrator's decision and for the trial court to     sufficient cause for disciplinary action, it did
order the arbitrator to enter a new decision         warrant terminating Thompson. The evidence
upholding the dismissal of Thompson.                 supported only a 90-Day suspension.

Thompson, as the real party in interest, filed an    The District filed a reply to Thompson's brief.
answer to the petition arguing that the petition     The District again argued that the finding that
should be denied.                                    Thompson was unfit to teach required his
                                                     dismissal.
The District filed its opening brief in support
of the petition. The District argued that the        The hearing on the petition was held on July
arbitrator's decision was erroneous as it orders     9, 2019 after the trial court issued its tentative
the reinstatement of a professor who was found       ruling that it was going to deny the petition.
unfit to teach, engaged in immoral conduct,          The District requested a written statement of
was dishonest and disobeyed school laws. The         decision. The trial court first noted that it did
finding that he was unfit to teach itself was        not read Code of Civil Procedure section 632
enough to warrant Thompson's dismissal. The          as requiring a written statement of decision if
District was concerned reinstating Thompson          the hearing was less than eight hours. The trial
would subject them to liability and that students    court ruled it did not have to issue a written


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statement of decision as the matter was only                 The District essentially argues on appeal that
going to take approximately 20 minutes.                      the arbitrator and trial court erred by finding
                                                             that some of the charges were not supported
Counsel for the District argued they were                    by the evidence; and by finding that Thompson
“really challenging” the fact that after finding             should only be suspended for 90 days rather
Thompson unfit for teaching, which meant he                  than be dismissed.
had a defective temperament that could not
be corrected, it was inconsistent under the
Education Code to reinstate him. The District                   A. STANDARD OF REVIEW
noted, “In reaching that determination, he made              “When a school district seeks to dismiss
findings of fact, and we agreed.”                            a permanent employee, ..., for immoral
                                                             conduct or evident unfitness for service,
The trial court first noted that it could find no            the [school district] must hold a hearing
case law to support that once a determination                to determine whether the charged conduct
of unfitness was found it meant automatic                    occurred and, if it did, what the proper
dismissal. It was within the discretion of the               remedy should be.” (Crawford v. Commission
arbitrator. Counsel for the District responded               on Professional Competence of Jurupa Unified
that a finding of unfitness meant a defective                School Dist. (2020) 53 Cal.App.5th 327,
temperament as a matter of law that cannot                   336 (Crawford).) “The governing board of
be corrected. Further, every case in which a                 a community college district may seek the
teacher was found unfit, they were terminated.               dismissal of a regular (tenured) employee
The District argued the arbitrator abused                    for one of ten specific causes” pursuant
his discretion. The District contended that                  to Education Code section 87732. (West
Thompson had not apologized and continually                  Valley-Mission Community College District v.
engaged in the conduct. He had defective                     Concepcion (1993) 16 Cal.App.4th 1766, 1773
temperament that could not be changed. He                    (West Valley).)
would continue to behave this way and the
District would be liable. Thompson argued that               Education Code section 87732 provides,
the arbitrator never found he had defective                  pertinent to this appeal that, “No regular
temperament. The trial court adopted the                     employee or academic employee shall be
tentative ruling and denied the petition.                    dismissed except for one or more of
                                                             the following causes: [¶] (a) Immoral or
 *17 Judgment adopting the tentative ruling                  unprofessional conduct. [¶] (b) Dishonesty.
and denying the petition was entered on August               [¶] ... [¶] (d) Evident unfitness for service.
9, 2019.                                                     [¶] ... [¶] (f) Persistent violation of, or refusal to
                                                             obey, the school laws of the state or reasonable
                                                             regulations prescribed for the government of
                                                             the community colleges by the board of
DISCUSSION11                                                 governors or by the governing board of the
                                                             community college district employing him or
                                                             her.”

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                                                             “ ‘After the superior court makes an
Education Code section 87667 provides “A                     independent judgment upon the record of
contract or regular employee may be dismissed                an administrative proceeding, [the] scope of
or penalized for one or more of the grounds                  review on appeal is limited.’ [Citation.] We
set forth in Section 87732.” The disciplinary                must sustain the trial court's findings if they are
proceeding is heard by an arbitrator who “shall              supported by substantial evidence. [Citation.]
determine” whether there is cause, and if so,                In reviewing the evidence, we resolve all
the precise penalty to be imposed. (Educ. Code,              conflicts in favor of the party prevailing at the
§ 87675.) Here, the arbitrator found that the                trial court level and must give that party the
District had proved Education Code section                   benefit of every reasonable inference in support
87732, subdivisions (a), (b), (d) and (f), and               of the judgment. ‘ “ ‘When more than one
“penalized” Thompson by imposing a 90-day                    inference can be reasonably deduced from the
suspension without pay. The District appealed                facts, the appellate court cannot substitute its
by filing its petition.                                      deductions for those of the superior court.’ ”
                                                             ’ ” (San Diego, supra, 194 Cal.App.4th at p.
 *18 “Code of Civil Procedure section                        1461.) We will discuss the standard of review
1094.5 provides a trial court reviewing the                  for the penalty imposed by an arbitrator and
decision of an administrative agency exercises               affirmed by the trial court, post.
its independent judgment in reviewing the
evidence and that an ‘abuse of discretion is                 We first note that the District argues the trial
established if the court determines that the                 court erred by refusing to issue a statement
findings are not supported by the weight of the              of decision. The trial court was required to
evidence.’ [Citation.] Under the independent                 issue such a decision. (Giuffre v. Sparks (1999)
review standard, the trial court may weigh the               76 Cal.App.4th 1322, 1326, fn. 3 [a hearing
credibility of witnesses.” (San Diego Unified                on a petition for writ of mandamus is a trial
School Dist. v. Commission on Professional                   of a question of fact requiring a statement
Competence (2011) 194 Cal.App.4th 1454,                      of decision].) Such error does not require
1461 (San Diego).) “ ‘In a proceeding on                     automatic reversal. (F.P. v. Monier (2017) 3
a writ of administrative mandate, “the party                 Cal.5th 1099, 1108.) We conclude, post, that the
challenging the administrative decision bears                arbitrator, and the trial court, by denying the
the burden of convincing the court that the                  petition, abused their discretion in imposing a
administrative findings are contrary to the                  90-day suspension instead of a dismissal. As
weight of the evidence.” [Citation.]’ [Citation.]            such, the District cannot show prejudice for the
‘Though the trial court is required to exercise              trial court's decision not to issue a statement of
its independent judgment on the evidence, it is              decision either orally or in writing.
to give a ‘strong presumption of correctness’ to
the [arbitrator]'s findings.’ ” (Crawford, supra,
53 Cal.App.5th at p. 336.)                                     B. FINDINGS ON STATEMENT OF
                                                               CHARGES
                                                             The District makes specific arguments on
                                                             appeal that the trial court and the arbitrator

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findings on the unsustained charges were                     to consider the District's potential liability from
not supported by substantial evidence. This                  Thompson's conduct. Further, by finding that
includes the findings that the audiotape of the              Thompson was unfit to teach, as evidenced
class lecture was not evidence of gender bias;12             by finding all of the Morrison factors were
the finding that Thompson did not discourage                 supported by the evidence, he could not be
students from presenting views different than                employed by the District. Morrison mandated
his own; by not finding that Thompson targeted               his dismissal. Further, his immoral conduct,
students based on protected status; finding                  dishonesty and failure to obey school laws also
that Thompson did not cause Krista to be                     warranted his dismissal.
humiliated based on her affiliation with the
LGBT community; finding that Thompson did                    “The California Supreme Court has interpreted
not treat Derian inequitably based on her sexual             the statutes involving discharge of teachers
orientation; and that Thompson did not make a                for the listed causes. Terms such as immoral
physical threat to Hendrick. The District further            conduct, unprofessional conduct, or moral
contends the trial court and the arbitrator erred            turpitude, are so general that they must be given
by finding that allegations prior to the issuance            meaning by relation to the particular profession
of the 90-Day Notice could not form the basis                involved. [Citation.] In other words, a teacher
of the discipline.                                           may have committed an immoral act, but unless
                                                             it indicates his unfitness to teach, it is not an
Despite the arbitrator not finding all of the                appropriate basis for discharge.” (West Valley,
charges true, and essentially relying on the                 supra, 16 Cal.App.4th at pp. 1774-1775.)
evidence after the 90-Day Notice, he still
found that Thompson was subject to dismissal                 In determining whether an individual is unfit to
pursuant to Education Code section 87732.                    teach, the following factors may be considered:
Further, the arbitrator found all of the Morrison            “[T]he likelihood that the conduct may have
factors true finding that Thompson was unfit                 adversely affected students or fellow teachers,
to teach. The charges that the arbitrator found              the degree of such adversity anticipated, the
true, and the trial court affirmed by denying                proximity or remoteness in time of the conduct,
the petition, combined with the lack of any                  the type of teaching certificate held by the
evidence to suggest Thompson's behavior                      party involved, the extenuating or aggravating
would change, are sufficient to support that                 circumstances, if any, surrounding the conduct,
Thompson should have been dismissed rather                   the praiseworthiness or blameworthiness of the
                                                             motives resulting in the conduct, the likelihood
than suspended.13
                                                             of the recurrence of the questioned conduct,
                                                             and the extent to which disciplinary action
   C. DISMISSAL                                              may inflict an adverse impact or chilling effect
 *19 The District contends the trial court and               upon the constitutional rights of the teacher
arbitrator abused their discretion by finding                involved or other teachers.” (Morrison, supra,
that Thompson should not be dismissed. It                    1 Cal.3d at pp. 229-230, fns. omitted.) “These
contends the arbitrator and the trial court failed           factors are relevant to the extent that they assist


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the board in determining whether the teacher's               Personnel Bd. (2001) 88 Cal.App.4th 1394,
fitness to teach, i.e., in determining whether               1404; Cate v. State Personnel Board (2012) 204
the teacher's future classroom performance and               Cal.App.4th 270, 284.)
overall impact on his students are likely to meet
the [school district's] standards.” (Ibid.)                   *20 However, “[W]hile the administrative
                                                             body has a broad discretion in respect to
Here, the arbitrator found all of the Morrison               the imposition of a penalty or discipline,
factors had been met. The District insists this              ‘it does not have absolute and unlimited
mandated dismissal of Thompson. However,                     power. It is bound to exercise legal discretion,
there is no statutory or case law to support such            which is, in the circumstances, judicial
claim. It appears, from both the cases and the               discretion.’ [Citation.] In considering whether
language of Education Code section 87667, that               such abuse occurred in the context of
even if the arbitrator finds each of the Morrison            public employee discipline, we note that the
factors are evident, he still has the discretion to          overriding consideration in these cases is the
impose discipline short of a dismissal.                      extent to which the employee's conduct resulted
                                                             in, or if repeated is likely to result in, ‘[h]arm
“ ‘ “The penalty imposed by an administrative                to the public service.’ [Citation.] Other relevant
body will not be disturbed in mandamus                       factors include the circumstances surrounding
proceedings unless an abuse of discretion                    the misconduct and the likelihood of its
is demonstrated.... Neither an appellate court               recurrence.” (Skelly, supra, 15 Cal.3d at pp.
nor a trial court is free to substitute its                  217-218.)
discretion for that of the administrative
agency concerning the degree of punishment                   In West Valley, supra, 16 Cal.App.4th 1766,
imposed.” [Citations.]’ ‘[I]n a mandamus                     Winston H. Miller, a community college
proceeding, an appellate court vis-a-vis the                 teacher, was arrested and charged with selling
trial court, conducts a de novo review                       cocaine. The college district began proceedings
concerning possible abuse of discretion by                   for dismissal pursuant to Education Code
the administrative agency. [Citation.] The trial             section 87732. Miller was acquitted of the
court's determination of abuse or nonabuse of                criminal charges because the cocaine found
discretion by the administrative agency is of no             was excluded from evidence but it was
concern to the appellate court. The appellate                admitted at the administrative hearing on his
court gives no deference to the trial court's                dismissal. (West Valley, at pp. 1770, 1773.) The
determination. It makes its own determination,               arbitrator determined that Miller was guilty of
de novo. [¶] Conversely, ... in a mandamus                   immoral conduct, but was not unfit to teach.
proceeding an appellate court vis-a-vis the                  The arbitrator imposed a one-year suspension
administrative agency, does not independently                without pay. (Ibid.) The college district filed
or “de novo” determine penalty. “[A] court                   a petition for writ of mandate. The trial court
cannot substitute its discretion for that of                 issued a writ directing the arbitrator to order
the administrative agency on the degree of                   Miller's dismissal and no back pay. Miller
punishment to be imposed.” ’ ” (Pollak v. State              appealed contending, among other things, that


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the trial court abused its discretion in making              a peremptory writ of mandate, finding the board
its own penalty determination and by finding he              had abused its discretion and ordering it to
was unfit to teach. (Ibid.)                                  terminate the employee. [Citation.] [¶] This
                                                             court affirmed the trial court's order granting
On appeal, the appellate court reviewed                      the petition for a writ, based on the singular
whether the trial court properly determined that             circumstances of the case. [Citation.] We
the Morrison factors were supported by the                   agreed with the superior court that the hospital
evidence, which rendered Miller unfit to teach.              board had abused its discretion in reinstating
(West Valley, supra, 16 Cal.App.4th at p. 1776.)             Willis. [Citation.] While an administrative
The appellate court found, “The superior court's             body has broad discretion in determining an
findings were sufficient to support its ultimate             appropriate penalty, it does not have absolute
finding of unfitness to teach.” (Id. at p. 1778.)            and unlimited power, but must exercise judicial
                                                             discretion. We affirmed the trial court's ruling
The appellate court then addressed whether the               ordering the discharge of the employee.” (West
trial court properly determined the appropriate              Valley, supra, 16 Cal.App.4th at p. 1779.)
remedy was dismissal, rather than a one-year
suspension. The court noted that, “Review                     *21 The West Valley court concluded that, like
of the penalty determination ... traditionally               Willis, the penalty imposed by the trial court
differs from the review of the evidence and                  was correct. It found, “The arbitrator abused his
factual findings. The superior court upholds                 discretion in selecting the penalty of one year's
the penalty determination of the agency or                   suspension. The idea of a cocaine-dealing
arbitrator, unless there has been a manifest                 community college instructor communicating
abuse of discretion. [Citations.] The appellate              moral standards to students is just as repugnant
court uses the same standard as the superior                 as a hospital aide fondling the genitals of
court, reviewing the arbitrator's penalty for                helpless patients with spinal cord injuries.
manifest abuse of discretion.” (West Valley,                 Reasonable minds cannot differ that entrusting
supra, 16 Cal.App.4th at pp. 1778-1779.)                     impressionable young minds to a teacher who
                                                             facilitated the sale of a kilo of cocaine would
The appellate court in West Valley referred to               be dangerous. Reasonable minds cannot differ
County of Santa Clara v. Willis (1986) 179                   on the propriety of discharge as a penalty for
Cal.App.3d 1240. It summarized Willis: “[A]                  engaging in this immoral conduct. Under the
homosexual hospital attendant was accused                    unique circumstances of this case the superior
of making inappropriate sexual advances                      court did not err in determining the appropriate
to paralyzed patients and also to other                      penalty.” (West Valley, supra, 16 Cal.App.4th at
hospital employees, of being insensitive to                  p. 1779.)
patients' needs, and of failing to do his job
properly. After administrative proceedings the               In San Diego, supra, 194 Cal.App.4th at p.
hospital board determined he had engaged in                  1457,14 the employee, Frank Lampedusa, was
gross misconduct, but reinstated him without                 the dean of students at a middle school. The
backpay. [Citation.] The superior court granted              principal stated that Lampedusa did a good


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job and was being considered for a vice                      teacher might prove unworthy or would fail
principal position. An anonymous call was                    are so numerous that they are incapable of
made to the school district that Lampedusa                   enumeration in any legislative enactment.... His
had an advertisement on Craigslist “ ‘men                    ability to inspire children and to govern them,
seeking men’ Web page soliciting sex.” The                   his power as a teacher, and the character for
advertisement described in detail the sexual                 which he stands are matters of major concern in
acts Lampedusa wanted to engage in and                       a teacher's selection and retention.’ ” [Citation.]
included photographs of his face, anus and                   [¶] There are certain professions which impose
genitalia. The advertisement did not list his                upon persons attracted to them, responsibilities
name or profession. (Id. at pp. 1458-1459.)                  and limitations on freedom of action which
The school district advised Lampedusa to                     do not exist in regard to other callings.
remove the advertisement and he immediately                  Public officials such as judges, policemen and
removed it. Lampedusa continued to work                      schoolteachers fall into such a category. [¶] ...
for one more month and then was placed                       “A teacher ... in the public school system is
on administrative leave. He was then served                  regarded by the public and pupils in the light
with a notice of dismissal. (Id. at p. 1459.)                of an exemplar, whose words and actions are
At a hearing in front of the Commission                      likely to be followed by the [students] coming
on Professional Competence (Commission),                     under [his] care and protection.” ’ ” (San Diego,
Lampedusa testified he did not intend the                    supra, 194 Cal.App.4th at pp. 1463-1464.)
advertisement to be seen by students. The                    The court noted that Lampedusa, during his
Commission affirmed no student had seen the                  testimony, had stated that he previously posted
advertisement. It concluded that although the                these advertisements and placed the onus on the
advertisement was vulgar and inappropriate,                  parents and students to not access his site. (Id. at
there was no connection with him being a dean                p. 1464.) The appellate court found also that the
of students at the middle school. It found the               Commission erred by finding that Lampedusa
school district failed to show Lampedusa was                 would not commit such acts again, as he had
unfit to teach by a reason of temperamental                  admitted to posting the advertisement several
defect and that he did not engage in immoral                 times before. Further, he did not believe he had
conduct such that he was unfit to teach. Further,            done anything immoral. Finally, his posting of
there was no likelihood of reoccurrence. (Id.                this sexually explicit content showed a serious
at p. 1460.) The school district filed a petition            lack of judgment. (Id. at p. 1465.)
for writ of mandate. The trial court adopted the
Commission's findings and the school district                 *22 The appellate court in San Diego
appealed. (Id. at p. 1461.)                                  concluded that “The nexus between
                                                             Lampedusa's conduct and his fitness to teach
On appeal, the appellate court reviewed the                  has been established. It is evident that his
Morrison factors and found the Commission                    conduct was ‘detrimental to the mission and
had improperly rejected them. The court noted,               functions of [his] employer.’ [Citation.] ...
“ ‘ “ ‘[T]he calling [of a teacher] is so intimate,          The conduct itself, together with Lampedusa's
its duties so delicate, the things in which a                failure to accept responsibility or recognize


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the seriousness of his misconduct given                      deputy's physical abuse of an inmate. The
his position as a teacher and role model,                    sheriff's deputy appealed to the San Diego
demonstrates evident unfitness to teach.” (San               Civil Service Commission, which reduced his
Diego, supra, 194 Cal.App.4th at p. 1465.)                   penalty to a 90-day suspension. (Id. at pp. 718,
The appellate court also found that he                       720.) After the trial court denied the sheriff
engaged in immoral conduct. The appellate                    department's petition for writ of mandamus
court concluded that “Lampedusa's conduct                    disputing the penalty determination, on appeal,
constituted grounds for dismissal based upon                 the court held that such reduction was an
his evident unfitness to teach and his immoral               abuse of discretion. The court explained: “
conduct.” (Id. at p. 1467.)                                  ‘An abuse of discretion occurs where, as
                                                             here, the administrative decision manifests an
Similarly, in Cate v. State Personnel Board,                 indifference to public safety and welfare. “In
supra, 204 Cal.App.4th 270, the California                   considering whether such abuse occurred in
Department of Corrections and Rehabilitation                 the context of public employee discipline,
filed a petition for writ of administrative                  we note that the overriding consideration
mandamus challenging an administrative law                   in these cases is the extent to which
judge's (ALJ) decision to impose a 30-                       the employee's conduct resulted in, or if
day suspension rather than termination of                    repeated, is likely to result in, ‘[h]arm to
a correctional officer whose actions at the                  the public service.’ [Citations.] Other relevant
California Institute for Women were found to                 factors include the circumstances surrounding
be inexcusable neglect of duty, dishonest, he                the misconduct and the likelihood of its
engaged in discourteous treatment of inmates                 recurrence.” [Citation.] The public is entitled
and that he lied to his supervisor. The trial court          to protection from unprofessional employees
reversed the decision of the ALJ finding an                  whose conduct places people at risk of injury
abuse of discretion in imposing a suspension                 and the government at risk of incurring
rather than termination. (Id. at pp. 279-280.)               liability.’ [Citation.] Accordingly, this is not
The correctional officer sought review, and                  a case where reasonable minds can differ
the appellate court affirmed the judgment of                 with regard to the appropriate disciplinary
the trial court finding that the ALJ found                   action.” (Id. at p. 721.)
that the correctional officer's misconduct may
be repeated “and that such misconduct would                  Here, Thompson's conduct in the classroom,
likely result in harm to the public service ... the          which significantly impacted his students,
‘overriding’ consideration in the determination              coupled with the evidence that he had no
of penalty is the potential for harm to the public           remorse or plans to change his behavior,
service.” (Id. at p. 285.)                                   renders the decision to impose just a 90-
                                                             day suspension a manifest abuse of discretion
In Kolender v. San Diego County Civil Service                in this case. Putting Thompson back in
Commission (2005) 132 Cal.App.4th 716, a                     the classroom provided no protection to his
deputy sheriff was dismissed by the sheriff's                students. Both Kolender and Cate emphasize
department because he lied about another                     the harm to the public service by repeated bad


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behavior. In San Diego, the appellate court                  Sufficient evidence was presented that
put great weight on the fact of reoccurrence                 Thompson degraded women in class and
and that Lampedusa accepted no responsibility                tried to influence a student who had filed
for his actions. Similarly, here, Thompson                   a complaint. Angela testified that she felt
took no responsibility for his actions, despite              degraded. Casella testified that such degrading
students testifying at the arbitration hearing               comments could cause depression and anxiety.
that they were upset and even cried during                   Some students were apparently not impacted
their testimony. Thompson expressed he felt                  by Thompson's comments, but that did not
his tenure and right to academic freedom                     mean the impact on the students who testified
allowed him to discuss controversial subjects                at the arbitration hearing was any less. The
even if it upset students. He felt his academic              arbitrator found Thompson unfit to teach but
freedom allowed him to offend his students.15                failed to give import to the factors—including
Thompson said he had no reason to change                     the chance of recurrence and the impact on
after the 90-Day Notice. In fact, the arbitrator             his students—in reaching his decision to only
specifically found that Thompson's conduct                   impose a suspension.
was likely to recur. (Morrison, supra, 194
Cal.App.4th at pp. 229-230.)                                 Thompson contends that the arbitrator never
                                                             found that Thompson had a temperamental
 *23 The fact that Thompson had no remorse                   defect, which was required for him to
and seemingly would not change his behavior,                 be dismissed. In Woodland Joint Unified
and his gender bias, was not mitigated by the                School District v. Commission on Professional
student evaluations or good faculty reviews.                 Competence (1992) 2 Cal.App.4th 1429
The arbitrator did not provide his reasoning                 (Woodland), the court addressed a seemingly
for finding that despite Thompson degrading                  different analysis to the Morrison factors.
women in class, trying to influence a student                The appellate court in reviewing the trial
to drop charges against him, and making a                    court's grant of a petition for writ of mandate
false claim to an investigator, and specifically             ordering termination of a teacher, addressed
finding that Thompson had no remorse, that                   the meaning of “Evident Unfitness for Service”
the positive evaluations from other students                 within the meaning Education Code section
and good faculty reviews were relevant to                    44932. (Woodland, at p. 1441.) The court
mitigate such behavior. That some students                   noted, “ ‘evident unfitness for service’ ” ...
were not offended by Thompson in no way                      means ‘clearly not fit, not adapted to or
mitigated the impact his behavior had on the                 unsuitable for teaching, ordinarily by reason
students who were upset by comments made by                  of temperamental defects or inadequacies.’
Thompson. The arbitrator noted also that not                 Unlike ‘unprofessional conduct,’ ‘evident
all of the charges were sustained. However, the              unfitness for service’ connotes a fixed character
charges that were sustained warranted serious                trait, presumably not remediable merely on
                                                             receipt of notice that one's conduct fails to
discipline.16
                                                             meet the expectations of the employing school
                                                             district.” (Id. at pp. 1444-1445, fn. omitted.) If


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an analysis of the Morrison criteria indicates a             v. Superior Court of San Diego (2020) 46
teacher is unfit for service, “the next step is to           Cal.App.5th 562, 588, fn. 5.) As such, he has
determine whether the ‘unfitness’ is ‘evident’;              waived any claim that the arbitrator's findings
i.e., whether the offensive conduct is caused                were incorrect.
by a defect in temperament.” (Woodland, at p.
1445.)                                                       In sum, in imposing discipline against
                                                             Thompson, the arbitrator recognized that
Here, it is not clear that the arbitrator                    Thompson had no remorse and that he took
considered whether Thompson suffered from                    no responsibility for his actions. Not once did
a temperamental defect. However, the purpose                 Thompson express sympathy for his students.
of such determination is a finding of “a fixed               The arbitrator concluded that Thompson had
character trait, presumably not remediable                   made degrading comments about women, he
merely on receipt of notice that one's                       lied to an investigator and tried to convince
conduct fails to meet the expectations of                    one of his students to drop a complaint
the employing school district.” (Woodland,                   against him. As for the degrading comments
supra, 2 Cal.App.4th at p. 1444.) Here, the                  about women that Thompson made in class,
arbitrator concluded that Thompson had a                     the arbitrator concluded that “[a]n academic
certain “arrogance” about him when he told his               institution should not have to tolerate such
students that tenure gave him the right to do                behavior at the expense of its students.”
whatever he wanted. Thompson accepted no                     Thompson refused to comply with the 90-Day
responsibility and showed no remorse. Further,               Notice, he offered the controversial video as
he ignored the directives in the 90-Day Notice.              extra credit despite knowing that it caused an
Th arbitrator found that Thompson was gender                 uproar on campus when he emailed it to faculty,
biased. Nothing in the evidence supports that                and he was dishonest.
Thompson would change his beliefs. This
supported that Thompson was arrogant and                     Despite these findings, the arbitrator decided
gender biased, character traits that were not                to return Thompson to the classroom without
likely to be changed despite the findings of the             identifying any reason why Thompson's
actions of the District or a 90-day suspension.              behavior would change as there was no
Thompson had exhibited these behaviors since                 indication he would be provided any training or
at least 2013. As such, the evidence supports                tools to change his behavior. As the arbitrator
evident unfitness as defined in Woodland.                    found, there was a likelihood that Thompson
                                                             would repeat his behavior, and Thompson's
 *24 Finally, Thompson contends that some                    lack of remorse underscores that likelihood, as
of the misconduct alleged against him was                    our record nowhere shows any commitment
protected by the First Amendment. However,                   by him to change. The College should not be
in the trial court, Thompson did not file his                expected to allow Thompson to teach classes
own petition for writ of mandate claiming                    with the fear that he would repeat his past
that the arbitrator's findings were incorrect                behaviors. Under the unique circumstances of
or contesting the 90-day suspension. (Wood                   this case, the arbitrator abused its discretion by


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failing to give proper weight to the possibility             I do not agree that the arbitrator abused his
of recurrence and the impact on Thompson's                   discretion by ruling that the appropriate penalty
students. The proper penalty was dismissal.                  was a 90-day suspension rather than dismissal.
                                                             (Maj. opn. at pp. 44-57)

                                                             Key to my decision is the highly deferential
DISPOSITION
                                                             standard of review.
The judgment is reversed. The superior court is
directed to issue a writ of mandate instructing              “Neither an appellate court nor a trial court is
the arbitrator to set aside its penalty decision             free to substitute its discretion for that of the
of a 90-day suspension and render a decision                 administrative agency concerning the degree
dismissing Thompson. Each party is to bear                   of punishment imposed. [Citation.]” (Barber
their own costs on appeal.                                   v. State Personnel Board (1976) 18 Cal.3d
                                                             395, 404.) “Judicial review of an agency's
[Riverside Comm. College Dist. v. Biersmith;                 assessment of a penalty is limited, and
Thompson, E073818]                                           the agency's determination will not be
                                                             disturbed in mandamus proceedings unless
                                                             there is an arbitrary, capricious or patently
                                                             abusive exercise of discretion by the agency.
I concur:                                                    [Citation.]” (Flippin v. Los Angeles City Bd.
                                                             of Civil Service Commissioners (2007) 148
RAPHAEL J.                                                   Cal.App.4th 272, 279.)

RAMIREZ, P. J.                                                *25 The abuse of discretion “ ‘ “ ... must
I respectfully concur in part and dissent in part.           appear very clearly before the courts will
                                                             interfere.” [Citations.]’ [Citation.]” (Landau v.
                                                             Superior Court (1998) 81 Cal.App.4th 191,
                                                             218.) “If reasonable minds may differ with
I                                                            regard to the propriety of the disciplinary
                                                             action, no abuse of discretion has occurred.
IMPOSING A SUSPENSION WAS NOT AN                             [Citation.]” (Flippin v. Los Angeles City Bd.
ABUSE OF DISCRETION                                          of Civil Service Commissioners, supra, 148
                                                             Cal.App.4th at p. 279.) This is true even if the
I agree that the District1 has forfeited any                 penalty seems to be too harsh or too lenient in
challenge to the arbitrator's factual findings.              the court's opinion. (Landau v. Superior Court,
(Maj. opn. at p. 44, fn. 13.) I also agree                   supra, at p. 221.)
that “even if the arbitrator finds each of the
Morrison factors are evident, he still has the               “ ‘An abuse of discretion occurs where ...
discretion to impose discipline short of a                   the administrative decision manifests an
dismissal.” (Maj. opn. at pp. 45-46.) However,               indifference to public safety and welfare. “In


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considering whether such abuse occurred in                   issuance of the 90-Day Notice, on the ground
the context of public employee discipline,                   that “[t]hose shortcomings and corresponding
we note that the overriding consideration                    corrective action were already addressed in that
in these cases is the extent to which                        transmittal.”2
the employee's conduct resulted in, or if
repeated, is likely to result in, ‘[h]arm                    He did find that Thompson had tried to
to the public service.’ [Citations.] Other                   get Derian to drop her complaint and had
relevant factors include the circumstances                   made a false statement to the investigator —
surrounding the misconduct and the likelihood                namely, that he was unaware of the status of
of its recurrence.” [Citation.] The public is                Derian's complaint. It must be remembered,
entitled to protection from unprofessional                   however, that he did so under the stress of
employees whose conduct places people at                     an investigation based on Derian's allegations,
risk of injury and the government at risk of                 which the arbitrator eventually found to be
incurring liability.’ [Citation.]” (Kolender v.              false. Moreover, his false statement does
San Diego County Civil Service Com. (2005)                   not appear to have been material to the
132 Cal.App.4th 716, 721.)                                   investigation. In any event, this was not
                                                             conduct in the classroom; it did not reflect on
The majority astutely focuses on the two key                 his fitness to teach — at least not any more
issues in this case: The nature of the harm                  than would any other general moral turpitude.
shown, and the likelihood of recurrence. (Maj.               Certainly it was not an abuse of discretion
opn. at p. 54.) If the evidence conclusively                 for the arbitrator to find that it called for a
showed that Thompson “ ‘place[d] people at                   suspension rather than dismissal.
risk of injury’ ” (maj. opn. at p. 52), and
if it also conclusively showed a likelihood                  This leaves only the finding that
of recurrence, then dismissal was the only                   “Thompson made statements derogatory
possible penalty. But if not, then not.                      towards women ....” As to this finding, the
                                                             arbitrator could reasonably find that neither
The arbitrator found that the bulk of the                    “the chance of recurrence” nor “the impact on
allegations against Thompson were not true.                  [Thompson's] students” (maj. opn. at p. 54)
He found that Thompson did not discriminate                  required dismissal.
against Krista based on a perception that
she was gay or LGBT-affiliated. He found
that Thompson did not discriminate against                   A. Likelihood of Recurrence.
Derian based on her sexual orientation. He
rejected Dr. Hendrick's claim that Thompson's                *26 First, the arbitrator could reasonably find
comment about a “sword” was a physical                       no significant likelihood of recurrence.
threat. He further found that Thompson did
not discourage students from expressing views                The arbitrator did not make any express finding
that were different from his. He declined to                 that Thompson's conduct was likely to recur.
consider incidents that occurred before the                  (But see maj. opn. at p. 53.)3 Rather, he found


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that “there appeared to be a lack of remorse                 occurred.” Thompson testified that he was
or acceptance of responsibility on Thompson's                “perplexed” by the seeming contradiction. He
part,” which he deemed an “aggravating                       also felt that the very general directives in the
circumstance[ ].” This was a description of                  90-Day Notice did not give him clear guidance.
Thompson in the past; it was not a finding                   Moreover, the 90-Day Notice stated, “The
that, even after a 90-day suspension, Thompson               Administration will assist you in overcoming
would be unable to change his behavior in                    these deficiencies.” As the arbitrator found,
the future. To the contrary, by stating that                 however, the administration never did so.
“Thompson owes it to his future students ... to
present a wider and/or more balanced approach                The arbitrator therefore concluded that the
in his course presentations,” and by ordering a              90-Day Notice was “misleading.” He further
suspension rather than dismissal, the arbitrator             found that the administration's failure to follow
implicitly found that Thompson could use a                   up with Thompson was “mitigating.” Thus,
“more balanced approach” in the future.                      the arbitrator could also properly find that
                                                             Thompson's failure to comply fully with the
This implied finding was supported by                        directives in the 90-Day Notice was not
substantial evidence. Thompson agreed that                   evidence that he was likely to continue to fail
he was “not to make statements in class that                 to comply in the future.
denigrate women.” He further agreed that he
was “prohibited from making statements in                     *27 Thompson showed no “remorse” in
class to the effect that women should not                    part because he sincerely maintained that his
be out of their home ....” He acknowledged                   classroom speech was protected by academic
that he should not “denigrate” women or                      freedom under the First Amendment.4 The
present “negative stereotypes” of women                      arbitrator found that some of Thompson's
unless his statements were supported by                      allegedly gender-biased statements were
academic research. Thompson denied either                    “within the bounds of free expression
believing or “advocating” that women with                    and academic freedom,” because they were
children should not work. While the arbitrator               supported by academic research, but that others
found that this denial was false, it showed that
                                                             were not.5 The arbitrator could reason that, now
he was not stubbornly insisting on expressing
                                                             that Thompson had obtained a ruling on the
gender bias in the classroom.
                                                             scope of his First Amendment rights, he would
                                                             comply with it.
The arbitrator did find that, even after receiving
the 90-Day Notice, Thompson continued to
                                                             In a criminal case, the defendant's lack of
make gender-biased statements. The 90-Day
                                                             remorse is not aggravating unless the defendant
Notice found that he had made gender-biased
                                                             admits guilt (or the evidence of guilt is not in
statements and directed him not to do so in the
                                                             conflict). (People v. Key (1984) 153 Cal.App.3d
future. At the same time, however, the District
                                                             888, 900.) This is because lack of remorse
made a formal determination that “no violation
                                                             is relevant to show a likelihood of recurrence
of District Policy or Administrative Procedure
                                                             only when a defendant acknowledges guilt,


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not when the defendant maintains his or her                  “could” cause “anxiety, depression, difficulty
innocence. (Id. at p. 900.) The arbitrator                   concentrating, possibly even appetite/sleep
could reason similarly that Thompson's lack of               disturbance, poor self-esteem,” when none
remorse, although an aggravating factor, did                 of Thompson's students reported any such
not show a likelihood of recurrence.                         conditions.

Finally, in evaluating the likelihood of                     The record does not show that any
recurrence, the arbitrator had the benefit of                student actually cried while testifying at the
observing Thompson while he testified. “ ‘                   arbitration.6 (But see maj. opn.at p. 53.)
“[A]n administrative hearing officer's proposed              Apparently Derian got upset while testifying,
decision is entitled to great weight because                 but only while discussing the conversion
of his [or her] opportunity to observe the                   therapy video and Thompson's email to her.
witnesses and weigh their testimony in light                 Angela got “emotional” about the conversion
of their demeanor.” ’ [Citation.]” (County of                therapy video. No student displayed any
Sonoma v. Gustely (2019) 36 Cal.App.5th 704,                 emotional distress resulting specifically from
712, italics omitted.)                                       Thompson's gender-biased statements. Again,
                                                             the arbitrator was able to observe the students'
                                                             demeanors while testifying. We must accept his
B. Impact on Students.
                                                             implied findings.
Second, the arbitrator could reasonably find
that Thompson's gender-biased statements did                 Witnesses also claimed to have been upset
not have a significant impact on his students. To            by things that the arbitrator found never
the extent that there was conflicting evidence               actually happened. For example, Krista cried
on this point — and to the extent that                       because she felt that Thompson was targeting
conflicting inferences could be drawn from the               her for her LGBT affiliation; the arbitrator
evidence — we must view the evidence in the                  found that Thompson never did so. Likewise,
light most favorable to the arbitrator's choice of           Angela testified that Thompson's gender-
discipline.                                                  biased statements discouraged her from voicing
                                                             her own views in class, but the arbitrator found
Certainly several students testified that they               that “Thompson did not discourage students
found Thompson's gender-biased statements                    from presenting in his class points of view
to be “offensive” or “degrading.” However,                   that were different from his ....” Dr. Hendrick
offense alone is not necessarily harm. There                 claimed he was upset by Thompson's comment
was no evidence that any student dropped                     about a “sword,” even though immediately
out of school, or even dropped out of                        afterward, Thompson's attorney said, “He
Thompson's class, as a result of any gender-                 doesn't mean a real sword,” and Thompson
biased statements.                                           added, “Of course not. I've always liked
                                                             you. This is not personal.” At the arbitration,
 *28 The arbitrator was not bound by Casella's               Dr. Hendrick even admitted that Thompson's
testimony that gender-based harassment                       attorney “got us all squared away by indicating


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that the sword was a metaphor for something                  category, Mr. Thompson must be doing
else.” Hence, the arbitrator was entitled to                 something right.” A majority of students
discount any claims that students were upset by              said that he had no weaknesses. No student
Thompson's gender-biased statements.                         reported any gender bias — apparently not even
                                                             Krista, who was in his class at the time of
This bring me to the elephant in the room:                   the evaluations. One student specifically said
A reasonable fact-finder could conclude that                 that Thompson had “[n]o bias toward [the]
the witnesses against Thompson were biased.                  material.”
Administrators, professors, LGBT students,
and their allies were up in arms over                        The arbitrator had doubts about the credibility
Thompson's airing of the conversion therapy                  of Thompson's accusers, as shown by his
video in 2014. After the college investigated                findings that most of the charges against
this but imposed no discipline other than                    Thompson were not true. On this record, he
sensitivity training, people started coming out              could reasonably find that Thompson did make
of the woodwork to accuse Thompson of                        some gender-biased statements — but not all of
similar sins. Most of them were members of                   the ones alleged. He could also give very little
the ALLY program (Krista and Dr. Steinback)                  weight to any claims that the gender-biased
or the Diversity Committee (Sergio, Angela,                  statements that Thompson did make adversely
Victor, Dr. Broyles).                                        affected anyone.

It was in this context that, as the arbitrator
properly found, Thompson's faculty and
                                                             II
student evaluations were mitigating.7 Those
evaluations tended to show that Thompson's
accusers' hindsight claims of harm were                      THE APPELLATE DISENTITLEMENT
overblown.                                                   DOCTRINE APPLIES

Fellow faculty members had visited                           Even apart from the merits, I would
Thompson's classroom, including one who                      dismiss based on the appellate disentitlement
visited a session on “sexism and a sexist                    doctrine. The District flagrantly disobeyed the
society, gender role and gender identity,                    arbitrator's decision, even after the trial court
biological-based vs. social-based inputs into                reaffirmed it. I see no reason not to apply the
gender, whether males and females are just                   doctrine.
‘naturally’ female and male”, but they reported
no inappropriate comments.                                   “ ‘An appellate court has the inherent
                                                             power, under the “disentitlement doctrine,”
 *29 Thompson's student evaluations were                     to dismiss an appeal by a party that
“all great.” One fellow faculty member                       refuses to comply with a lower court
commented, “Personally, I'd say that when the                order.’ [Citation.] ‘ “Appellate disentitlement
lowest rating was 58% in the ‘Outstanding’                   ‘is not a jurisdictional doctrine, but a



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discretionary tool that may be applied when                  87675 [incorporating, inter alia, Gov. Code, §
the balance of the equitable concerns make it                11519].) The District's mandate petition did not
a proper sanction ....’ [Citation.]” [Citation.]             automatically stay the arbitrator's decision. The
No formal judgment of contempt is required;                  District could have applied for a stay, but it did
an appellate court “may dismiss an appeal                    not. (Code Civ. Proc., § 1094.5, subds. (g), (h).)
where there has been willful disobedience or
obstructive tactics. [Citation.]” [Citation.] The            The District asserts that “[a]n arbitrator's award
doctrine “is based upon fundamental equity                   is not directly enforceable; it must be enforced
and is not to be frustrated by technicalities.”              via a court proceeding.” It cites Code of Civil
’ [Citation.]                                                Procedure section 1286, which allows a court to
                                                             confirm, correct, or vacate an arbitration award.
“The ‘disentitlement doctrine “is particularly               Also relevant are Code of Civil Procedure
likely to be invoked where the appeal arises                 section 1287.4, which provides, “If an award
out of the very order (or orders) the party has              is confirmed, judgment shall be entered in
disobeyed.” ’ [Citation.] ‘[T]he merits of the               conformity therewith,” and Code of Civil
appeal are irrelevant to the application of the              Procedure section 1287.6, which provides, “An
doctrine.’ [Citation.]” (United Grand Corp. v.               award that has not been confirmed or vacated
Malibu Hillbillies, LLC (2019) 36 Cal.App.5th                has the same force and effect as a contract in
142, 166.)                                                   writing between the parties to the arbitration.”

Here, the arbitrator's decision had the force of              *30 The flaw in this argument is that
a decision of an administrative agency. (See                 the arbitration here was not a contractual
Ed. Code, § 87675 [incorporating portions                    arbitration, which would be subject to the
of the Administrative Procedure Act].) The                   provisions of Code of Civil Procedure section
arbitrator has “complete and sole jurisdiction               1280 et seq. It was a mandatory arbitration,
over the matter.” (Ed. Code, § 87674.) “The                  subject to the provisions of Education Code
arbitrator shall determine whether there is                  section 87674 et seq. (See Levinson Arshonsky
cause to dismiss or penalize the employee.                   & Kurtz LLP v. Kim (2019) 35 Cal.App.5th 896,
If the arbitrator finds cause, the arbitrator                904-907 [Code Civ. Proc., § 1280 et seq. does
shall determine whether the employee shall be                not apply to arbitration under the Mandatory
dismissed, the precise penalty to be imposed,                Fee Arbitration Act, Bus. & Prof. Code, § 6200
and whether the decision should be imposed                   et seq.].) Assuming Code of Civil Procedure
immediately or postponed ....” (Ed. Code, §                  section 1280 et seq. applied at all, it did not
87675.)                                                      apply to the extent that it is inconsistent with
                                                             Education Code section 87674 et seq. (See
Subject to exceptions not applicable here, the               Code Civ. Proc., § 1859; Agricultural Labor
arbitrator's decision “become[s] effective 30                Relations Bd. v. Superior Court (1976) 16
days after it is delivered or mailed to respondent           Cal.3d 392, 420 [“when a special and a general
unless ... a stay of execution is granted.” (Gov.            statute are in conflict, the former controls.”].)
Code, § 11519; see also Ed. Code, §


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As noted, Code of Civil Procedure section
1286.7, provides that an unconfirmed award is                Thus, I reject the District's only argument —
effective as a contract. But when an arbitration             that it has not violated any order. It does not
is required by statute, not by contract, this                argue that, if it did violate an order, the violation
makes no sense. Moreover, it conflicts with                  was not willful. The failure to obey an order
the specific finality provisions of Government               is willful when the party is aware of the order,
Code section 11519, as incorporated by                       has the ability to comply, and knowingly and
Education Code section 87675. Accordingly,                   intentionally does not comply. (In re Aguilar
the District's refusal to reinstate Thompson                 (2004) 34 Cal.4th 386, 389.) Here, the District
was a violation of a final and effective                     was aware, first, of the arbitrator's decision, and
administrative order.                                        then, of the trial court's judgment. It had the
                                                             ability to reinstate Thompson. Nevertheless, it
As if that were not enough, the trial                        knowingly and intentionally failed and refused
court entered a final judgment denying the                   to do so. Its counsel took the position that it
District's petition. The District's appeal did not           did not have to, because it was going to file
automatically stay the judgment. Much as with                (or had filed) this appeal, but that position
the arbitrator's decision, the District could have           was frivolous. Its counsel did not take the
sought a stay, but it did not. (Code Civ. Proc.,             position, at least at that time, that the arbitrator's
§ 1094.5, subds. (g), (h)(3) [“If an appeal is               order had to be confirmed in order to be
taken from a denial of the writ, the order or                enforceable. In any event, that position, too,
decision ... shall not be stayed except upon                 is frivolous. The District's noncompliance was
the order of the court to which the appeal                   persistent; it violated two separate rulings, nine
is taken.”].) Accordingly, since entry of the                months apart. Even after we raised the issue
judgment, the District's continuing refusal to               of the disentitlement doctrine, the District still
reinstate Thompson has been a violation of a                 did not offer or agree to reinstate Thompson.
final and effective court order — the very court             Thus, it satisfactorily appears that the District's
order from which it appeals.                                 violation was willful.

The District retorts that Thompson “has not                   *31 Finally the equities favor Thompson,
taken any legal action to challenge” the                     rather than the District, in light of the
District's refusal to reinstate him. However,                significant differential in power and resources
he had already successfully litigated the                    between them. It has been nearly three years
arbitration, in which the arbitrator ordered that            since the arbitrator's decision. During this time,
he be reinstated; he had already successfully                not only has Thompson been unable to work
litigated the mandate proceeding, in which                   for the District, he has been unable to work
the trial court upheld the arbitrator's order.               as a teacher anywhere, because the District's
How many times must he prevail before the                    charges have been hanging over his head. The
District will obey?8 In this appeal, Thompson                District argues that it needed “to protect its ...
is invoking the disentitlement doctrine. That is             students from further misconduct directed at
a sufficient challenge.                                      them from Mr. Thompson.” If so, it should


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have sought a stay. Self-help under these
                                                                    All Citations
circumstances is not allowed.
                                                                    Not Reported in Cal.Rptr., 2021 WL 4810632


Footnotes
1    This court is aware that this community is currently referred to as LGBTQ but the transcript only identified the group on
       campus as the LGBT community.

2      Conversion therapy is a controversial method of trying to change a person's sexual orientation.

3      The factual history is based on the exhibits admitted at the arbitration hearing, which included prior investigations into
       complaints against Thompson and the live testimony at the arbitration hearing.

4      The video apparently used a symptom-based model for homosexuality. It referenced that earlier events in a person's
       life may have caused them to have homosexual tendencies and that therapy addressing the early trauma could be used
       to treat homosexuality.

5      Skelly v. State Personnel Bd. (1975) 15 Cal.3d 194, 206 (Skelly) [a hearing on the dismissal of a public employee].)

6      The statement of charges were amended after the predisciplinary Skelly hearing. The charges will be detailed, post.

7      Krista had apparently left the class at this point.

8      The audiotape of the class has not been provided to this court on appeal.

9      This clearly was not the intent of the arbitrator. The arbitrator had already concluded that there was sufficient evidence
       of gender bias in the tape.

10     Morrison v. State Board of Education (1969) 1 Cal.3d 214 (Morrison).

11     The College did not reinstate Thompson after the denial of the petition despite the 90-day suspension period having
       long since passed. The parties were asked, on this court's own motion, to provide supplemental briefing on whether the
       appeal should be dismissed based on the disentitlement doctrine. “ ‘ “A trial court's judgment and orders, all of them,
       are presumptively valid and must be obeyed and enforced. [Citation.]” ’ [Citation.] [¶] ‘An appellate court has the inherent
       power, under the “disentitlement doctrine,” to dismiss an appeal by a party that refuses to comply with a lower court
       order.” (Blumberg v. Minthorne (2015) 233 Cal.App.4th 1384, 1390.) “Appellate disentitlement is a discretionary doctrine
       that must be applied in a manner that takes into account the equities of the individual case.” (People v. Puluc-Sique
       (2010) 182 Cal.App.4th 894, 901, italics added.) After consideration of the supplemental briefing, we do not exercise our
       discretion to impose the doctrine.

12     We have already concluded that the arbitrator did find the audiotape showed some gender bias.

13     We also note that the District did not raise any specific arguments in the briefing on the petition about the findings of fact.
       The District stated at oral argument that it agreed with the findings. The failure to raise an issue in a petition for writ of
       mandate waives the issue on appeal. (Crawford, supra, 53 Cal.App.5th at p. 343.) This is an additional reason that the
       findings of fact by the arbitrator and affirmed by the trial court need not be addressed on appeal.

14     In San Diego, the teacher was dismissed pursuant to Evidence Code section 44932, which contains similar categories,
       including evident unfitness for service, as reasons for dismissal.

15     The dissent appropriately recognizes that the First Amendment protects public community college professors from
       discipline “based on student offense alone.” (Dissent at p. 6, fn. 3.) At a general level, Thompson was correct that his
       academic freedom gave him broad latitude to challenge and even upset students. As this case comes to us, however,



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       it does not present such an issue of academic freedom. By the time of the arbitration hearing, both sides “agreed such
       instructional latitude was not unlimited” and subject to a “balancing test” under Pickering v. Board of Education (1968) 361
       U.S. 563. Considering those legal positions, the arbitrator found that there is a difference between presenting challenging
       ideas and “targeting students to such a level to harass, threaten, ridicule, or impose one's views.” Thus, the arbitrator
       found that Thompson's comments about women “had a negative effect on his students and were contrary to established
       College policies which prohibited discrimination and harassment” and that an academic institution “should not have to
       tolerate such behavior at the expense of its students.” These findings are not challenged here. At this stage, the relevance
       of Thompson's absolutist view about his academic freedom is simply that it provided no indication that he was willing to
       consider curbing even classroom conduct found to be harassing.

16     The dissent contends the arbitrator “could reasonably find no significant likelihood of reoccurrence.” The dissent further
       argues that the arbitrator did not make a specific finding on recurrence. (Dissent at p. 4.) However, the record supports that
       the arbitrator did find a likelihood of recurrence. The arbitrator specifically stated that he had found that all the Morrison
       factors were supported by the evidence, which included likelihood of recurrence. We rely on the detailed findings in the
       arbitrator's decision rather than what the arbitrator “could” have found.

1      I use the same defined terms as does the majority opinion.

2      A recitation of the evidence underlying these charges is therefore irrelevant to the arbitrator's choice of penalty.

3      The arbitrator did find that all of the Morrison factors were satisfied. The Morrison factors, however, go to primarily whether
       there is cause for discipline, not so much to what discipline is appropriate. (Morrison v. State Board of Education (1969)
       1 Cal.3d 214, 229; Ricasa v. Office of Administrative Hearings (2018) 31 Cal.App.5th 262, 285.) The arbitrator could
       reasonably find that there was some likelihood of recurrence if Thompson received no discipline at all, but no likelihood
       of recurrence if Thompson received a 90-day suspension. As he could make such a finding — and as it would support
       his decision — we must assume he did so find.

4      The majority says that “Thompson ... felt his ... right to academic freedom allowed him to discuss controversial subjects
       even if it upset students. He felt his academic freedom allowed him to offend his students.” (Maj. opn. at p. 53.) He did,
       and he was correct — the District could not limit his speech based on student offense alone. (See Snyder v. Phelps
       (2011) 562 U.S. 443, 458 [“ ‘the point of all speech protection ... is to shield just those choices of content that in someone's
       eyes are misguided, or even hurtful.’ ”]; Demers v. Austin (9th Cir. 2014) 746 F.3d 402, 411-413 [academic employee
       speech is protected under the First Amendment].)

5      The arbitrator specifically found that Thompson's statement that women “are prone to be catty” was not protected speech
       because there was no “academic debate” about it. This was erroneous; in his testimony, Thompson specifically cited
       support for it in the academic literature. (See T. Ghose, Mean Girls: Women Evolved to Be Catty? (Oct. 27, 2013),
       available at https://www.livescience.com/40717-indirect-aggression-between-females-works.html, as of Oct. 15, 2021;
       T. Vaillancourt, et al., Abstract, Intolerance of Sexy Peers: Intrasexual Competition Among Women (Sept. 19, 2011),
       available at <https://pubmed.ncbi.nlm.nih.gov/21932332>, as of Oct. 15, 2021.)

       I agree with the majority that Thompson cannot challenge this finding now because he failed to cross-petition below.
       (Maj. opn. at pp. 55-56.) Nevertheless, the evidence shows that Thompson's First Amendment rights were genuinely
       under attack.

6      The District asserted in its closing arbitration brief that “[s]everal students became emotional and cried as they testified
       during the arbitration.” However, “ ‘[i]t is axiomatic that argument is not evidence.’ [Citation.]” (People v. Stanley (2006)
       39 Cal.4th 913, 961, fn. 10.)

7      The District contends that these evaluations were inadmissible hearsay. The parties stipulated, however, that the
       evaluations were admissible.

8      The District's assertion that the arbitrator's decision was unenforceable unless and until it was confirmed under Code of
       Civil Procedure section 1286 makes me wonder: What did the District intend to do if we affirmed the judgment? Did it
       intend to disregard our opinion, too, on the ground that the arbitrator's decision has never been confirmed?




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